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APL-EG_11572817; PRIV-APL-
EG_00149578
APL-EG_11572861; PRIV-APL-
EG_00149706
APL-EG_11572948; PRIV-APL-
EG_00149793
APL-EG_10678905; PRIV-APL-
EG_00150081
APL-EG_10678916; APL-
EG_11573009
PRIV-APL-EG_00150208
PRIV-APL-EG_00150293
APL-EG_11526351
APL-EG_10675402; APL-
EG_10679006; APL-EG_11526352
APL-EG_10679009; PRIV-APL-
EG_00150403
PRIV-APL-EG_00150410
PRIV-APL-EG_00150447
APL-EG_10679034; PRIV-APL-
EG_00150450
PRIV-APL-EG_00150453
APL-EG_10679084; APL-
EG_11573013
APL-EG_10679090; APL-
EG_11573016
PRIV-APL-EG_00150709
APL-EG_11573019
APL-EG_11573029; PRIV-APL-
EG_00150943
APL-EG_11573030; PRIV-APL-
EG_00150944
APL-EG_10675674; APL-
EG_10679465; APL-EG_11573066
APL-EG_11573068; PRIV-APL-
EG_00151253
APL-EG_11573082
APL-EG_11573084
APL-EG_11573105; PRIV-APL-
EG_00151381
APL-EG_11573161
APL-EG_11573163
APL-EG_10679726; APL-
EG_11573219; PRIV-APL-
EG_00151690
APL-EG_10679737; APL-
EG_11573230
APL-EG_11553470
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APL-EG_10805466; APL-
EG_11322207; PRIV-APL-
EG_00021920; PRIV-APL-
EG_00021929
APL-EG_11396728
APL-EG_11387849
APL-EG_11387869
APL-EG_11321710; APL-
EG_11445329
APL-EG_11389535
APL-EG_11389555
APL-EG_11132972; APL-
EG_11445878
APL-EG_11133019; APL-
EG_11445879
APL-EG_11132991; APL-
EG_11533771
APL-EG_11332071; APL-
EG_11467858
APL-EG_11332074; APL-
EG_11467870
PRIV-APL-EG_00091897; APL-
EG_11332168; APL-EG_11468687
PRIV-APL-EG_00091935; APL-
EG_11332169; APL-EG_11468688
PRIV-APL-EG_00091936; APL-
EG_11332170; APL-EG_11468689
PRIV-APL-EG_00091937; APL-
EG_11332171; APL-EG_11468690
PRIV-APL-EG_00091938; APL-
EG_11332172; APL-EG_11468691
PRIV-APL-EG_00091940; APL-
EG_11332174; APL-EG_11468693
PRIV-APL-EG_00091941; APL-
EG_11332175; APL-EG_11468694
PRIV-APL-EG_00091942; APL-
EG_11332176; APL-EG_11468695
PRIV-APL-EG_00091943; APL-
EG_11332177; APL-EG_11468696
PRIV-APL-EG_00091944; APL-
EG_11332178; APL-EG_11468697
PRIV-APL-EG_00091945; APL-
EG_11332179; APL-EG_11468698
PRIV-APL-EG_00091946; APL-
EG_11332180; APL-EG_11468699
PRIV-APL-EG_00091947; APL-
EG_11332181; APL-EG_11468700
PRIV-APL-EG_00091948; APL-
EG_11332182; APL-EG_11468701
PRIV-APL-EG_00091951; APL-
EG_11332185; APL-EG_11468704
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PRIV-APL-EG_00091953; APL-
EG_11332187; APL-EG_11468706
PRIV-APL-EG_00091954; APL-
EG_11332188; APL-EG_11468707
PRIV-APL-EG_00091955; APL-
EG_11332189; APL-EG_11468708
PRIV-APL-EG_00091959; APL-
EG_11332193; APL-EG_11468712
PRIV-APL-EG_00091961; APL-
EG_11332195; APL-EG_11468714
PRIV-APL-EG_00091963; APL-
EG_11332197; APL-EG_11468716
PRIV-APL-EG_00091964; APL-
EG_11332198; APL-EG_11468717
PRIV-APL-EG_00091966; APL-
EG_11332200; APL-EG_11468719
PRIV-APL-EG_00091967; APL-
EG_11332201; APL-EG_11468720
PRIV-APL-EG_00091970; APL-
EG_11332204; APL-EG_11468723
PRIV-APL-EG_00091972; APL-
EG_11332206; APL-EG_11468725
PRIV-APL-EG_00091973; APL-
EG_11332207; APL-EG_11468726
PRIV-APL-EG_00091974; APL-
EG_11332208; APL-EG_11468727
PRIV-APL-EG_00091976; APL-
EG_11332210; APL-EG_11468729
PRIV-APL-EG_00091978; APL-
EG_11332212; APL-EG_11468731
PRIV-APL-EG_00091981; APL-
EG_11332215; APL-EG_11468734
APL-EG_10972755; PRIV-APL-
EG_00073098; APL-EG_11321631;
APL-EG_11445206
APL-EG_10972793; PRIV-APL-
EG_00073136; APL-EG_11321632;
APL-EG_11445244
APL-EG_10972794; PRIV-APL-
EG_00073137; APL-EG_11321633;
APL-EG_11445245
APL-EG_10972795; PRIV-APL-
EG_00073138; APL-EG_11321634;
APL-EG_11445246
APL-EG_10972796; PRIV-APL-
EG_00073139; APL-EG_11321635;
APL-EG_11445247
APL-EG_10972798; PRIV-APL-
EG_00073141; APL-EG_11321637;
APL-EG_11445249
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APL-EG_10972799; PRIV-APL-
EG_00073142; APL-EG_11321638;
APL-EG_11445250
APL-EG_10972800; PRIV-APL-
EG_00073143; APL-EG_11321639;
APL-EG_11445251
APL-EG_10972801; PRIV-APL-
EG_00073144; APL-EG_11321640;
APL-EG_11445252
APL-EG_10972802; PRIV-APL-
EG_00073145; APL-EG_11321641;
APL-EG_11445253
APL-EG_10972804; PRIV-APL-
EG_00073147; APL-EG_11321643;
APL-EG_11445255
APL-EG_10972805; PRIV-APL-
EG_00073148; APL-EG_11321644;
APL-EG_11445256
APL-EG_10972806; PRIV-APL-
EG_00073149; APL-EG_11321645;
APL-EG_11445257
APL-EG_10972809; PRIV-APL-
EG_00073152; APL-EG_11321648;
APL-EG_11445260
APL-EG_10972811; PRIV-APL-
EG_00073154; APL-EG_11321650;
APL-EG_11445262
APL-EG_10972812; PRIV-APL-
EG_00073155; APL-EG_11321651;
APL-EG_11445263
APL-EG_10972813; PRIV-APL-
EG_00073156; APL-EG_11321652;
APL-EG_11445264
APL-EG_10972817; PRIV-APL-
EG_00073160; APL-EG_11321656;
APL-EG_11445268
APL-EG_10972820; PRIV-APL-
EG_00073163; APL-EG_11321659;
APL-EG_11445271
APL-EG_10972822; PRIV-APL-
EG_00073165; APL-EG_11321661;
APL-EG_11445273
APL-EG_10972823; PRIV-APL-
EG_00073166; APL-EG_11321662;
APL-EG_11445274
APL-EG_10972825; PRIV-APL-
EG_00073168; APL-EG_11321664;
APL-EG_11445276
APL-EG_10972826; PRIV-APL-
EG_00073169; APL-EG_11321665;
APL-EG_11445277
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APL-EG_10972829; PRIV-APL-
EG_00073172; APL-EG_11321668;
APL-EG_11445280
APL-EG_10972831; PRIV-APL-
EG_00073174; APL-EG_11321670;
APL-EG_11445282
APL-EG_10972832; PRIV-APL-
EG_00073175; APL-EG_11321671;
APL-EG_11445283
APL-EG_10972833; PRIV-APL-
EG_00073176; APL-EG_11321672;
APL-EG_11445284
APL-EG_10972835; PRIV-APL-
EG_00073178; APL-EG_11321674;
APL-EG_11445286
APL-EG_10972837; PRIV-APL-
EG_00073180; APL-EG_11321676;
APL-EG_11445288
APL-EG_10972840; PRIV-APL-
EG_00073183; APL-EG_11321679;
APL-EG_11445291
APL-EG_11102207; APL-
EG_11328208; APL-EG_11455955
APL-EG_11102208; APL-
EG_11328209; APL-EG_11455956
APL-EG_11102209; APL-
EG_11328210; APL-EG_11455957
APL-EG_11102210; APL-
EG_11328211; APL-EG_11455958
APL-EG_11102212; APL-
EG_11328213; APL-EG_11455960
APL-EG_11102213; APL-
EG_11328214; APL-EG_11455961
APL-EG_11102214; APL-
EG_11328215; APL-EG_11455962
APL-EG_11102215; APL-
EG_11328216; APL-EG_11455963
APL-EG_11102216; APL-
EG_11328217; APL-EG_11455964
APL-EG_11102218; APL-
EG_11328219; APL-EG_11455966
APL-EG_11102219; APL-
EG_11328220; APL-EG_11455967
APL-EG_11102220; APL-
EG_11328221; APL-EG_11455968
APL-EG_11102221; APL-
EG_11328222; APL-EG_11455969
APL-EG_11102223; APL-
EG_11328224; APL-EG_11455971
APL-EG_11102225; APL-
EG_11328226; APL-EG_11455973
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APL-EG_11102226; APL-
EG_11328227; APL-EG_11455974
APL-EG_11102227; APL-
EG_11328228; APL-EG_11455975
APL-EG_11102228; APL-
EG_11328229; APL-EG_11455976
APL-EG_11102229; APL-
EG_11328230; APL-EG_11455977
APL-EG_11102231; APL-
EG_11328232; APL-EG_11455979
APL-EG_11102234; APL-
EG_11328235; APL-EG_11455982
APL-EG_11102236; APL-
EG_11328237; APL-EG_11455984
APL-EG_11102237; APL-
EG_11328238; APL-EG_11455985
APL-EG_11102239; APL-
EG_11328240; APL-EG_11455987
APL-EG_11102240; APL-
EG_11328241; APL-EG_11455988
APL-EG_11102243; APL-
EG_11328244; APL-EG_11455991
APL-EG_11102245; APL-
EG_11328246; APL-EG_11455993
APL-EG_11102246; APL-
EG_11328247; APL-EG_11455994
APL-EG_11102247; APL-
EG_11328248; APL-EG_11455995
APL-EG_11102249; APL-
EG_11328250; APL-EG_11455997
APL-EG_11102251; APL-
EG_11328252; APL-EG_11455999
APL-EG_11102254; APL-
EG_11328255; APL-EG_11456002
APL-EG_11346909; PRIV-APL-
EG_00069891; APL-EG_11407103
APL-EG_11346910; PRIV-APL-
EG_00069892; APL-EG_11407104
APL-EG_11346911; PRIV-APL-
EG_00069893; APL-EG_11407105
APL-EG_11346912; PRIV-APL-
EG_00069894; APL-EG_11407106
APL-EG_11346914; PRIV-APL-
EG_00069896; APL-EG_11407108
APL-EG_11346915; PRIV-APL-
EG_00069897; APL-EG_11407109
APL-EG_11346916; PRIV-APL-
EG_00069898; APL-EG_11407110
APL-EG_11346917; PRIV-APL-
EG_00069899; APL-EG_11407111
APL-EG_11346918; PRIV-APL-
EG_00069900; APL-EG_11407112
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APL-EG_11346919; PRIV-APL-
EG_00069901; APL-EG_11407113
APL-EG_11346920; PRIV-APL-
EG_00069902; APL-EG_11407114
APL-EG_11346921; PRIV-APL-
EG_00069903; APL-EG_11407115
APL-EG_11346922; PRIV-APL-
EG_00069904; APL-EG_11407116
APL-EG_11346925; PRIV-APL-
EG_00069907; APL-EG_11407119
APL-EG_11346927; PRIV-APL-
EG_00069909; APL-EG_11407121
APL-EG_11346928; PRIV-APL-
EG_00069910; APL-EG_11407122
APL-EG_11346929; PRIV-APL-
EG_00069911; APL-EG_11407123
APL-EG_11346933; PRIV-APL-
EG_00069915; APL-EG_11407127
APL-EG_11346936; PRIV-APL-
EG_00069918; APL-EG_11407130
APL-EG_11346938; PRIV-APL-
EG_00069920; APL-EG_11407132
APL-EG_11346939; PRIV-APL-
EG_00069921; APL-EG_11407133
APL-EG_11346941; PRIV-APL-
EG_00069923; APL-EG_11407135
APL-EG_11346942; PRIV-APL-
EG_00069924; APL-EG_11407136
APL-EG_11346945; PRIV-APL-
EG_00069927; APL-EG_11407139
APL-EG_11346947; PRIV-APL-
EG_00069929; APL-EG_11407141
APL-EG_11346948; PRIV-APL-
EG_00069930; APL-EG_11407142
APL-EG_11346949; PRIV-APL-
EG_00069931; APL-EG_11407143
APL-EG_11346950; PRIV-APL-
EG_00069932; APL-EG_11407144
APL-EG_11058341; APL-
EG_11400262
APL-EG_11058372; APL-
EG_11400330
APL-EG_11547232; PRIV-APL-
EG_00203044
APL-EG_11547238; PRIV-APL-
EG_00203050
APL-EG_11547239; PRIV-APL-
EG_00203051
APL-EG_11547240; PRIV-APL-
EG_00203052
APL-EG_11547241; PRIV-APL-
EG_00203053
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APL-EG_11547243; PRIV-APL-
EG_00203055
APL-EG_11547244; PRIV-APL-
EG_00203056
APL-EG_11547245; PRIV-APL-
EG_00203057
APL-EG_11547246; PRIV-APL-
EG_00203058
APL-EG_11547248; PRIV-APL-
EG_00203060
APL-EG_11547250; PRIV-APL-
EG_00203062
APL-EG_11547251; PRIV-APL-
EG_00203063
APL-EG_11547252; PRIV-APL-
EG_00203064
APL-EG_11547256; PRIV-APL-
EG_00203068
APL-EG_11547259; PRIV-APL-
EG_00203071
APL-EG_11547261; PRIV-APL-
EG_00203073
APL-EG_11547262; PRIV-APL-
EG_00203074
APL-EG_11547264; PRIV-APL-
EG_00203076
APL-EG_11547265; PRIV-APL-
EG_00203077
APL-EG_11547268; PRIV-APL-
EG_00203080
APL-EG_11547270; PRIV-APL-
EG_00203082
APL-EG_11547271; PRIV-APL-
EG_00203083
APL-EG_11547272; PRIV-APL-
EG_00203084
APL-EG_11547276; PRIV-APL-
EG_00203088
APL-EG_11547277; PRIV-APL-
EG_00203089
APL-EG_11547279; PRIV-APL-
EG_00203091
APL-EG_11058581; APL-
EG_11384713
APL-EG_11058582; APL-
EG_11384714
APL-EG_11337808; APL-
EG_11505892
APL-EG_11337810; APL-
EG_11505894
APL-EG_11030102; APL-
EG_11338539; APL-EG_11511331
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APL-EG_11030105; APL-
EG_11338542; APL-EG_11511334
APL-EG_11193160; APL-
EG_11292583; APL-EG_11412358
APL-EG_11193164; APL-
EG_11292587; APL-EG_11412362
APL-EG_11193165; APL-
EG_11292588; APL-EG_11412363
APL-EG_11193166; APL-
EG_11292589; APL-EG_11412364
APL-EG_11019299; APL-
EG_11396020
APL-EG_11019300; APL-
EG_11396026
APL-EG_11019301; APL-
EG_11396027
APL-EG_11019302; APL-
EG_11396028
APL-EG_11019303; APL-
EG_11396029
APL-EG_11177003; APL-
EG_11582109
APL-EG_11177006; APL-
EG_11582112
APL-EG_11592613
APL-EG_11337821; APL-
EG_11505964
APL-EG_11113429; APL-
EG_11394638
APL-EG_10988502; APL-
EG_11389671
APL-EG_11581991
APL-EG_11019234; APL-
EG_11395991
APL-EG_11019238; APL-
EG_11395995
APL-EG_11019239; APL-
EG_11395996
APL-EG_11019241; APL-
EG_11395998
APL-EG_11019242; APL-
EG_11395999
APL-EG_11019243; APL-
EG_11396000
APL-EG_11019244; APL-
EG_11396001
APL-EG_11019247; APL-
EG_11396004
APL-EG_11177131; APL-
EG_11582164
APL-EG_10869622; APL-
EG_11395693
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APL-EG_11177088; APL-
EG_11582124
APL-EG_11553027
APL-EG_11069783; APL-
EG_11194827; APL-EG_11415217
APL-EG_11097378; APL-
EG_11581098
APL-EG_11186951; APL-
EG_11613525; PRIV-APL-
EG_00234033
APL-EG_10869837; APL-
EG_11282701; APL-EG_11284281;
APL-EG_11395723
APL-EG_10869858; APL-
EG_11282702; APL-EG_11284302;
APL-EG_11395744
APL-EG_11182566; APL-
EG_11607190; PRIV-APL-
EG_00223991
APL-EG_11182567; APL-
EG_11607191; PRIV-APL-
EG_00223992
APL-EG_11187818; APL-
EG_11614899; PRIV-APL-
EG_00237970
APL-EG_11187819; APL-
EG_11614900; PRIV-APL-
EG_00237971
APL-EG_11057911; APL-
EG_11282907; APL-EG_11284939;
APL-EG_11400121
APL-EG_11057912; APL-
EG_11282908; APL-EG_11284940;
APL-EG_11400122
APL-EG_10859218; APL-
EG_11282674; APL-EG_11284178;
APL-EG_11394594
APL-EG_10859239; APL-
EG_11282675; APL-EG_11284199;
APL-EG_11394615
APL-EG_11580540
APL-EG_11070524; APL-
EG_11194910; APL-EG_11242868;
APL-EG_11283433; APL-
EG_11387351; APL-EG_11636583;
PRIV-APL-EG_00172715
APL-EG_11175286; APL-
EG_11580905
APL-EG_10957151; APL-
EG_11403920
APL-EG_10957152; APL-
EG_11403921
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APL-EG_11593691
APL-EG_11057942; APL-
EG_11400143
APL-EG_10957153; APL-
EG_11240622; APL-EG_11282965;
APL-EG_11403941
APL-EG_10850864; APL-
EG_11282587; APL-EG_11284024;
APL-EG_11467589
APL-EG_10892107; APL-
EG_11279823; APL-EG_11379838;
APL-EG_11511383
APL-EG_10869896; APL-
EG_11278626; APL-EG_11284304;
APL-EG_11395746
APL-EG_10869928; APL-
EG_11278658; APL-EG_11284336;
APL-EG_11395778
APL-EG_11057962; APL-
EG_11284942; APL-EG_11400144
APL-EG_11057994; APL-
EG_11284974; APL-EG_11400176
APL-EG_11339230; APL-
EG_11514567; PRIV-APL-
EG_00100911
APL-EG_11339232; APL-
EG_11514569; PRIV-APL-
EG_00100913
APL-EG_11009232; APL-
EG_11284201; APL-EG_11394620
APL-EG_11009236; APL-
EG_11284205; APL-EG_11394624
APL-EG_11102490; APL-
EG_11283846; APL-EG_11389609
APL-EG_11102522; APL-
EG_11283878; APL-EG_11389641
APL-EG_11236066; APL-
EG_11396015
APL-EG_11174277; APL-
EG_11580414
APL-EG_11068535; APL-
EG_11194397; APL-EG_11242345;
APL-EG_11283131; APL-
EG_11387106
APL-EG_11068567; APL-
EG_11194429; APL-EG_11242377;
APL-EG_11283163; APL-
EG_11387138
APL-EG_11070616; APL-
EG_11194940; APL-EG_11242898;
APL-EG_11283435; APL-
EG_11387389
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EG_11194972; APL-EG_11242930;
APL-EG_11283467; APL-
EG_11387421
APL-EG_11592573
PRIV-APL-EG_00192122
APL-EG_10875473; APL-
EG_11506022
APL-EG_10875476; APL-
EG_11506025
APL-EG_11290567; APL-
EG_11403973
APL-EG_11290568; APL-
EG_11403987
APL-EG_11290569; APL-
EG_11403988
PRIV-APL-EG_00091552; APL-
EG_11332002; APL-EG_11467644
PRIV-APL-EG_00091553; APL-
EG_11332003; APL-EG_11467645
PRIV-APL-EG_00091554; APL-
EG_11332004; APL-EG_11467646
APL-EG_11014919; APL-
EG_11395819; PRIV-APL-
EG_00140083
APL-EG_11014920; APL-
EG_11395820; PRIV-APL-
EG_00140084
APL-EG_11174096; APL-
EG_11579672; PRIV-APL-
EG_00167025
APL-EG_11174111; APL-
EG_11579687; PRIV-APL-
EG_00167040
APL-EG_11175206; APL-
EG_11633313; APL-EG_11580684;
PRIV-APL-EG_00171405
APL-EG_11177279; APL-
EG_11633542; APL-EG_11582238;
PRIV-APL-EG_00174154
APL-EG_11177280; APL-
EG_11633543; APL-EG_11582239;
PRIV-APL-EG_00174155
APL-EG_11177281; APL-
EG_11633544; APL-EG_11582240;
PRIV-APL-EG_00174156
APL-EG_11177283; APL-
EG_11633546; APL-EG_11582242;
PRIV-APL-EG_00174158
APL-EG_10778408; APL-
EG_11385551
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EG_11385553
APL-EG_10778411; APL-
EG_11385554
APL-EG_11022259; APL-
EG_11396270
APL-EG_11022261; APL-
EG_11396272
APL-EG_11022263; APL-
EG_11396274
APL-EG_11022264; APL-
EG_11396275
APL-EG_11030136; APL-
EG_11397256
APL-EG_11030138; APL-
EG_11397258
APL-EG_11030139; APL-
EG_11397259
APL-EG_11395782
APL-EG_11395803
APL-EG_11395804
APL-EG_11395805
APL-EG_11395806
APL-EG_11395807
APL-EG_10988482; APL-
EG_11271964; APL-EG_11389666
APL-EG_10965773; APL-
EG_11412436
APL-EG_10965776; APL-
EG_11412439
APL-EG_11068595; APL-
EG_11387166
APL-EG_11070676; APL-
EG_11387449
APL-EG_11177160; APL-
EG_11534224
APL-EG_11177181; APL-
EG_11534245
APL-EG_11177182; APL-
EG_11534246
APL-EG_11177183; APL-
EG_11534247
APL-EG_11177184; APL-
EG_11534248
APL-EG_11177185; APL-
EG_11534249
APL-EG_11337167; APL-
EG_11502199
APL-EG_10988429; APL-
EG_11282523; APL-EG_11542944
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EG_11194935; APL-EG_11242893;
APL-EG_11387376
APL-EG_11177120; APL-
EG_11582156
APL-EG_11001793; APL-
EG_11332021; APL-EG_11467681
APL-EG_11339216; APL-
EG_11514538
APL-EG_11339217; APL-
EG_11514549
PRIV-APL-EG_00047309; APL-
EG_11397751
APL-EG_10852604; APL-
EG_11391916
APL-EG_11337861; APL-
EG_11506045; PRIV-APL-
EG_00044414
APL-EG_10957240; APL-
EG_11290578; APL-EG_11403997;
PRIV-APL-EG_00015898
APL-EG_10957242; APL-
EG_11290580; APL-EG_11403999;
PRIV-APL-EG_00015900
APL-EG_11106028; APL-
EG_11391419; PRIV-APL-
EG_00040752
APL-EG_11106029; APL-
EG_11391420; PRIV-APL-
EG_00040753
PRIV-APL-EG_00045663; APL-
EG_11338571; APL-EG_11511465
APL-EG_11014964; APL-
EG_11395839; PRIV-APL-
EG_00043361
APL-EG_11014965; APL-
EG_11395840; PRIV-APL-
EG_00043362
APL-EG_11014966; APL-
EG_11395841; PRIV-APL-
EG_00043363
APL-EG_11014967; APL-
EG_11395842; PRIV-APL-
EG_00043364
APL-EG_11390229
APL-EG_11390316
APL-EG_11632230
APL-EG_11632252
APL-EG_11632253
APL-EG_11632254
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EG_00007389; APL-EG_11498238
APL-EG_10988566; APL-
EG_11328372; APL-EG_11456474
APL-EG_11069716; APL-
EG_11283248; PRIV-APL-
EG_00072234; APL-EG_11293715;
APL-EG_11415200
APL-EG_11069717; APL-
EG_11283249; PRIV-APL-
EG_00072235; APL-EG_11293716;
APL-EG_11415201
APL-EG_11069719; APL-
EG_11283251; PRIV-APL-
EG_00072237; APL-EG_11293718;
APL-EG_11415203
PRIV-APL-EG_00125168; APL-
EG_11534292
APL-EG_10957178; APL-
EG_11385566
APL-EG_10957191; APL-
EG_11385579
APL-EG_10957196; APL-
EG_11385584
APL-EG_11030151; PRIV-APL-
EG_00098280; APL-EG_11397281
APL-EG_11030152; PRIV-APL-
EG_00098281; APL-EG_11397282
APL-EG_11030157; PRIV-APL-
EG_00098286; APL-EG_11397287
APL-EG_11030163; PRIV-APL-
EG_00098292; APL-EG_11397293
APL-EG_11014879; APL-
EG_11378438; APL-EG_11502228
APL-EG_11014880; APL-
EG_11378439; APL-EG_11502229
APL-EG_11014885; APL-
EG_11378444; APL-EG_11502234
APL-EG_11396464
APL-EG_11396470
APL-EG_11394447
APL-EG_11394453
APL-EG_11292186; APL-
EG_11410848
APL-EG_11397329
APL-EG_11397335
APL-EG_11400088
APL-EG_11400094
APL-EG_11386160
APL-EG_11386166
APL-EG_11387504
APL-EG_11387510
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APL-EG_11387752
APL-EG_11389513
APL-EG_11389519
APL-EG_11398987
APL-EG_11398993
APL-EG_11398228
APL-EG_11398234
PRIV-APL-EG_00104150; APL-
EG_11640598
PRIV-APL-EG_00104156; APL-
EG_11640599
APL-EG_11341912; APL-
EG_11523213
APL-EG_11389472
APL-EG_11389478
APL-EG_10778477; APL-
EG_11385624
APL-EG_11030239; APL-
EG_11397304
APL-EG_11014939; APL-
EG_11395834
APL-EG_10988556; APL-
EG_11542972
APL-EG_11292657; APL-
EG_11412482
APL-EG_11292659; APL-
EG_11412488
APL-EG_11175238; APL-
EG_11531844
APL-EG_11068732; APL-
EG_11387174
APL-EG_11068733; APL-
EG_11387175
APL-EG_11069693; APL-
EG_11347968; APL-EG_11415197
APL-EG_11177315; APL-
EG_11534288
APL-EG_11332036; APL-
EG_11467714
APL-EG_11328798; APL-
EG_11458112
APL-EG_11397984
APL-EG_11397986
APL-EG_11397224
APL-EG_11397227
APL-EG_11397228
APL-EG_11397229
APL-EG_10870065; APL-
EG_11395847
APL-EG_10870067; APL-
EG_11395849
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APL-EG_11387028
APL-EG_11057804; APL-
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APL-EG_11057805; APL-
EG_11344934; APL-EG_11525938
APL-EG_11009090; APL-
EG_11552978
APL-EG_11386964
APL-EG_11386967
APL-EG_11386968
APL-EG_11386969
APL-EG_11070321; APL-
EG_11387296
APL-EG_11070322; APL-
EG_11387297
APL-EG_11070323; APL-
EG_11387298
APL-EG_11176900; APL-
EG_11534178
APL-EG_11176901; APL-
EG_11534181
APL-EG_11176902; APL-
EG_11534182
APL-EG_11176903; APL-
EG_11534183
APL-EG_10957050; PRIV-APL-
EG_00067267; APL-EG_11385539
APL-EG_10957054; PRIV-APL-
EG_00067271; APL-EG_11385543
APL-EG_10875320; APL-
EG_11396228
APL-EG_10875324; APL-
EG_11396232
PRIV-APL-EG_00045626; APL-
EG_11560103
PRIV-APL-EG_00071339; APL-
EG_11292581
APL-EG_11175093; PRIV-APL-
EG_00123187; APL-EG_11531782
APL-EG_11176899; PRIV-APL-
EG_00125117; APL-EG_11534177
APL-EG_11388027
APL-EG_11391854
APL-EG_11531624
APL-EG_11397373
APL-EG_11397409
APL-EG_11354820; PRIV-APL-
EG_00085158; APL-EG_11458344
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EG_00100866
APL-EG_11178295; PRIV-APL-
EG_00127801; APL-EG_11541700
PRIV-APL-EG_00084720; APL-
EG_11328512
PRIV-APL-EG_00131939; APL-
EG_11547079
APL-EG_10730135; APL-
EG_11550051
APL-EG_11057742; APL-
EG_11400100
APL-EG_11396093
APL-EG_11176255; APL-
EG_11533900
APL-EG_10850272; APL-
EG_11391155
APL-EG_10850274; APL-
EG_11391157
APL-EG_11391384
APL-EG_11397241
APL-EG_10893167; PRIV-APL-
EG_00098437; APL-EG_11397362
APL-EG_10893176; PRIV-APL-
EG_00098446; APL-EG_11397371
APL-EG_10993032; PRIV-APL-
EG_00085111; APL-EG_11390009
APL-EG_10993041; PRIV-APL-
EG_00085120; APL-EG_11390018
APL-EG_10993042; PRIV-APL-
EG_00085121; APL-EG_11390019
APL-EG_11541687
APL-EG_11541696
APL-EG_11541697
APL-EG_11543119
APL-EG_11543128
APL-EG_11543129
APL-EG_11229220; APL-
EG_11531806
APL-EG_11176952; APL-
EG_11534202
APL-EG_10850721; PRIV-APL-
EG_00091509; APL-EG_11391362
APL-EG_10850724; PRIV-APL-
EG_00091512; APL-EG_11391365
APL-EG_10891964; APL-
EG_11397217
APL-EG_10779385; APL-
EG_11385787
APL-EG_10779387; APL-
EG_11385789
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EG_11400105
APL-EG_11057779; APL-
EG_11400108
APL-EG_11336411; APL-
EG_11478054
APL-EG_11389832
APL-EG_11389835
APL-EG_11386961; PRIV-APL-
EG_00018567
APL-EG_11531777
APL-EG_11531780
APL-EG_11532177
APL-EG_11532178
APL-EG_11176839; APL-
EG_11534169
APL-EG_11176842; APL-
EG_11534172
APL-EG_10851426; PRIV-APL-
EG_00091673; APL-EG_11391510
APL-EG_11069195; APL-
EG_11580983
APL-EG_11069229; APL-
EG_11581017
APL-EG_11097380; APL-
EG_11532219
APL-EG_11176326; PRIV-APL-
EG_00125078; APL-EG_11533925
APL-EG_11176327; PRIV-APL-
EG_00125079; APL-EG_11533926
APL-EG_11176328; PRIV-APL-
EG_00125080; APL-EG_11533927
APL-EG_11396206
APL-EG_11396213
APL-EG_11396214
APL-EG_11396215
APL-EG_11396216
APL-EG_10891908; APL-
EG_11397205
APL-EG_10891909; APL-
EG_11397212
APL-EG_10891910; APL-
EG_11397213
APL-EG_10891911; APL-
EG_11397214
APL-EG_10851521; APL-
EG_11391557
APL-EG_10851522; APL-
EG_11391558
APL-EG_10851523; APL-
EG_11391559
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EG_11391560
APL-EG_10869662; PRIV-APL-
EG_00231984
APL-EG_11397794
APL-EG_11397801
APL-EG_11397802
APL-EG_11397803
APL-EG_11397804
APL-EG_11344860; APL-
EG_11525910
APL-EG_11344861; APL-
EG_11525917
APL-EG_11344862; APL-
EG_11525918
APL-EG_11344863; APL-
EG_11525919
APL-EG_11339301; PRIV-APL-
EG_00100934
APL-EG_11387595
APL-EG_11387602
APL-EG_11387603
APL-EG_11387604
APL-EG_11387605
APL-EG_11394561
APL-EG_11394568
APL-EG_11394569
APL-EG_11394570
APL-EG_11394571
APL-EG_11328508; APL-
EG_11456972
APL-EG_11328509; APL-
EG_11456973
APL-EG_11328510; APL-
EG_11456974
APL-EG_11328511; APL-
EG_11456975
PRIV-APL-EG_00083859; APL-
EG_11389327
PRIV-APL-EG_00083866; APL-
EG_11389334
PRIV-APL-EG_00083867; APL-
EG_11389335
PRIV-APL-EG_00083868; APL-
EG_11389336
PRIV-APL-EG_00083869; APL-
EG_11389337
APL-EG_11069318; APL-
EG_11283182; APL-EG_11387229
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EG_11283189; APL-EG_11387236
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APL-EG_11069327; APL-
EG_11283191; APL-EG_11387238
APL-EG_11069328; APL-
EG_11283192; APL-EG_11387239
APL-EG_11533901
APL-EG_11533908
APL-EG_11533909
APL-EG_11533910
APL-EG_11533911
APL-EG_11337814; APL-
EG_11505904
APL-EG_11337815; APL-
EG_11505909
APL-EG_11337816; APL-
EG_11505910
APL-EG_11391549
APL-EG_11014753; APL-
EG_11395702
APL-EG_11129250; APL-
EG_11344962; APL-EG_11526018
APL-EG_11292590; APL-
EG_11412365
APL-EG_11292591; APL-
EG_11412370
APL-EG_11069230; APL-
EG_11283167; APL-EG_11532168
APL-EG_11069233; APL-
EG_11283170; APL-EG_11532171
APL-EG_11070471; APL-
EG_11387328
APL-EG_11070472; APL-
EG_11387329
APL-EG_11177053; APL-
EG_11534214
APL-EG_11177058; APL-
EG_11534219
APL-EG_11177059; APL-
EG_11534220
APL-EG_11397245
APL-EG_11397251
APL-EG_11397252
APL-EG_11009228; APL-
EG_11394618
APL-EG_10988440; APL-
EG_11389607
APL-EG_10965709; APL-
EG_11387001
APL-EG_11070569; APL-
EG_11387387
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EG_11387388
APL-EG_11177125; APL-
EG_11534221
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EG_11534222
APL-EG_11177127; APL-
EG_11534223
APL-EG_10767931; APL-
EG_11384802; PRIV-APL-
EG_00013673
APL-EG_11014968; APL-
EG_11395843
APL-EG_11069879; APL-
EG_11283256; APL-EG_11532190
APL-EG_11069882; APL-
EG_11283259; APL-EG_11532193
APL-EG_11097375; PRIV-APL-
EG_00123478; APL-EG_11532218
APL-EG_11177326; APL-
EG_11534295
PRIV-APL-EG_00067260
APL-EG_11022799; APL-
EG_11396471
APL-EG_10854446; APL-
EG_11394015
APL-EG_10869659; APL-
EG_11395721
APL-EG_11069883; APL-
EG_11532194
APL-EG_11069886; APL-
EG_11532197
APL-EG_11022087; APL-
EG_11337741; APL-EG_11505797
APL-EG_11022188; APL-
EG_11396258
APL-EG_11022189; APL-
EG_11396259
APL-EG_11338506; APL-
EG_11511252
APL-EG_11338507; APL-
EG_11511257
APL-EG_11338508; APL-
EG_11511258
APL-EG_11338509; APL-
EG_11511259
APL-EG_11338510; APL-
EG_11511260
APL-EG_11338511; APL-
EG_11511261
APL-EG_11338512; APL-
EG_11511262
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EG_11391379
APL-EG_10850760; APL-
EG_11391380
APL-EG_11009029; APL-
EG_11336401; APL-EG_11477877
APL-EG_11009034; APL-
EG_11336406; APL-EG_11477882
APL-EG_10990222; APL-
EG_11389889
APL-EG_10990223; APL-
EG_11389890
APL-EG_10990224; APL-
EG_11389891
APL-EG_10990225; APL-
EG_11389892
APL-EG_10990226; APL-
EG_11389893
APL-EG_10990227; APL-
EG_11389894
APL-EG_11570135
APL-EG_11570137
APL-EG_11389314
APL-EG_11389319
APL-EG_11389320
APL-EG_11389321
APL-EG_11389322
APL-EG_11389323
APL-EG_11389324
APL-EG_11389326
APL-EG_11066908; APL-
EG_11530890
APL-EG_11066909; APL-
EG_11530891
APL-EG_11114884; APL-
EG_11337576; APL-EG_11504368
APL-EG_11069295; APL-
EG_11293706; APL-EG_11415128
APL-EG_11069296; APL-
EG_11293707; APL-EG_11415129
APL-EG_11069297; APL-
EG_11293708; APL-EG_11415130
APL-EG_11069298; APL-
EG_11293709; APL-EG_11415131
APL-EG_11069299; APL-
EG_11293710; APL-EG_11415132
APL-EG_11069300; APL-
EG_11293711; APL-EG_11415133
APL-EG_11070379; APL-
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APL-EG_11070380; APL-
EG_11387322
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EG_11534197
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APL-EG_10875481; APL-
EG_11396298
APL-EG_10875492; APL-
EG_11396309
APL-EG_10875493; APL-
EG_11396310
APL-EG_10875494; APL-
EG_11396311
APL-EG_10957286; APL-
EG_11385625
APL-EG_10957297; APL-
EG_11385636
APL-EG_10957298; APL-
EG_11385637
APL-EG_10957299; APL-
EG_11385638
APL-EG_10850949; APL-
EG_11391472
APL-EG_10850950; APL-
EG_11391473
APL-EG_11030306; APL-
EG_11397311
APL-EG_11030317; APL-
EG_11397322
APL-EG_11030318; APL-
EG_11397323
APL-EG_11030319; APL-
EG_11397324
APL-EG_10870059; APL-
EG_11502387
APL-EG_10870060; APL-
EG_11502388
APL-EG_10950544; APL-
EG_11400204
APL-EG_10950545; APL-
EG_11400205
APL-EG_11113501; APL-
EG_11394674
APL-EG_11113502; APL-
EG_11394675
APL-EG_11113503; APL-
EG_11394676
APL-EG_11174145; APL-
EG_11530911
APL-EG_11069797; APL-
EG_11387259
APL-EG_11069798; APL-
EG_11387260
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EG_11387261
APL-EG_11177384; APL-
EG_11534299
APL-EG_11177395; APL-
EG_11534310
APL-EG_11177396; APL-
EG_11534311
APL-EG_11177397; APL-
EG_11534312
APL-EG_11337834; APL-
EG_11505997
APL-EG_10850919; APL-
EG_11550027
APL-EG_10850927; APL-
EG_11550035
APL-EG_11058041; APL-
EG_11344963; APL-EG_11526072
APL-EG_11292634; APL-
EG_11412460
APL-EG_11177255; APL-
EG_11534260
APL-EG_11177256; APL-
EG_11534261
APL-EG_10850745; APL-
EG_11549997
APL-EG_10850746; APL-
EG_11549998
APL-EG_10965524; APL-
EG_11386977
APL-EG_11070331; APL-
EG_11387306
APL-EG_11397971
APL-EG_10965834; APL-
EG_11579696
APL-EG_10972665; APL-
EG_11348451; APL-EG_11445137
APL-EG_11338615; APL-
EG_11511739
APL-EG_11400109
APL-EG_11400112
APL-EG_11386963; PRIV-APL-
EG_00018571
APL-EG_11176891; APL-
EG_11582067
APL-EG_11176894; APL-
EG_11582070
APL-EG_10992386; APL-
EG_11328701; APL-EG_11457691
APL-EG_11002244; APL-
EG_11391899
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EG_11391904
APL-EG_11010946; APL-
EG_11394868
APL-EG_11010947; APL-
EG_11394873
APL-EG_11114397; APL-
EG_11395875
APL-EG_10885941; APL-
EG_11397003
APL-EG_10970485; APL-
EG_11387511
APL-EG_10970486; APL-
EG_11387516
APL-EG_11037187; APL-
EG_11398994
APL-EG_11037188; APL-
EG_11398999
APL-EG_11033685; APL-
EG_11398235
APL-EG_11033686; APL-
EG_11398240
APL-EG_11050038; APL-
EG_11399262
APL-EG_11179326; APL-
EG_11593161
APL-EG_10968819; APL-
EG_11387209
APL-EG_11004391; APL-
EG_11394030
APL-EG_11004392; APL-
EG_11394035
APL-EG_11053540; APL-
EG_11399533
APL-EG_11053541; APL-
EG_11399538
APL-EG_11101975; APL-
EG_11389479
APL-EG_11097348; APL-
EG_11283476; APL-EG_11442586
APL-EG_11097353; APL-
EG_11283481; APL-EG_11442591
APL-EG_11097354; APL-
EG_11283482; APL-EG_11442592
APL-EG_10869461; APL-
EG_11395600
APL-EG_10869463; APL-
EG_11395602
APL-EG_10869464; APL-
EG_11395603
APL-EG_10957161; APL-
EG_11385555
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EG_11385562
APL-EG_10957169; APL-
EG_11385563
APL-EG_10957170; APL-
EG_11385564
APL-EG_11236306; APL-
EG_11396277
APL-EG_11236313; APL-
EG_11396284
APL-EG_10850868; APL-
EG_11391388
APL-EG_10850875; APL-
EG_11391395
APL-EG_10850876; APL-
EG_11391396
APL-EG_10850877; APL-
EG_11391397
APL-EG_10892115; APL-
EG_11397260
APL-EG_10892122; APL-
EG_11397267
APL-EG_10892123; APL-
EG_11397268
APL-EG_10892124; APL-
EG_11397269
APL-EG_11395808
APL-EG_11395815
APL-EG_11395816
APL-EG_11395817
APL-EG_11058024; APL-
EG_11400180
APL-EG_11058031; APL-
EG_11400187
APL-EG_11058032; APL-
EG_11400188
APL-EG_11058033; APL-
EG_11400189
APL-EG_11009266; APL-
EG_11394628
APL-EG_11009273; APL-
EG_11394635
APL-EG_11009274; APL-
EG_11394636
APL-EG_11009275; APL-
EG_11394637
APL-EG_11070685; APL-
EG_11387458
APL-EG_11070686; APL-
EG_11387459
APL-EG_11070687; APL-
EG_11387460
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EG_11582191
APL-EG_11177193; APL-
EG_11582198
APL-EG_11177194; APL-
EG_11582199
APL-EG_11177195; APL-
EG_11582200
APL-EG_11022242; APL-
EG_11396267
APL-EG_11022244; APL-
EG_11396269
APL-EG_10850789; APL-
EG_11391385
APL-EG_10850791; APL-
EG_11391387
APL-EG_10892043; APL-
EG_11397242
APL-EG_10892045; APL-
EG_11397244
APL-EG_11129253; APL-
EG_11526021
APL-EG_11336307; APL-
EG_11477637
APL-EG_11336308; APL-
EG_11477646
APL-EG_11009199; APL-
EG_11394591
APL-EG_11009201; APL-
EG_11394593
APL-EG_10988385; APL-
EG_11389598
APL-EG_10988387; APL-
EG_11389600
APL-EG_11066912; APL-
EG_11412374
APL-EG_11070482; APL-
EG_11415477
APL-EG_11177063; APL-
EG_11582118
APL-EG_11177065; APL-
EG_11582120
APL-EG_10875313; APL-
EG_11396218
APL-EG_10875314; APL-
EG_11396226
APL-EG_11030072; PRIV-APL-
EG_00045620; APL-EG_11397222
APL-EG_11009080; APL-
EG_11394575; PRIV-APL-
EG_00041699
APL-EG_11389836
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APL-EG_11389845
APL-EG_11070289; APL-
EG_11282345; PRIV-APL-
EG_00123448; APL-EG_11415398
APL-EG_11391877
APL-EG_10869638; PRIV-APL-
EG_00095586; APL-EG_11337129
APL-EG_11400113
APL-EG_11400119
APL-EG_11400120
APL-EG_11394576
APL-EG_11394582
APL-EG_11394583
APL-EG_10989899; APL-
EG_11389846
APL-EG_10989905; APL-
EG_11389852
APL-EG_10989906; APL-
EG_11389853
PRIV-APL-EG_00018578
PRIV-APL-EG_00018579
APL-EG_11069258; APL-
EG_11387227; PRIV-APL-
EG_00123428
APL-EG_11069259; APL-
EG_11387228; PRIV-APL-
EG_00123429
APL-EG_11070360; APL-
EG_11283396; APL-EG_11387314;
PRIV-APL-EG_00172692
APL-EG_11070361; APL-
EG_11283397; APL-EG_11387315;
PRIV-APL-EG_00172693
APL-EG_11384667; PRIV-APL-
EG_00013530
APL-EG_11008073; APL-
EG_11336224; APL-EG_11477570
APL-EG_10962778; APL-
EG_11292104; APL-EG_11410548
APL-EG_10793166; APL-
EG_11387090
APL-EG_11106049; APL-
EG_11282622; PRIV-APL-
EG_00091840; APL-EG_11332101;
APL-EG_11468357
APL-EG_11114409; APL-
EG_11282704; PRIV-APL-
EG_00095686; APL-EG_11395896
APL-EG_11114411; APL-
EG_11282713; PRIV-APL-
EG_00095695; APL-EG_11395905
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EG_11282714; PRIV-APL-
EG_00095696; APL-EG_11395906
APL-EG_11114413; APL-
EG_11282715; PRIV-APL-
EG_00095697; APL-EG_11395907
APL-EG_11114415; APL-
EG_11282717; PRIV-APL-
EG_00095699; APL-EG_11395909
APL-EG_11114416; APL-
EG_11282718; PRIV-APL-
EG_00095700; APL-EG_11395910
APL-EG_10893151; APL-
EG_11397356
APL-EG_10950087; APL-
EG_11400082
APL-EG_10885563; APL-
EG_11396873
APL-EG_10960434; APL-
EG_11346847; APL-EG_11405939
APL-EG_10960436; APL-
EG_11346849; APL-EG_11405948
APL-EG_10960437; APL-
EG_11346850; APL-EG_11405949
APL-EG_10960440; APL-
EG_11346853; APL-EG_11405952
APL-EG_10960441; APL-
EG_11346854; APL-EG_11405953
APL-EG_10970343; APL-
EG_11387489
APL-EG_10970345; APL-
EG_11387498
APL-EG_10970346; APL-
EG_11387499
APL-EG_10970347; APL-
EG_11387500
APL-EG_10970348; APL-
EG_11387501
APL-EG_10970349; APL-
EG_11387502
APL-EG_10970350; APL-
EG_11387503
APL-EG_10972968; APL-
EG_11387870
APL-EG_10972970; APL-
EG_11387879
APL-EG_10972971; APL-
EG_11387880
APL-EG_10972972; APL-
EG_11387881
APL-EG_10972973; APL-
EG_11387882
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EG_11387883
APL-EG_10972975; APL-
EG_11387884
PRIV-APL-EG_00084450; APL-
EG_11389520
PRIV-APL-EG_00084458; APL-
EG_11389528
PRIV-APL-EG_00084459; APL-
EG_11389529
PRIV-APL-EG_00084460; APL-
EG_11389530
PRIV-APL-EG_00084461; APL-
EG_11389531
PRIV-APL-EG_00084462; APL-
EG_11389532
PRIV-APL-EG_00084463; APL-
EG_11389533
PRIV-APL-EG_00084464; APL-
EG_11389534
APL-EG_10969271; APL-
EG_11387211
APL-EG_10969273; APL-
EG_11387220
APL-EG_10969274; APL-
EG_11387221
APL-EG_10969275; APL-
EG_11387222
APL-EG_10969276; APL-
EG_11387223
APL-EG_10969277; APL-
EG_11387224
APL-EG_10969278; APL-
EG_11387225
APL-EG_11394036
APL-EG_11394044
APL-EG_11394045
APL-EG_11394046
APL-EG_11394047
APL-EG_11394048
APL-EG_11394049
APL-EG_11394050
APL-EG_11032648; APL-
EG_11397952
APL-EG_11032650; APL-
EG_11397961
APL-EG_11032651; APL-
EG_11397962
APL-EG_11032652; APL-
EG_11397963
APL-EG_11032653; APL-
EG_11397964
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EG_11397965
APL-EG_11032655; APL-
EG_11397966
PRIV-APL-EG_00047520; APL-
EG_11397969
PRIV-APL-EG_00047521; APL-
EG_11397970
APL-EG_11053426; APL-
EG_11341877; APL-EG_11523120
APL-EG_11053428; APL-
EG_11341879; APL-EG_11523129
APL-EG_11053429; APL-
EG_11341880; APL-EG_11523130
APL-EG_11053432; APL-
EG_11341883; APL-EG_11523133
APL-EG_11053433; APL-
EG_11341884; APL-EG_11523134
PRIV-APL-EG_00050149; APL-
EG_11398257
APL-EG_11389451
APL-EG_11389459
APL-EG_11389460
APL-EG_11389461
APL-EG_11389462
APL-EG_11389463
APL-EG_11389464
APL-EG_11389465
APL-EG_11014761; APL-
EG_11395720
APL-EG_11391950
APL-EG_11068725; APL-
EG_11414562
APL-EG_11396289
APL-EG_11030166; APL-
EG_11397296
APL-EG_10851462; PRIV-APL-
EG_00091715
APL-EG_11395705; PRIV-APL-
EG_00043303
APL-EG_11395712; PRIV-APL-
EG_00043304
APL-EG_11395713; PRIV-APL-
EG_00043305
APL-EG_11129305; APL-
EG_11526048
APL-EG_11377756; APL-
EG_11498223
APL-EG_11462267
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EG_11169792; APL-EG_11222032;
APL-EG_11269993; APL-
EG_11320814; APL-EG_11442585
APL-EG_11403855
APL-EG_11022190; APL-
EG_11396260
APL-EG_11022195; APL-
EG_11396265
APL-EG_11022196; APL-
EG_11396266
APL-EG_11001667; APL-
EG_11467498
APL-EG_11014844; APL-
EG_11502112
APL-EG_11057853; APL-
EG_11572629
APL-EG_11057858; APL-
EG_11572634
APL-EG_11057859; APL-
EG_11572635
APL-EG_11564156; PRIV-APL-
EG_00255032
APL-EG_11009123; APL-
EG_11394584
APL-EG_11009128; APL-
EG_11394589
APL-EG_11009129; APL-
EG_11394590
APL-EG_10830944; APL-
EG_11389854
APL-EG_10830949; APL-
EG_11389859
APL-EG_10830950; APL-
EG_11389860
APL-EG_11579637
APL-EG_11579642
APL-EG_11579643
APL-EG_11390878
APL-EG_11002497; APL-
EG_11332297; APL-EG_11468863
APL-EG_11106160; APL-
EG_11332342; APL-EG_11468928
APL-EG_11106161; APL-
EG_11332343; APL-EG_11468946
APL-EG_11106162; APL-
EG_11332344; APL-EG_11468947
APL-EG_11106165; APL-
EG_11332347; APL-EG_11468950
APL-EG_11106167; APL-
EG_11332349; APL-EG_11468952
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EG_11332350; APL-EG_11468953
APL-EG_11106173; APL-
EG_11332355; APL-EG_11468958
APL-EG_11106174; APL-
EG_11332356; APL-EG_11468959
APL-EG_11106177; APL-
EG_11332359; APL-EG_11468962
APL-EG_11106179; APL-
EG_11332361; APL-EG_11468964
APL-EG_11106182; APL-
EG_11332364; APL-EG_11468967
APL-EG_11106183; APL-
EG_11332365; APL-EG_11468968
APL-EG_11106184; APL-
EG_11332366; APL-EG_11468969
APL-EG_11106186; APL-
EG_11332368; APL-EG_11468971
APL-EG_11106187; APL-
EG_11332369; APL-EG_11468972
APL-EG_11106188; APL-
EG_11332370; APL-EG_11468973
APL-EG_11106189; APL-
EG_11332371; APL-EG_11468974
APL-EG_11106190; APL-
EG_11332372; APL-EG_11468975
APL-EG_11106191; APL-
EG_11332373; APL-EG_11468976
APL-EG_11106192; APL-
EG_11332374; APL-EG_11468977
APL-EG_10870068; APL-
EG_11395850
APL-EG_10957036; APL-
EG_11385525
APL-EG_10957045; APL-
EG_11385534
APL-EG_10957046; APL-
EG_11385535
APL-EG_10957047; APL-
EG_11385536
APL-EG_10957048; APL-
EG_11385537
APL-EG_10957049; APL-
EG_11385538
APL-EG_11022141; PRIV-APL-
EG_00096188; APL-EG_11337754;
APL-EG_11505847
APL-EG_11022151; PRIV-APL-
EG_00096198; APL-EG_11337756;
APL-EG_11505857
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EG_00096199; APL-EG_11337757;
APL-EG_11505858
APL-EG_11022153; PRIV-APL-
EG_00096200; APL-EG_11337758;
APL-EG_11505859
APL-EG_11022154; PRIV-APL-
EG_00096201; APL-EG_11337759;
APL-EG_11505860
PRIV-APL-EG_00098221; APL-
EG_11338514; APL-EG_11511282
PRIV-APL-EG_00098232; APL-
EG_11338517; APL-EG_11511293
PRIV-APL-EG_00098233; APL-
EG_11338518; APL-EG_11511294
PRIV-APL-EG_00098234; APL-
EG_11338519; APL-EG_11511295
APL-EG_11009047; PRIV-APL-
EG_00094150; APL-EG_11336412;
APL-EG_11478055
APL-EG_11009058; PRIV-APL-
EG_00094161; APL-EG_11336415;
APL-EG_11478066
APL-EG_11009059; PRIV-APL-
EG_00094162; APL-EG_11336416;
APL-EG_11478067
APL-EG_11009060; PRIV-APL-
EG_00094163; APL-EG_11336417;
APL-EG_11478068
PRIV-APL-EG_00096292; APL-
EG_11337839; APL-EG_11506030
PRIV-APL-EG_00096293; APL-
EG_11337840; APL-EG_11506031
PRIV-APL-EG_00096295; APL-
EG_11337842; APL-EG_11506033
APL-EG_10778464; PRIV-APL-
EG_00067355; APL-EG_11385600
PRIV-APL-EG_00091559; APL-
EG_11332009; APL-EG_11467651
PRIV-APL-EG_00091579; APL-
EG_11332011; APL-EG_11467671
PRIV-APL-EG_00091580; APL-
EG_11332012; APL-EG_11467672
APL-EG_11030215; PRIV-APL-
EG_00098336; APL-EG_11338548;
APL-EG_11511437
APL-EG_11030216; PRIV-APL-
EG_00098337; APL-EG_11338549;
APL-EG_11511438
APL-EG_11030218; PRIV-APL-
EG_00098339; APL-EG_11338551;
APL-EG_11511440
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EG_00098340; APL-EG_11338552;
APL-EG_11511441
APL-EG_11030220; PRIV-APL-
EG_00098341; APL-EG_11338553;
APL-EG_11511442
APL-EG_10869992; PRIV-APL-
EG_00095627; APL-EG_11337172;
APL-EG_11502281
APL-EG_10870011; PRIV-APL-
EG_00095646; APL-EG_11337175;
APL-EG_11502300
APL-EG_11058074; APL-
EG_11344968; APL-EG_11526104;
PRIV-APL-EG_00118049
APL-EG_11058094; APL-
EG_11344970; APL-EG_11526124;
PRIV-APL-EG_00118069
APL-EG_11058095; APL-
EG_11344971; APL-EG_11526125;
PRIV-APL-EG_00118070
APL-EG_11058098; APL-
EG_11344974; APL-EG_11526128;
PRIV-APL-EG_00118073
APL-EG_10988536; PRIV-APL-
EG_00084655; APL-EG_11389701
APL-EG_10988541; PRIV-APL-
EG_00084678; APL-EG_11389706
APL-EG_10965808; PRIV-APL-
EG_00071344; APL-EG_11292637;
APL-EG_11412470
APL-EG_10965810; PRIV-APL-
EG_00071364; APL-EG_11292639;
APL-EG_11412472
APL-EG_10965811; PRIV-APL-
EG_00071365; APL-EG_11292640;
APL-EG_11412473
APL-EG_10965813; PRIV-APL-
EG_00071367; APL-EG_11292642;
APL-EG_11412475
APL-EG_10965814; PRIV-APL-
EG_00071368; APL-EG_11292643;
APL-EG_11412476
APL-EG_10965815; PRIV-APL-
EG_00071369; APL-EG_11292644;
APL-EG_11412477
APL-EG_11582266; PRIV-APL-
EG_00174182
APL-EG_10957110; APL-
EG_11385544
APL-EG_11001788; APL-
EG_11391407
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EG_11391408
APL-EG_11389694
APL-EG_11389699
APL-EG_11389700
APL-EG_11531807
APL-EG_11069603; APL-
EG_11387246
APL-EG_11069604; APL-
EG_11387247
APL-EG_11177258; APL-
EG_11534263
APL-EG_11059826; APL-
EG_11403842
APL-EG_11059827; APL-
EG_11403843
APL-EG_11059829; APL-
EG_11403845
APL-EG_11117114; APL-
EG_11396233
APL-EG_11117117; APL-
EG_11396248
APL-EG_11117119; APL-
EG_11396250
APL-EG_11117120; APL-
EG_11396251
APL-EG_11106011; APL-
EG_11391366
APL-EG_11106012; APL-
EG_11391367
APL-EG_11106013; APL-
EG_11391368
APL-EG_11106015; APL-
EG_11391370
APL-EG_11119446; APL-
EG_11397230
APL-EG_11119447; APL-
EG_11397231
APL-EG_11119448; APL-
EG_11397232
APL-EG_11119450; APL-
EG_11397234
APL-EG_11057825; APL-
EG_11344949; APL-EG_11525953
APL-EG_11057826; APL-
EG_11344950; APL-EG_11525954
APL-EG_10965527; APL-
EG_11386979
APL-EG_10965540; APL-
EG_11386992
APL-EG_10965541; APL-
EG_11386993
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EG_11386995
APL-EG_10965544; APL-
EG_11386996
APL-EG_10965545; APL-
EG_11386997
APL-EG_10965546; APL-
EG_11386998
APL-EG_11070351; APL-
EG_11242828; APL-EG_11293752;
APL-EG_11415439
APL-EG_11070352; APL-
EG_11242829; APL-EG_11293753;
APL-EG_11415440
APL-EG_11070353; APL-
EG_11242830; APL-EG_11293754;
APL-EG_11415441
APL-EG_11176916; APL-
EG_11534191
APL-EG_10957131; APL-
EG_11385546
APL-EG_10850957; APL-
EG_11391477
APL-EG_10738154; APL-
EG_11610430
APL-EG_11292662
APL-EG_11069802; APL-
EG_11581072
APL-EG_11177403; APL-
EG_11582293
APL-EG_11397194
APL-EG_11397204
APL-EG_11396290
APL-EG_11385610
APL-EG_11391409
APL-EG_11396479
APL-EG_10870020; APL-
EG_11395826
APL-EG_11175224; APL-
EG_11531817
APL-EG_11394017
PRIV-APL-EG_00064343; APL-
EG_11400208
APL-EG_11176953; APL-
EG_11534203
APL-EG_10778438; APL-
EG_11385593
APL-EG_10778439; APL-
EG_11385594
APL-EG_11001781; APL-
EG_11391400
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EG_11391401
APL-EG_10892135; APL-
EG_11397299
APL-EG_10892136; APL-
EG_11397300
APL-EG_11129309; APL-
EG_11632229
APL-EG_11068604; APL-
EG_11580668
APL-EG_11022225; APL-
EG_11337811; APL-EG_11505895
APL-EG_11022233; APL-
EG_11337813; APL-EG_11505903
APL-EG_10892027; APL-
EG_11279814; APL-EG_11379828;
APL-EG_11511343
APL-EG_11113389; APL-
EG_11552981
APL-EG_11102470; APL-
EG_11542912
APL-EG_10957128; APL-
EG_11290564; APL-EG_11403873
APL-EG_11022245; APL-
EG_11337817; APL-EG_11505911
APL-EG_11022250; APL-
EG_11337818; APL-EG_11505916
APL-EG_11057903; APL-
EG_11572636
APL-EG_11384775
APL-EG_10778176; APL-
EG_11385523
APL-EG_10778177; APL-
EG_11385524
PRIV-APL-EG_00191612
PRIV-APL-EG_00191621
PRIV-APL-EG_00191622
PRIV-APL-EG_00191623
APL-EG_11399479
APL-EG_11399485
APL-EG_11399486
APL-EG_11399487
APL-EG_11399488
APL-EG_11399489
APL-EG_11399490
APL-EG_11385607
APL-EG_11385609
APL-EG_11001790; PRIV-APL-
EG_00091589
APL-EG_10892172; APL-
EG_11397301
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EG_11397303
APL-EG_11502309
APL-EG_11502311
APL-EG_11400190
APL-EG_11400192
APL-EG_11394662; PRIV-APL-
EG_00041735
APL-EG_11389713
APL-EG_11389715
APL-EG_11394018
APL-EG_11394024
APL-EG_11394025
APL-EG_11394026
APL-EG_11394027
APL-EG_11394028
APL-EG_11394029
APL-EG_11394454
APL-EG_11394494
APL-EG_11394495
APL-EG_11394496
APL-EG_11394497
APL-EG_11394499
APL-EG_11394500
APL-EG_11292343; APL-
EG_11411707
APL-EG_11292346; APL-
EG_11411749
PRIV-APL-EG_00072762; APL-
EG_11387517
PRIV-APL-EG_00072804; APL-
EG_11387559
APL-EG_11387753
APL-EG_11387793
APL-EG_11387794
APL-EG_11387795
APL-EG_11387796
APL-EG_11387797
APL-EG_11387799
APL-EG_10995783; APL-
EG_11390233
APL-EG_10995784; APL-
EG_11390273
APL-EG_10995785; APL-
EG_11390274
APL-EG_10995787; APL-
EG_11390276
APL-EG_10995788; APL-
EG_11390277
APL-EG_10995789; APL-
EG_11390278
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APL-EG_11399308
APL-EG_11399309
APL-EG_11399310
APL-EG_11399311
APL-EG_11399312
APL-EG_11399313
APL-EG_11399314
APL-EG_11053553; PRIV-APL-
EG_00104463; APL-EG_11399542
APL-EG_11391910
APL-EG_11391915
APL-EG_11397341
APL-EG_11620445
APL-EG_11620450
APL-EG_11389466
APL-EG_11389471
APL-EG_11181590; APL-
EG_11550202; PRIV-APL-
EG_00221221
APL-EG_11181591; APL-
EG_11550203; PRIV-APL-
EG_00221222
APL-EG_11002103; APL-
EG_11391860
APL-EG_11002112; APL-
EG_11391869
APL-EG_10852771; PRIV-APL-
EG_00221208
APL-EG_11398958
APL-EG_11398979
APL-EG_11398980
APL-EG_11398981
APL-EG_11398982
APL-EG_11398983
APL-EG_11398984
APL-EG_11398985
APL-EG_11398986
APL-EG_11339613; APL-
EG_11515698
APL-EG_11341605; APL-
EG_11521854
APL-EG_11399491
APL-EG_11399512
APL-EG_11399513
APL-EG_11399514
APL-EG_11399515
APL-EG_11399516
APL-EG_11399517
APL-EG_11399518
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APL-EG_11414206
APL-EG_11414214
APL-EG_10984427; PRIV-APL-
EG_00127263; APL-EG_11592372
APL-EG_10984430; PRIV-APL-
EG_00127266; APL-EG_11592375
APL-EG_10984431; PRIV-APL-
EG_00127267; APL-EG_11592376
APL-EG_10972439; PRIV-APL-
EG_00073049; APL-EG_11321567;
APL-EG_11444863
APL-EG_10972447; PRIV-APL-
EG_00073057; APL-EG_11321575;
APL-EG_11444871
APL-EG_10972448; PRIV-APL-
EG_00073058; APL-EG_11321576;
APL-EG_11444872
APL-EG_10996033; PRIV-APL-
EG_00086142; APL-EG_11329157;
APL-EG_11460502
PRIV-APL-EG_00148288; APL-
EG_11626766
PRIV-APL-EG_00148296; APL-
EG_11626774
PRIV-APL-EG_00148300; APL-
EG_11626778
APL-EG_11290306; APL-
EG_11403171
APL-EG_11398927
APL-EG_11398951
APL-EG_11398952
APL-EG_11398953
APL-EG_11398954
APL-EG_11398955
APL-EG_11398956
APL-EG_11398957
APL-EG_11399231
APL-EG_11399255
APL-EG_11399256
APL-EG_11399258
APL-EG_11399259
APL-EG_11399260
APL-EG_11399261
APL-EG_11341097; APL-
EG_11520028
APL-EG_11396139
APL-EG_11396163
APL-EG_11396164
APL-EG_11396165
APL-EG_11396166
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APL-EG_11396169
APL-EG_11391905
APL-EG_11391908
APL-EG_11391909
APL-EG_11397336
APL-EG_11397339
APL-EG_11397340
APL-EG_11338959; APL-
EG_11513867
APL-EG_11386177
APL-EG_11386875
APL-EG_10767481; PRIV-APL-
EG_00013549
APL-EG_11008329; APL-
EG_11552867
APL-EG_10997881; APL-
EG_11546491
APL-EG_11290319; APL-
EG_11403199
APL-EG_10860978; APL-
EG_11394861
APL-EG_10876396; APL-
EG_11613480
APL-EG_10876398; APL-
EG_11613482
APL-EG_10831067; APL-
EG_11543114
APL-EG_10958138; APL-
EG_11404497
APL-EG_10958141; APL-
EG_11404500
APL-EG_11403785
APL-EG_11403791
APL-EG_11399520
APL-EG_11399530
APL-EG_11399531
APL-EG_11399532
APL-EG_11396126
APL-EG_11396136
APL-EG_11396137
APL-EG_11396138
APL-EG_11547212
APL-EG_11386847; PRIV-APL-
EG_00121069
APL-EG_11386848; PRIV-APL-
EG_00121070
APL-EG_11386849; PRIV-APL-
EG_00121071
APL-EG_11386850; PRIV-APL-
EG_00121072
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EG_00121073
APL-EG_11386852; PRIV-APL-
EG_00121074
APL-EG_11386853; PRIV-APL-
EG_00121075
APL-EG_11386854; PRIV-APL-
EG_00121076
APL-EG_11386855; PRIV-APL-
EG_00121077
APL-EG_11386856; PRIV-APL-
EG_00121078
APL-EG_11386857; PRIV-APL-
EG_00121079
APL-EG_11387041; PRIV-APL-
EG_00122283
APL-EG_11387042; PRIV-APL-
EG_00122284
APL-EG_11387043; PRIV-APL-
EG_00122285
APL-EG_11387044; PRIV-APL-
EG_00122286
APL-EG_11387045; PRIV-APL-
EG_00122287
APL-EG_11387046; PRIV-APL-
EG_00122288
APL-EG_11387047; PRIV-APL-
EG_00122289
APL-EG_11387048; PRIV-APL-
EG_00122290
APL-EG_11387049; PRIV-APL-
EG_00122291
APL-EG_11387050; PRIV-APL-
EG_00122292
APL-EG_11387051; PRIV-APL-
EG_00122293
APL-EG_11394810; PRIV-APL-
EG_00137774
APL-EG_11394811; PRIV-APL-
EG_00137775
APL-EG_11394812; PRIV-APL-
EG_00137776
APL-EG_11394813; PRIV-APL-
EG_00137777
APL-EG_11394814; PRIV-APL-
EG_00137778
APL-EG_11394815; PRIV-APL-
EG_00137779
APL-EG_11394816; PRIV-APL-
EG_00137780
APL-EG_11394817; PRIV-APL-
EG_00137781
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EG_00137782
APL-EG_11394819; PRIV-APL-
EG_00137783
APL-EG_11394820; PRIV-APL-
EG_00137784
PRIV-APL-EG_00085937; APL-
EG_11329119
APL-EG_11122073; APL-
EG_11398807
APL-EG_11622582
APL-EG_11396185
APL-EG_11396192
APL-EG_11396193
APL-EG_11396194
APL-EG_11396195
APL-EG_11386467
APL-EG_11386606
APL-EG_11386670
APL-EG_11546988
APL-EG_11459633
APL-EG_11384970
APL-EG_11285765
APL-EG_11399213
APL-EG_11399222
APL-EG_11399224
APL-EG_11399225
APL-EG_11399226
APL-EG_11399227
APL-EG_11399228
APL-EG_11399229
APL-EG_11399230
APL-EG_11341865; APL-
EG_11523050
APL-EG_11341868; APL-
EG_11523053
APL-EG_11341869; APL-
EG_11523054
APL-EG_11341870; APL-
EG_11523055
APL-EG_11341872; APL-
EG_11523057
APL-EG_11341873; APL-
EG_11523058
APL-EG_11341874; APL-
EG_11523059
APL-EG_11322205; APL-
EG_11446578
APL-EG_11386591
APL-EG_10680145; APL-
EG_11541399
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EG_11393896
APL-EG_11002956; APL-
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APL-EG_11019498; APL-
EG_11278709; APL-EG_11396031
APL-EG_11019503; APL-
EG_11278714; APL-EG_11396036
APL-EG_11124197; APL-
EG_11625445
APL-EG_11124206; APL-
EG_11625454
APL-EG_11124208; APL-
EG_11625456
APL-EG_10680096; APL-
EG_11453707
APL-EG_10680140; APL-
EG_11453715
APL-EG_10679965; APL-
EG_11405272
APL-EG_11396488
APL-EG_11135476; APL-
EG_11457530
APL-EG_11138636; APL-
EG_11607176
APL-EG_11140744; APL-
EG_11615977
APL-EG_11135407; APL-
EG_11542549
APL-EG_11123957; APL-
EG_11280738; APL-EG_11637432;
APL-EG_11625120; PRIV-APL-
EG_00264371
APL-EG_11394882
APL-EG_11394890
APL-EG_11570134
APL-EG_11541480
PRIV-APL-EG_00094434; APL-
EG_11394914
PRIV-APL-EG_00094437; APL-
EG_11394917
APL-EG_10950439; APL-
EG_11400101
APL-EG_11003303; APL-
EG_11393964
APL-EG_11396652
PRIV-APL-EG_00202051
PRIV-APL-EG_00202119
PRIV-APL-EG_00227845
APL-EG_10673885; APL-
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APL-EG_11499835
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APL-EG_11499836
APL-EG_10674291; APL-
EG_10677006; APL-EG_11336951;
APL-EG_11499965
APL-EG_10674292; APL-
EG_10677007; APL-EG_11336952;
APL-EG_11499966
PRIV-APL-EG_00045596; APL-
EG_11397142
APL-EG_10748207; APL-
EG_11560089
APL-EG_10748215; APL-
EG_11560097
APL-EG_10748216; APL-
EG_11560098
APL-EG_10778964; APL-
EG_11385657
APL-EG_10876574; APL-
EG_11396382
APL-EG_10876575; APL-
EG_11396383
APL-EG_10730165; APL-
EG_11550061
APL-EG_10730173; APL-
EG_11550069
APL-EG_10730174; APL-
EG_11550070
APL-EG_10869484; APL-
EG_11395612
APL-EG_10869485; APL-
EG_11395613
APL-EG_10858212; APL-
EG_11394540; PRIV-APL-
EG_00137140
APL-EG_10858213; APL-
EG_11394541; PRIV-APL-
EG_00137141
APL-EG_10858214; APL-
EG_11394542; PRIV-APL-
EG_00137142
APL-EG_10869630; APL-
EG_11278611; APL-EG_11395694
APL-EG_11131266; APL-
EG_11529319
APL-EG_10783235; APL-
EG_11385946
APL-EG_11118757; APL-
EG_11279518; APL-EG_11510106
APL-EG_11473466
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APL-EG_11456587
APL-EG_11519266
APL-EG_11454666
APL-EG_11412265
APL-EG_11034966; APL-
EG_11516378
APL-EG_11516388
APL-EG_11114769; APL-
EG_11504261
APL-EG_11051612; APL-
EG_11399377
APL-EG_11051613; APL-
EG_11399378
APL-EG_11067821; APL-
EG_11387104
APL-EG_11067822; APL-
EG_11387105
APL-EG_11176557; APL-
EG_11445915
APL-EG_11176565; APL-
EG_11445923
APL-EG_11176566; APL-
EG_11445924
APL-EG_10892983; PRIV-APL-
EG_00098401
APL-EG_10782883; APL-
EG_11385833
PRIV-APL-EG_00247735
APL-EG_11002909; APL-
EG_11284059; APL-EG_11550943
APL-EG_11058266; APL-
EG_11526281
APL-EG_10971287; APL-
EG_11444168
APL-EG_11008857; APL-
EG_11277930; APL-EG_11477839
APL-EG_11003113; APL-
EG_11473549
APL-EG_11038028; APL-
EG_11519363
APL-EG_10998797; APL-
EG_11462259
PRIV-APL-EG_00300119
APL-EG_10886549; APL-
EG_11510219
APL-EG_10798628; APL-
EG_11444149
APL-EG_11003088; APL-
EG_11473535
APL-EG_10985535; APL-
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EG_11504303
APL-EG_10673895; APL-
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APL-EG_11499837
APL-EG_10673898; APL-
EG_10676610; APL-EG_11284236;
APL-EG_11499840
APL-EG_10673899; APL-
EG_10676611; APL-EG_11284237;
APL-EG_11499841
APL-EG_10673900; APL-
EG_10676612; APL-EG_11284238;
APL-EG_11499842
APL-EG_10674408; APL-
EG_10677123; APL-EG_11377870;
APL-EG_11500058
APL-EG_10674411; APL-
EG_10677126; APL-EG_11377871;
APL-EG_11500061
APL-EG_11052461; APL-
EG_11284757; APL-EG_11628300
APL-EG_11052464; APL-
EG_11284760; APL-EG_11628303
APL-EG_11052465; APL-
EG_11284761; APL-EG_11628304
APL-EG_11379793; PRIV-APL-
EG_00098190; APL-EG_11511171
PRIV-APL-EG_00067492; APL-
EG_11385746
PRIV-APL-EG_00067497; APL-
EG_11385751
APL-EG_11002056; APL-
EG_11467933
APL-EG_11002057; APL-
EG_11467934
APL-EG_10869526; APL-
EG_11284275; APL-EG_11501923
APL-EG_10869529; APL-
EG_11284278; APL-EG_11501926
APL-EG_10869530; APL-
EG_11284279; APL-EG_11501927
APL-EG_10951889; APL-
EG_11282259; APL-EG_11282916;
APL-EG_11384912
APL-EG_10951892; APL-
EG_11282260; APL-EG_11282919;
APL-EG_11384915
APL-EG_10951893; APL-
EG_11282261; APL-EG_11282920;
APL-EG_11384916
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APL-EG_11384917
APL-EG_10783626; APL-
EG_11283027; APL-EG_11386139
APL-EG_10783629; APL-
EG_11283030; APL-EG_11386142
APL-EG_10783630; APL-
EG_11283031; APL-EG_11386143
APL-EG_10783631; APL-
EG_11283032; APL-EG_11386144
APL-EG_10898312; APL-
EG_11284561; APL-EG_11397861
APL-EG_10898315; APL-
EG_11284564; APL-EG_11397864
APL-EG_10898316; APL-
EG_11284565; APL-EG_11397865
APL-EG_10898317; APL-
EG_11284566; APL-EG_11397866
APL-EG_10995393; APL-
EG_11355066; APL-EG_11459807
APL-EG_11118767; APL-
EG_11284551; APL-EG_11615293
APL-EG_11118770; APL-
EG_11284554; APL-EG_11615296
APL-EG_11118771; APL-
EG_11284555; APL-EG_11615297
APL-EG_11097881; APL-
EG_11581670
APL-EG_11097882; APL-
EG_11581671
APL-EG_11003053; APL-
EG_11282637; APL-EG_11284078;
APL-EG_11473510
APL-EG_11003058; APL-
EG_11282642; APL-EG_11284083;
APL-EG_11473515
APL-EG_11102566; APL-
EG_11222535; APL-EG_11456659
APL-EG_11037950; APL-
EG_11284593; APL-EG_11519322
APL-EG_11037955; APL-
EG_11284598; APL-EG_11519327
APL-EG_10998757; APL-
EG_11283921; APL-EG_11462231
APL-EG_10998762; APL-
EG_11283926; APL-EG_11462236
APL-EG_11019995; APL-
EG_11284545; APL-EG_11504719
APL-EG_11020000; APL-
EG_11284550; APL-EG_11504724
APL-EG_11592455
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APL-EG_11066894; APL-
EG_11283062; APL-EG_11579616
APL-EG_11066897; APL-
EG_11283065; APL-EG_11579619
APL-EG_11066898; APL-
EG_11283066; APL-EG_11579620
APL-EG_11035084; APL-
EG_11282894; APL-EG_11284592;
APL-EG_11516473
APL-EG_11019511; APL-
EG_11284516; APL-EG_11504266
APL-EG_11191545; APL-
EG_11522268
APL-EG_11191550; APL-
EG_11522273
APL-EG_11067842; APL-
EG_11242220; APL-EG_11283102;
APL-EG_11580543
APL-EG_11067845; APL-
EG_11242223; APL-EG_11283105;
APL-EG_11580546
APL-EG_11067846; APL-
EG_11242224; APL-EG_11283106;
APL-EG_11580547
APL-EG_11070083; APL-
EG_11242779; APL-EG_11283352;
APL-EG_11581077
APL-EG_11070086; APL-
EG_11242782; APL-EG_11283355;
APL-EG_11581080
APL-EG_11070087; APL-
EG_11242783; APL-EG_11283356;
APL-EG_11581081
APL-EG_11125885; APL-
EG_11281478; APL-EG_11284672;
APL-EG_11626850
APL-EG_11125888; APL-
EG_11281481; APL-EG_11284675;
APL-EG_11626853
APL-EG_11125889; APL-
EG_11281482; APL-EG_11284676;
APL-EG_11626854
APL-EG_11176615; APL-
EG_11582036
APL-EG_11176618; APL-
EG_11582039
APL-EG_11176619; APL-
EG_11582040
APL-EG_11176620; APL-
EG_11582041
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EG_11442801; PRIV-APL-
EG_00173168
APL-EG_10680045; APL-
EG_11442835; PRIV-APL-
EG_00173202
APL-EG_10680202; APL-
EG_11457108; PRIV-APL-
EG_00194801
APL-EG_10680236; APL-
EG_11457142; PRIV-APL-
EG_00194835
APL-EG_10680540; APL-
EG_11508952; PRIV-APL-
EG_00237688
APL-EG_10680574; APL-
EG_11508986; PRIV-APL-
EG_00237722
APL-EG_10680581; APL-
EG_11515341; PRIV-APL-
EG_00254056
APL-EG_10680615; APL-
EG_11515375; PRIV-APL-
EG_00254090
APL-EG_10680473; PRIV-APL-
EG_00094683; APL-EG_11395030
APL-EG_10680507; PRIV-APL-
EG_00094717; APL-EG_11395064
APL-EG_10680281; APL-
EG_11461042; PRIV-APL-
EG_00201762
APL-EG_10680315; APL-
EG_11461076; PRIV-APL-
EG_00201796
APL-EG_10680645; APL-
EG_11522616; PRIV-APL-
EG_00270505
APL-EG_10680679; APL-
EG_11522650; PRIV-APL-
EG_00270539
APL-EG_10680347; APL-
EG_11462834; PRIV-APL-
EG_00203500
APL-EG_10680381; APL-
EG_11462868; PRIV-APL-
EG_00203534
APL-EG_10679836; APL-
EG_11405180; PRIV-APL-
EG_00162607
APL-EG_10679870; APL-
EG_11405214; PRIV-APL-
EG_00162641
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EG_11405236; PRIV-APL-
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APL-EG_10679931; APL-
EG_11405270; PRIV-APL-
EG_00162677
APL-EG_10681121; PRIV-APL-
EG_00094778; APL-EG_11395066
APL-EG_10681155; PRIV-APL-
EG_00094812; APL-EG_11395100
APL-EG_11617368; PRIV-APL-
EG_00248300
APL-EG_11128230; PRIV-APL-
EG_00053501; APL-EG_11341828;
APL-EG_11523008
PRIV-APL-EG_00094840; APL-
EG_11336965; APL-EG_11500989
PRIV-APL-EG_00094874; APL-
EG_11336968; APL-EG_11501023
APL-EG_10783262; APL-
EG_11385981
APL-EG_11396988
APL-EG_11396998
APL-EG_11396999
APL-EG_11397000
APL-EG_11397001
PRIV-APL-EG_00194225
APL-EG_11396170
APL-EG_11396180
APL-EG_11396181
APL-EG_11396182
APL-EG_11396183
APL-EG_11029894; APL-
EG_11397149
APL-EG_10798575; APL-
EG_11387613
APL-EG_10798576; APL-
EG_11387614
APL-EG_11335771; APL-
EG_11473750
APL-EG_10965337; APL-
EG_11386920
APL-EG_10965343; APL-
EG_11386926
APL-EG_10965344; APL-
EG_11386927
APL-EG_10965345; APL-
EG_11386928
APL-EG_11035017; APL-
EG_11516404
APL-EG_11127595; APL-
EG_11522243
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APL-EG_11125725; APL-
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APL-EG_11125726; APL-
EG_11227483; APL-EG_11399337
APL-EG_11176571; APL-
EG_11533994
APL-EG_11176577; APL-
EG_11534000
APL-EG_11176578; APL-
EG_11534001
APL-EG_11176579; APL-
EG_11534002
APL-EG_10891867; APL-
EG_11379805; APL-EG_11511237
APL-EG_11290585; APL-
EG_11404079
APL-EG_11290586; APL-
EG_11404084
APL-EG_11290587; APL-
EG_11404085
APL-EG_11576352
APL-EG_11576353
APL-EG_10840559; APL-
EG_11390118
APL-EG_11002967; APL-
EG_11335608; APL-EG_11473461
APL-EG_10989089; PRIV-APL-
EG_00194257
APL-EG_11176541; APL-
EG_11533979
APL-EG_11176550; APL-
EG_11533988
APL-EG_11176551; APL-
EG_11533989
APL-EG_11176552; APL-
EG_11533990
APL-EG_11176553; APL-
EG_11533991
APL-EG_10971006; APL-
EG_11444040
APL-EG_10674122; APL-
EG_10676834; APL-EG_11395002
APL-EG_10674131; APL-
EG_10676843; APL-EG_11395011
APL-EG_11052458; APL-
EG_11399450
APL-EG_11052459; APL-
EG_11399451
APL-EG_10957471; APL-
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APL-EG_11022691; APL-
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APL-EG_11022692; APL-
EG_11396425
APL-EG_11604052
APL-EG_11604060
APL-EG_11604061
APL-EG_11394511
APL-EG_11394516
APL-EG_11394517
APL-EG_11394518
APL-EG_11114312; APL-
EG_11395671
APL-EG_10959615; APL-
EG_11386096
APL-EG_10959617; APL-
EG_11386098
APL-EG_10959618; APL-
EG_11386099
APL-EG_11003030; APL-
EG_11473487
APL-EG_10989014; APL-
EG_11456609
APL-EG_11037929; APL-
EG_11519303
APL-EG_10998751; APL-
EG_11462190
APL-EG_11019987; APL-
EG_11504673
APL-EG_10985510; APL-
EG_11327828; APL-EG_11454710
APL-EG_10985518; APL-
EG_11327830; APL-EG_11454718
APL-EG_10985519; APL-
EG_11327831; APL-EG_11454719
APL-EG_10965409; APL-
EG_11412288
APL-EG_11067836; APL-
EG_11293532; APL-EG_11414300
APL-EG_11067837; APL-
EG_11293533; APL-EG_11414301
APL-EG_11176587; APL-
EG_11534062
APL-EG_11176594; APL-
EG_11534069
APL-EG_11176595; APL-
EG_11534070
APL-EG_11176596; APL-
EG_11534071
APL-EG_11398394
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APL-EG_11398406
APL-EG_11398407
APL-EG_11398408
APL-EG_11398409
APL-EG_11398410
APL-EG_11398411
APL-EG_11398412
APL-EG_11398413
APL-EG_11398414
APL-EG_11398415
APL-EG_11398416
APL-EG_11377853; PRIV-APL-
EG_00225992
APL-EG_10957505; APL-
EG_11385759
APL-EG_11022721; APL-
EG_11279064; APL-EG_11396434
APL-EG_10851718; APL-
EG_11604077
APL-EG_10783639; APL-
EG_11386152
APL-EG_11050205; APL-
EG_11568850
APL-EG_11044751; APL-
EG_11566547
APL-EG_10965446; APL-
EG_11412317
APL-EG_11127635; APL-
EG_11522281
APL-EG_11070096; APL-
EG_11194853; APL-EG_11242792;
APL-EG_11415362
APL-EG_11125898; APL-
EG_11227498; APL-EG_11281491;
APL-EG_11522100
APL-EG_11179089; APL-
EG_11541961
APL-EG_11179098; APL-
EG_11541970
APL-EG_11179099; APL-
EG_11541971
APL-EG_10984544; APL-
EG_11389212
APL-EG_10984551; APL-
EG_11389245
APL-EG_10984557; APL-
EG_11389251
APL-EG_10984559; APL-
EG_11389253
APL-EG_10984560; APL-
EG_11389254
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APL-EG_10947127; APL-
EG_11570086
APL-EG_11386399
APL-EG_10957528; APL-
EG_11385783
APL-EG_10951921; APL-
EG_11384956
APL-EG_10898349; APL-
EG_11397882
APL-EG_11003083; APL-
EG_11551021
APL-EG_10989033; APL-
EG_11543009
APL-EG_11038002; APL-
EG_11566052
APL-EG_10998775; APL-
EG_11546552
APL-EG_11020044; APL-
EG_11555205
APL-EG_10985530; APL-
EG_11541488
APL-EG_10965152; APL-
EG_11530875
APL-EG_11035119; APL-
EG_11564265
APL-EG_11019546; APL-
EG_11554397
APL-EG_11176669; APL-
EG_11534141
APL-EG_11176673; APL-
EG_11534145
APL-EG_11029974; APL-
EG_11511188
APL-EG_10876607; APL-
EG_11396436
APL-EG_10951904; APL-
EG_11384922
APL-EG_11058247; APL-
EG_11632281
APL-EG_11026675; APL-
EG_11615299
APL-EG_11037966; APL-
EG_11622604
APL-EG_11020010; APL-
EG_11611750
APL-EG_10965146; APL-
EG_11292561; APL-EG_11412240
APL-EG_11070116; APL-
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EG_11534124
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EG_11534125
APL-EG_11176647; APL-
EG_11534126
APL-EG_11176648; APL-
EG_11534127
PRIV-APL-EG_00300113
APL-EG_10988313; APL-
EG_11542897
APL-EG_11011586; PRIV-APL-
EG_00224070
APL-EG_11395678
APL-EG_11397867
PRIV-APL-EG_00300176
APL-EG_11110919; PRIV-APL-
EG_00222453
APL-EG_10988596; APL-
EG_11542985
PRIV-APL-EG_00194231
APL-EG_11543020
APL-EG_11037965; PRIV-APL-
EG_00261995
PRIV-APL-EG_00202374
PRIV-APL-EG_00233707
PRIV-APL-EG_00191654
APL-EG_10965131; PRIV-APL-
EG_00166943
APL-EG_11035095; PRIV-APL-
EG_00255243
APL-EG_11019526; PRIV-APL-
EG_00232233
APL-EG_11011578; APL-
EG_11394937
APL-EG_11011582; APL-
EG_11394941
APL-EG_11175068; APL-
EG_11531761
APL-EG_11175078; APL-
EG_11531771
APL-EG_11175079; APL-
EG_11531772
APL-EG_11386405
APL-EG_10680101; APL-
EG_11453712
APL-EG_10680103; APL-
EG_11453714
APL-EG_11395680
APL-EG_11395686
APL-EG_11395687
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APL-EG_11395690
APL-EG_11395691
APL-EG_11010841; APL-
EG_11394858
APL-EG_11010843; APL-
EG_11394860
APL-EG_11386010
APL-EG_11008507; APL-
EG_11336387; APL-EG_11477808
APL-EG_11008513; APL-
EG_11336390; APL-EG_11477814
APL-EG_11393884
APL-EG_11393890
APL-EG_11393891
APL-EG_11393892
APL-EG_11393893
APL-EG_11393894
APL-EG_11393895
APL-EG_10997838; APL-
EG_11329397; APL-EG_11461958
APL-EG_10997844; APL-
EG_11329400; APL-EG_11461964
APL-EG_10986525; APL-
EG_11389448
APL-EG_10986527; APL-
EG_11389450
APL-EG_11019830; APL-
EG_11284524; APL-EG_11554419
APL-EG_11019832; APL-
EG_11284526; APL-EG_11554421
APL-EG_11019833; APL-
EG_11284527; APL-EG_11554422
APL-EG_11003761; APL-
EG_11335831; APL-EG_11473943
APL-EG_11003770; APL-
EG_11335840; APL-EG_11473952
APL-EG_11003882; APL-
EG_11335952; APL-EG_11474064
APL-EG_10673888; APL-
EG_10676600; APL-EG_11394961
APL-EG_10673893; APL-
EG_10676605; APL-EG_11394966
APL-EG_10875078; APL-
EG_11396198
APL-EG_10875082; APL-
EG_11396202
APL-EG_11356974; APL-
EG_11467221
APL-EG_10748235; APL-
EG_11615967
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APL-EG_10959691; APL-
EG_11386159
APL-EG_11032199; APL-
EG_11397887
APL-EG_11032204; APL-
EG_11397892
APL-EG_10995425; APL-
EG_11390199
APL-EG_10995430; APL-
EG_11390204
APL-EG_11400256
APL-EG_11400261
APL-EG_11348409; APL-
EG_11444160
APL-EG_11003097; APL-
EG_11393935
APL-EG_11003102; APL-
EG_11393940
APL-EG_11110984; PRIV-APL-
EG_00222582
APL-EG_10988306; APL-
EG_11456429
APL-EG_10989042; APL-
EG_11389802
APL-EG_10989047; APL-
EG_11389807
APL-EG_11038018; APL-
EG_11519353
APL-EG_11105310; APL-
EG_11390794
APL-EG_11105315; APL-
EG_11390799
APL-EG_11020062; APL-
EG_11504750
APL-EG_10985546; APL-
EG_11389394
APL-EG_10985551; APL-
EG_11389399
APL-EG_10965163; APL-
EG_11386914
APL-EG_10965168; APL-
EG_11386919
APL-EG_11396039
APL-EG_11396044
APL-EG_11067885; APL-
EG_11414326
APL-EG_11070161; APL-
EG_11415389
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EG_11582051
APL-EG_11176697; APL-
EG_11582056
APL-EG_11384773
APL-EG_11447833
APL-EG_11447954
APL-EG_10674057; APL-
EG_10676769; APL-EG_11394967
APL-EG_10674081; APL-
EG_10676793; APL-EG_11394991
APL-EG_10674083; APL-
EG_10676795; APL-EG_11394993
APL-EG_10674084; APL-
EG_10676796; APL-EG_11394994
APL-EG_10674086; APL-
EG_10676798; APL-EG_11394996
APL-EG_10674087; APL-
EG_10676799; APL-EG_11394997
APL-EG_10674088; APL-
EG_10676800; APL-EG_11394998
APL-EG_10674089; APL-
EG_10676801; APL-EG_11394999
APL-EG_10674090; APL-
EG_10676802; APL-EG_11395000
APL-EG_10674304; APL-
EG_10677019; APL-EG_11377858;
PRIV-APL-EG_00042367; APL-
EG_11499978
APL-EG_10674328; APL-
EG_10677043; APL-EG_11377859;
PRIV-APL-EG_00042368; APL-
EG_11500002
APL-EG_10674330; APL-
EG_10677045; APL-EG_11377861;
PRIV-APL-EG_00042370; APL-
EG_11500004
APL-EG_10674331; APL-
EG_10677046; APL-EG_11377862;
PRIV-APL-EG_00042371; APL-
EG_11500005
APL-EG_10674333; APL-
EG_10677048; APL-EG_11377864;
PRIV-APL-EG_00042373; APL-
EG_11500007
APL-EG_10674334; APL-
EG_10677049; APL-EG_11377865;
PRIV-APL-EG_00042374; APL-
EG_11500008
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EG_10677052; APL-EG_11377868;
PRIV-APL-EG_00042377; APL-
EG_11500011
APL-EG_11052418; APL-
EG_11281662; APL-EG_11399411
APL-EG_11052419; APL-
EG_11281663; APL-EG_11399431
APL-EG_11052420; APL-
EG_11281664; APL-EG_11399432
APL-EG_11052421; APL-
EG_11281665; APL-EG_11399433
APL-EG_11052422; APL-
EG_11281666; APL-EG_11399434
APL-EG_11052424; APL-
EG_11281668; APL-EG_11399436
APL-EG_11052425; APL-
EG_11281669; APL-EG_11399437
APL-EG_11052427; APL-
EG_11281671; APL-EG_11399439
APL-EG_11052428; APL-
EG_11281672; APL-EG_11399440
APL-EG_11029897; APL-
EG_11279781; APL-EG_11397152
APL-EG_11029917; APL-
EG_11279801; APL-EG_11397172
APL-EG_11029919; APL-
EG_11279803; APL-EG_11397174
APL-EG_11029920; APL-
EG_11279804; APL-EG_11397175
APL-EG_11029922; APL-
EG_11279806; APL-EG_11397177
APL-EG_11029923; APL-
EG_11279807; APL-EG_11397178
APL-EG_11029925; APL-
EG_11279809; APL-EG_11397180
APL-EG_11029926; APL-
EG_11279810; APL-EG_11397181
APL-EG_11228362; APL-
EG_11385668
APL-EG_11228382; APL-
EG_11385688
APL-EG_11228384; APL-
EG_11385690
APL-EG_11228385; APL-
EG_11385691
APL-EG_11228387; APL-
EG_11385693
APL-EG_11228388; APL-
EG_11385694
APL-EG_11228390; APL-
EG_11385696
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EG_11385697
APL-EG_11236356; APL-
EG_11396385
APL-EG_11236376; APL-
EG_11396405
APL-EG_11236378; APL-
EG_11396407
APL-EG_11236379; APL-
EG_11396408
APL-EG_11236381; APL-
EG_11396410
APL-EG_11236382; APL-
EG_11396411
APL-EG_11236384; APL-
EG_11396413
APL-EG_11236385; APL-
EG_11396414
APL-EG_10851637; APL-
EG_11282591; APL-EG_11284028;
APL-EG_11391578
APL-EG_10851638; APL-
EG_11282611; APL-EG_11284048;
APL-EG_11391598
APL-EG_10851640; APL-
EG_11282613; APL-EG_11284050;
APL-EG_11391600
APL-EG_10851641; APL-
EG_11282614; APL-EG_11284051;
APL-EG_11391601
APL-EG_10851643; APL-
EG_11282616; APL-EG_11284053;
APL-EG_11391603
APL-EG_10851644; APL-
EG_11282617; APL-EG_11284054;
APL-EG_11391604
APL-EG_10851646; APL-
EG_11282619; APL-EG_11284056;
APL-EG_11391606
APL-EG_10851647; APL-
EG_11282620; APL-EG_11284057;
APL-EG_11391607
APL-EG_11004113; APL-
EG_11282663; PRIV-APL-
EG_00093923; APL-EG_11394004
APL-EG_11004115; APL-
EG_11282665; PRIV-APL-
EG_00093925; APL-EG_11394006
APL-EG_11004116; APL-
EG_11282666; PRIV-APL-
EG_00093926; APL-EG_11394007
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EG_11282668; PRIV-APL-
EG_00093928; APL-EG_11394009
APL-EG_11004119; APL-
EG_11282669; PRIV-APL-
EG_00093929; APL-EG_11394010
APL-EG_11004121; APL-
EG_11282671; PRIV-APL-
EG_00093931; APL-EG_11394012
APL-EG_11004122; APL-
EG_11282672; PRIV-APL-
EG_00093932; APL-EG_11394013
APL-EG_11014124; APL-
EG_11278573; APL-EG_11395614
APL-EG_11014144; APL-
EG_11278593; APL-EG_11395634
APL-EG_11014146; APL-
EG_11278595; APL-EG_11395636
APL-EG_11014147; APL-
EG_11278596; APL-EG_11395637
APL-EG_11014149; APL-
EG_11278598; APL-EG_11395639
APL-EG_11014150; APL-
EG_11278599; APL-EG_11395640
APL-EG_11014152; APL-
EG_11278601; APL-EG_11395642
APL-EG_11014153; APL-
EG_11278602; APL-EG_11395643
APL-EG_10951819; APL-
EG_11239862; APL-EG_11384880
APL-EG_10951839; APL-
EG_11239882; APL-EG_11384900
APL-EG_10951841; APL-
EG_11239884; APL-EG_11384902
APL-EG_10951842; APL-
EG_11239885; APL-EG_11384903
APL-EG_10951844; APL-
EG_11239887; APL-EG_11384905
APL-EG_10951845; APL-
EG_11239888; APL-EG_11384906
APL-EG_10951847; APL-
EG_11239890; APL-EG_11384908
APL-EG_10951848; APL-
EG_11239891; APL-EG_11384909
APL-EG_10959585; APL-
EG_11282287; APL-EG_11282997;
APL-EG_11386012
APL-EG_10959586; APL-
EG_11282307; APL-EG_11283017;
APL-EG_11386032
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APL-EG_10959587; APL-
EG_11282308; APL-EG_11283018;
APL-EG_11386033
APL-EG_10959588; APL-
EG_11282309; APL-EG_11283019;
APL-EG_11386034
APL-EG_10959590; APL-
EG_11282311; APL-EG_11283021;
APL-EG_11386036
APL-EG_10959591; APL-
EG_11282312; APL-EG_11283022;
APL-EG_11386037
APL-EG_10959593; APL-
EG_11282314; APL-EG_11283024;
APL-EG_11386039
APL-EG_10959594; APL-
EG_11282315; APL-EG_11283025;
APL-EG_11386040
APL-EG_11032124; APL-
EG_11279979; APL-EG_11397806
APL-EG_11032144; APL-
EG_11279999; APL-EG_11397826
APL-EG_11032146; APL-
EG_11280001; APL-EG_11397828
APL-EG_11032147; APL-
EG_11280002; APL-EG_11397829
APL-EG_11032149; APL-
EG_11280004; APL-EG_11397831
APL-EG_11032150; APL-
EG_11280005; APL-EG_11397832
APL-EG_11032152; APL-
EG_11280007; APL-EG_11397834
APL-EG_11032153; APL-
EG_11280008; APL-EG_11397835
APL-EG_10995348; APL-
EG_11390124
APL-EG_10995368; APL-
EG_11390144
APL-EG_10995370; APL-
EG_11390146
APL-EG_10995371; APL-
EG_11390147
APL-EG_10995373; APL-
EG_11390149
APL-EG_10995374; APL-
EG_11390150
APL-EG_10995376; APL-
EG_11390152
APL-EG_10995377; APL-
EG_11390153
APL-EG_11058198; APL-
EG_11282228; APL-EG_11400209
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EG_11282248; APL-EG_11400229
APL-EG_11058220; APL-
EG_11282250; APL-EG_11400231
APL-EG_11058221; APL-
EG_11282251; APL-EG_11400232
APL-EG_11058223; APL-
EG_11282253; APL-EG_11400234
APL-EG_11058224; APL-
EG_11282254; APL-EG_11400235
APL-EG_11058226; APL-
EG_11282256; APL-EG_11400237
APL-EG_11058227; APL-
EG_11282257; APL-EG_11400238
APL-EG_11026622; APL-
EG_11279528; APL-EG_11397009
APL-EG_11026642; APL-
EG_11279548; APL-EG_11397029
APL-EG_11026644; APL-
EG_11279550; APL-EG_11397031
APL-EG_11026645; APL-
EG_11279551; APL-EG_11397032
APL-EG_11026647; APL-
EG_11279553; APL-EG_11397034
APL-EG_11026648; APL-
EG_11279554; APL-EG_11397035
APL-EG_11026650; APL-
EG_11279556; APL-EG_11397037
APL-EG_11026651; APL-
EG_11279557; APL-EG_11397038
APL-EG_11130994; APL-
EG_11387616
APL-EG_11130995; APL-
EG_11387636
APL-EG_11130997; APL-
EG_11387638
APL-EG_11130998; APL-
EG_11387639
APL-EG_11131000; APL-
EG_11387641
APL-EG_11131001; APL-
EG_11387642
APL-EG_11131003; APL-
EG_11387644
APL-EG_11131004; APL-
EG_11387645
APL-EG_11181650; APL-
EG_11473415
APL-EG_11181653; APL-
EG_11473418
APL-EG_11002972; APL-
EG_11277582; APL-EG_11393903
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EG_11277602; APL-EG_11393923
APL-EG_11002994; APL-
EG_11277604; APL-EG_11393925
APL-EG_11002995; APL-
EG_11277605; APL-EG_11393926
APL-EG_11002997; APL-
EG_11277607; APL-EG_11393928
APL-EG_11002998; APL-
EG_11277608; APL-EG_11393929
APL-EG_11003000; APL-
EG_11277610; APL-EG_11393931
APL-EG_11003001; APL-
EG_11277611; APL-EG_11393932
APL-EG_10988918; APL-
EG_11389716
APL-EG_10988938; APL-
EG_11389736
APL-EG_10988940; APL-
EG_11389738
APL-EG_10988941; APL-
EG_11389739
APL-EG_10988943; APL-
EG_11389741
APL-EG_10988944; APL-
EG_11389742
APL-EG_10988946; APL-
EG_11389744
APL-EG_10988947; APL-
EG_11389745
APL-EG_11037872; APL-
EG_11399000
APL-EG_11037892; APL-
EG_11399020
APL-EG_11037894; APL-
EG_11399022
APL-EG_11037895; APL-
EG_11399023
APL-EG_11037897; APL-
EG_11399025
APL-EG_11037898; APL-
EG_11399026
APL-EG_11037900; APL-
EG_11399028
APL-EG_11037901; APL-
EG_11399029
APL-EG_11019931; APL-
EG_11396094
APL-EG_11019951; APL-
EG_11396114
APL-EG_11019953; APL-
EG_11396116
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EG_11396117
APL-EG_11019956; APL-
EG_11396119
APL-EG_11019957; APL-
EG_11396120
APL-EG_11019959; APL-
EG_11396122
APL-EG_11019960; APL-
EG_11396123
APL-EG_11178264; APL-
EG_11454697
APL-EG_11178266; APL-
EG_11454699
APL-EG_11178267; APL-
EG_11454700
APL-EG_11178269; APL-
EG_11454702
APL-EG_11178270; APL-
EG_11454703
APL-EG_11178272; APL-
EG_11454705
APL-EG_11178273; APL-
EG_11454706
APL-EG_10965346; APL-
EG_11241937; APL-EG_11386929
APL-EG_10965366; APL-
EG_11241957; APL-EG_11386949
APL-EG_10965368; APL-
EG_11241959; APL-EG_11386951
APL-EG_10965369; APL-
EG_11241960; APL-EG_11386952
APL-EG_10965371; APL-
EG_11241962; APL-EG_11386954
APL-EG_10965372; APL-
EG_11241963; APL-EG_11386955
APL-EG_10965374; APL-
EG_11241965; APL-EG_11386957
APL-EG_10965375; APL-
EG_11241966; APL-EG_11386958
APL-EG_11035021; APL-
EG_11282858; PRIV-APL-
EG_00102397; APL-EG_11398417
APL-EG_11035022; APL-
EG_11282878; PRIV-APL-
EG_00102417; APL-EG_11398437
APL-EG_11035024; APL-
EG_11282880; PRIV-APL-
EG_00102419; APL-EG_11398439
APL-EG_11035025; APL-
EG_11282881; PRIV-APL-
EG_00102420; APL-EG_11398440
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EG_11282883; PRIV-APL-
EG_00102422; APL-EG_11398442
APL-EG_11035028; APL-
EG_11282884; PRIV-APL-
EG_00102423; APL-EG_11398443
APL-EG_11035030; APL-
EG_11282886; PRIV-APL-
EG_00102425; APL-EG_11398445
APL-EG_11035031; APL-
EG_11282887; PRIV-APL-
EG_00102426; APL-EG_11398446
APL-EG_11019624; APL-
EG_11282719; APL-EG_11396061
APL-EG_11019625; APL-
EG_11282739; APL-EG_11396081
APL-EG_11019627; APL-
EG_11282741; APL-EG_11396083
APL-EG_11019628; APL-
EG_11282742; APL-EG_11396084
APL-EG_11019630; APL-
EG_11282744; APL-EG_11396086
APL-EG_11019631; APL-
EG_11282745; APL-EG_11396087
APL-EG_11019633; APL-
EG_11282747; APL-EG_11396089
APL-EG_11019634; APL-
EG_11282748; APL-EG_11396090
APL-EG_11051618; APL-
EG_11281595; APL-EG_11284710;
APL-EG_11399379
APL-EG_11051638; APL-
EG_11281615; APL-EG_11284730;
APL-EG_11399399
APL-EG_11051640; APL-
EG_11281617; APL-EG_11284732;
APL-EG_11399401
APL-EG_11051641; APL-
EG_11281618; APL-EG_11284733;
APL-EG_11399402
APL-EG_11051643; APL-
EG_11281620; APL-EG_11284735;
APL-EG_11399404
APL-EG_11051644; APL-
EG_11281621; APL-EG_11284736;
APL-EG_11399405
APL-EG_11051646; APL-
EG_11281623; APL-EG_11284738;
APL-EG_11399407
APL-EG_11051647; APL-
EG_11281624; APL-EG_11284739;
APL-EG_11399408
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EG_11283071; APL-EG_11414261
APL-EG_11174542; APL-
EG_11283091; APL-EG_11414281
APL-EG_11174544; APL-
EG_11283093; APL-EG_11414283
APL-EG_11174545; APL-
EG_11283094; APL-EG_11414284
APL-EG_11174547; APL-
EG_11283096; APL-EG_11414286
APL-EG_11174548; APL-
EG_11283097; APL-EG_11414287
APL-EG_11174550; APL-
EG_11283099; APL-EG_11414289
APL-EG_11174551; APL-
EG_11283100; APL-EG_11414290
APL-EG_11069944; APL-
EG_11242768; APL-EG_11387282
APL-EG_11069946; APL-
EG_11242770; APL-EG_11387284
APL-EG_11069947; APL-
EG_11242771; APL-EG_11387285
APL-EG_11069949; APL-
EG_11242773; APL-EG_11387287
APL-EG_11069950; APL-
EG_11242774; APL-EG_11387288
APL-EG_11069952; APL-
EG_11242776; APL-EG_11387290
APL-EG_11069953; APL-
EG_11242777; APL-EG_11387291
APL-EG_11125747; APL-
EG_11281467; APL-EG_11399358
APL-EG_11125749; APL-
EG_11281469; APL-EG_11399360
APL-EG_11125750; APL-
EG_11281470; APL-EG_11399361
APL-EG_11125752; APL-
EG_11281472; APL-EG_11399363
APL-EG_11125753; APL-
EG_11281473; APL-EG_11399364
APL-EG_11125755; APL-
EG_11281475; APL-EG_11399366
APL-EG_11125756; APL-
EG_11281476; APL-EG_11399367
APL-EG_11445925
APL-EG_11445945
APL-EG_11445946
APL-EG_11445947
APL-EG_11445948
APL-EG_11445950
APL-EG_11445951
APL-EG_11445953
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APL-EG_11445955
APL-EG_10805294; PRIV-APL-
EG_00073518; APL-EG_11387939
APL-EG_10805311; PRIV-APL-
EG_00073535; APL-EG_11387956
APL-EG_10805312; PRIV-APL-
EG_00073536; APL-EG_11387957
APL-EG_10805313; PRIV-APL-
EG_00073537; APL-EG_11387958
APL-EG_10805315; PRIV-APL-
EG_00073539; APL-EG_11387960
APL-EG_10805316; PRIV-APL-
EG_00073540; APL-EG_11387961
APL-EG_10805318; PRIV-APL-
EG_00073542; APL-EG_11387963
APL-EG_10805319; PRIV-APL-
EG_00073543; APL-EG_11387964
APL-EG_10759417; APL-
EG_11515379
APL-EG_11230126; APL-
EG_11447912
APL-EG_10945877; APL-
EG_11399453
APL-EG_10891803; APL-
EG_11397183
APL-EG_10778995; APL-
EG_11385726
APL-EG_11002049; APL-
EG_11391609
APL-EG_11032185; APL-
EG_11397857
APL-EG_11234034; APL-
EG_11390157
APL-EG_11229684; APL-
EG_11444125
APL-EG_11003040; APL-
EG_11473490
APL-EG_10988308; APL-
EG_11456430
APL-EG_11233028; APL-
EG_11456612
APL-EG_11019990; APL-
EG_11504677
APL-EG_10965411; APL-
EG_11412290
APL-EG_11237812; APL-
EG_11516426
APL-EG_11239118; APL-
EG_11522264
APL-EG_11125837; APL-
EG_11284668; APL-EG_11522051
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APL-EG_10739838; APL-
EG_11505693
APL-EG_10748255; APL-
EG_11511230
APL-EG_11228396; APL-
EG_11385763
APL-EG_10876616; APL-
EG_11396455
APL-EG_11235001; APL-
EG_11391653
APL-EG_11227680; APL-
EG_11384941
APL-EG_11234041; APL-
EG_11390183
APL-EG_11239837; APL-
EG_11526258
APL-EG_11236758; APL-
EG_11510217
APL-EG_11229689; APL-
EG_11444135
APL-EG_11230104; APL-
EG_11447890
APL-EG_11003068; APL-
EG_11473520
APL-EG_10989027; APL-
EG_11456666
APL-EG_11037986; APL-
EG_11519331
APL-EG_11234179; APL-
EG_11462240
APL-EG_11020029; APL-
EG_11504728
APL-EG_11228994; APL-
EG_11412245
APL-EG_11034628; APL-
EG_11516292
APL-EG_11035114; APL-
EG_11516480
APL-EG_11176652; APL-
EG_11445966
APL-EG_10805700; APL-
EG_11283662; PRIV-APL-
EG_00073598
APL-EG_11236015; APL-
EG_11395661
PRIV-APL-EG_00254116
APL-EG_10995383; APL-
EG_11390155
APL-EG_10950590; APL-
EG_11526204
APL-EG_11447755
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EG_11456598
APL-EG_11037919; APL-
EG_11519293
APL-EG_10998742; APL-
EG_11462180
APL-EG_10985509; APL-
EG_11454708
APL-EG_10999419; APL-
EG_11463018
APL-EG_10965395; APL-
EG_11412276
APL-EG_11237811; APL-
EG_11516424
APL-EG_11019656; APL-
EG_11504318
APL-EG_11051652; APL-
EG_11522261
APL-EG_11059565; APL-
EG_11403636
APL-EG_10679767; APL-
EG_11405140
APL-EG_10679785; APL-
EG_11405158
APL-EG_10680238; APL-
EG_11461022
APL-EG_10680256; APL-
EG_11461040
APL-EG_10679872; APL-
EG_11405216
APL-EG_10679890; APL-
EG_11405234
APL-EG_10680322; APL-
EG_11462814
APL-EG_10679816; APL-
EG_11405160
APL-EG_10679834; APL-
EG_11405178
APL-EG_11329167; APL-
EG_11460650
APL-EG_11329168; APL-
EG_11460666
APL-EG_11329171; APL-
EG_11460669
APL-EG_11141076; APL-
EG_11514712; APL-EG_11635875
APL-EG_11141080; APL-
EG_11514731; APL-EG_11635894
APL-EG_11230079; APL-
EG_11447797; APL-EG_11633822
APL-EG_11013648; APL-
EG_11336955; APL-EG_11500965
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EG_11336959; APL-EG_11500984
APL-EG_11462356
APL-EG_10739833; APL-
EG_11505691; APL-EG_11635613
APL-EG_10945921; APL-
EG_11399472
APL-EG_10891826; APL-
EG_11397187
APL-EG_10748252; APL-
EG_11511229
APL-EG_10779018; APL-
EG_11385785
APL-EG_11397697
APL-EG_10765360; APL-
EG_11522510; APL-EG_11636024
APL-EG_10951933; APL-
EG_11384961
APL-EG_11237692; APL-
EG_11397893
APL-EG_10995431; APL-
EG_11390205
APL-EG_11058264; APL-
EG_11526279
APL-EG_11230143; APL-
EG_11447929; APL-EG_11633847
APL-EG_11003103; APL-
EG_11473539
APL-EG_10989049; APL-
EG_11456683
APL-EG_10989117; APL-
EG_11456708
APL-EG_11038019; APL-
EG_11519354
APL-EG_10998787; APL-
EG_11462249
APL-EG_11020063; APL-
EG_11504751
APL-EG_10985552; APL-
EG_11454782
APL-EG_11131847; APL-
EG_11412256; APL-EG_11633130
APL-EG_11141194; APL-
EG_11516506; APL-EG_11635896
APL-EG_11035329; APL-
EG_11516550
APL-EG_11176699; APL-
EG_11445970; APL-EG_11633492
APL-EG_11390280
PRIV-APL-EG_00003400; APL-
EG_11387980
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EG_11399457
APL-EG_11228394; APL-
EG_11385761
APL-EG_11236387; APL-
EG_11396453
APL-EG_11234999; APL-
EG_11391651
APL-EG_10768153; APL-
EG_11384939
APL-EG_10898344; PRIV-APL-
EG_00247773
APL-EG_10995421; APL-
EG_11390181
APL-EG_11058151; APL-
EG_11526198
APL-EG_10798609; APL-
EG_11444133
APL-EG_10989025; APL-
EG_11456664
APL-EG_10998772; APL-
EG_11462238
APL-EG_11020027; APL-
EG_11504726
PRIV-APL-EG_00271538
APL-EG_11232895; APL-
EG_11454761
APL-EG_11174094; APL-
EG_11412243; APL-EG_11633128
APL-EG_11237816; APL-
EG_11516478
APL-EG_11236071; APL-
EG_11504289
APL-EG_11239123; APL-
EG_11522304
APL-EG_11445964; APL-
EG_11633478
APL-EG_11384679
APL-EG_10988864; APL-
EG_11456569
APL-EG_11513726; APL-
EG_11635859
APL-EG_11386910
APL-EG_11119804; APL-
EG_11339305; APL-EG_11514733;
PRIV-APL-EG_00100966
APL-EG_11119806; APL-
EG_11339307; APL-EG_11514749;
PRIV-APL-EG_00100982
PRIV-APL-EG_00050168; APL-
EG_11339682; APL-EG_11516129
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APL-EG_11395013
APL-EG_11387937
APL-EG_11387968
APL-EG_10945904; APL-
EG_11281674; APL-EG_11399459
APL-EG_11228398; APL-
EG_11385766
APL-EG_11235003; APL-
EG_11391656
APL-EG_10768158; APL-
EG_11384944
APL-EG_11032190; APL-
EG_11280010; APL-EG_11397869
APL-EG_11234043; APL-
EG_11390186
APL-EG_11239839; APL-
EG_11526261; APL-EG_11636099
APL-EG_11236760; APL-
EG_11559070; APL-EG_11635692
APL-EG_10798611; APL-
EG_11270251; APL-EG_11444137
APL-EG_11003070; APL-
EG_11277619; APL-EG_11473523
APL-EG_10989029; APL-
EG_11272023; APL-EG_11456668
APL-EG_11037988; APL-
EG_11280354; APL-EG_11519334
APL-EG_11234181; APL-
EG_11462243
APL-EG_11020031; APL-
EG_11278759; APL-EG_11504730
APL-EG_10985525; APL-
EG_11271785; APL-EG_11454764
APL-EG_11228996; APL-
EG_11412247
APL-EG_11237818; APL-
EG_11516482
APL-EG_11114784; APL-
EG_11278716; APL-EG_11504291
APL-EG_11239125; APL-
EG_11569261; APL-EG_11636005
APL-EG_11531735; APL-
EG_11633296; PRIV-APL-
EG_00171349
APL-EG_11070121; APL-
EG_11242794; APL-EG_11283362;
APL-EG_11532198; APL-
EG_11633319
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EG_11281493; APL-EG_11284682;
APL-EG_11569001; APL-
EG_11635974
APL-EG_11176655; APL-
EG_11270660; APL-EG_11534129;
APL-EG_11633480
APL-EG_11022731; APL-
EG_11396457
APL-EG_10951935; APL-
EG_11384963
APL-EG_11032205; APL-
EG_11397895
APL-EG_11636111; APL-
EG_11632298
APL-EG_11026707; APL-
EG_11279559; APL-EG_11510228
APL-EG_10971280; APL-
EG_11270263; APL-EG_11444161
APL-EG_11003105; APL-
EG_11277631; APL-EG_11473541
APL-EG_11233033; APL-
EG_11456685
APL-EG_11038021; APL-
EG_11519356
APL-EG_10998789; APL-
EG_11272604; APL-EG_11462251
APL-EG_11178275; APL-
EG_11541493; APL-EG_11634726
APL-EG_11569273; APL-
EG_11636017
APL-EG_11070163; APL-
EG_11242802; APL-EG_11283383;
APL-EG_11532210; APL-
EG_11633331
APL-EG_11125953; APL-
EG_11281496; APL-EG_11284703;
APL-EG_11569013; APL-
EG_11635986
APL-EG_11229842; APL-
EG_11534147; APL-EG_11633494
APL-EG_11228361; APL-
EG_11385667
APL-EG_11022666; APL-
EG_11396384
APL-EG_11234998; PRIV-APL-
EG_00091763
APL-EG_11227675; APL-
EG_11384879
APL-EG_11228578; APL-
EG_11386011
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EG_11390123
APL-EG_11239829; APL-
EG_11526203
APL-EG_11235149; APL-
EG_11473476
APL-EG_11233027; APL-
EG_11456597
APL-EG_11238018; APL-
EG_11519276
APL-EG_11234176; APL-
EG_11462148
APL-EG_11236243; APL-
EG_11504609
APL-EG_11232892; APL-
EG_11454676
APL-EG_11229006; APL-
EG_11412275
APL-EG_11034777; APL-
EG_11516328
APL-EG_11035020; APL-
EG_11516407
APL-EG_11236073; APL-
EG_11504317
APL-EG_11239112; APL-
EG_11522244
APL-EG_11534003; APL-
EG_11633477
APL-EG_10869512; APL-
EG_11395662
APL-EG_10768139; APL-
EG_11384911
APL-EG_10783617; APL-
EG_11386095
APL-EG_11234033; APL-
EG_11390156
APL-EG_11058245; APL-
EG_11526205
APL-EG_10886514; APL-
EG_11510170
APL-EG_10798583; APL-
EG_11444124
APL-EG_11235150; APL-
EG_11473477
APL-EG_10989004; APL-
EG_11456599
APL-EG_11234177; APL-
EG_11462181
APL-EG_11019978; APL-
EG_11504664
APL-EG_11232893; APL-
EG_11454709
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EG_11412277
APL-EG_11035053; APL-
EG_11516425
APL-EG_11019659; APL-
EG_11504319
APL-EG_11239117; APL-
EG_11522262
APL-EG_11534061
APL-EG_11236020; APL-
EG_11395677
APL-EG_11227679; APL-
EG_11384921
APL-EG_10995403; APL-
EG_11390180
APL-EG_11058246; APL-
EG_11526257
APL-EG_10886547; APL-
EG_11510216
APL-EG_11229688; APL-
EG_11444132
APL-EG_11235151; APL-
EG_11473519
APL-EG_11233032; APL-
EG_11456663
APL-EG_11238019; APL-
EG_11519328
APL-EG_11234178; APL-
EG_11462237
APL-EG_11236244; APL-
EG_11504725
APL-EG_11232894; APL-
EG_11454760
APL-EG_10965130; APL-
EG_11412225
APL-EG_11035094; APL-
EG_11516477
APL-EG_11019525; APL-
EG_11504271
APL-EG_11239122; APL-
EG_11522286
APL-EG_11070101; APL-
EG_11283361; APL-EG_11415364
APL-EG_11125903; APL-
EG_11284681; APL-EG_11522105
APL-EG_11445963
APL-EG_11396205
APL-EG_11014161; APL-
EG_11395674
APL-EG_11227676; APL-
EG_11384918
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EG_11390177
APL-EG_11239834; APL-
EG_11526254
APL-EG_11236755; APL-
EG_11510213
APL-EG_10886580; APL-
EG_11510245
APL-EG_11473516
APL-EG_10989022; APL-
EG_11456660
APL-EG_11462137
APL-EG_10965448; APL-
EG_11412319
APL-EG_11516474
APL-EG_11019522; APL-
EG_11504268
APL-EG_11522283
APL-EG_11125900; APL-
EG_11284678; APL-EG_11522102
APL-EG_11445900
APL-EG_11176630; APL-
EG_11445960
APL-EG_10885620; APL-
EG_11396879
APL-EG_10885626; APL-
EG_11396903
APL-EG_10885627; APL-
EG_11396904
APL-EG_10885630; APL-
EG_11396907
APL-EG_11126061; APL-
EG_11170867; APL-EG_11626875
APL-EG_11394891
APL-EG_11394893
APL-EG_11396204
APL-EG_11385765
APL-EG_11391655
APL-EG_10768157; APL-
EG_11384943
APL-EG_11397868
APL-EG_10840668; APL-
EG_11390185
APL-EG_10950634; APL-
EG_11526260
PRIV-APL-EG_00264250
APL-EG_11473522
APL-EG_11456435
APL-EG_11519333
APL-EG_11462242
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EG_11398448
APL-EG_11396038
APL-EG_11399410
APL-EG_10970546; APL-
EG_11387564; PRIV-APL-
EG_00173490
APL-EG_10970576; APL-
EG_11387594; PRIV-APL-
EG_00173520
APL-EG_11386461
APL-EG_11395876
APL-EG_10962911; APL-
EG_11386808
APL-EG_10962912; APL-
EG_11386821
APL-EG_10962917; APL-
EG_11386826
APL-EG_10962918; APL-
EG_11386827
APL-EG_10962919; APL-
EG_11386828
APL-EG_10962921; APL-
EG_11386830
APL-EG_10962922; APL-
EG_11386831
APL-EG_11394881; PRIV-APL-
EG_00042129
PRIV-APL-EG_00087468
APL-EG_11386411
APL-EG_11385480
APL-EG_11385491
APL-EG_11385492
APL-EG_11385493
APL-EG_11385494
APL-EG_11385495
APL-EG_11385496
APL-EG_11385497
APL-EG_11385498
APL-EG_10852697; PRIV-APL-
EG_00091890; APL-EG_11391926
APL-EG_10852698; PRIV-APL-
EG_00091891; APL-EG_11391927
APL-EG_10852700; PRIV-APL-
EG_00091893; APL-EG_11391929
APL-EG_10852702; PRIV-APL-
EG_00091895; APL-EG_11391931
APL-EG_11235185; APL-
EG_11551268
APL-EG_11235187; APL-
EG_11551270
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EG_11551271
APL-EG_11235189; APL-
EG_11551272
APL-EG_11235190; APL-
EG_11551273
APL-EG_11238790; APL-
EG_11566917
APL-EG_11238792; APL-
EG_11566919
APL-EG_11238793; APL-
EG_11566920
APL-EG_11238794; APL-
EG_11566921
APL-EG_11238795; APL-
EG_11566922
APL-EG_11234254; APL-
EG_11547142
APL-EG_11234257; APL-
EG_11547155
APL-EG_11234259; APL-
EG_11547157
APL-EG_11234260; APL-
EG_11547158
APL-EG_11234261; APL-
EG_11547159
APL-EG_11234262; APL-
EG_11547160
APL-EG_10951731; APL-
EG_11289765; APL-EG_11400752
APL-EG_10951740; APL-
EG_11289766; APL-EG_11400761
APL-EG_10951741; APL-
EG_11289767; APL-EG_11400762
APL-EG_10951742; APL-
EG_11289768; APL-EG_11400763
APL-EG_11031937; APL-
EG_11397718
APL-EG_11031946; APL-
EG_11397727
APL-EG_11031947; APL-
EG_11397728
APL-EG_11031948; APL-
EG_11397729
APL-EG_11031949; APL-
EG_11397730
PRIV-APL-EG_00247725
APL-EG_11026777; APL-
EG_11510331
APL-EG_11119751; APL-
EG_11380214; PRIV-APL-
EG_00047498; APL-EG_11514536
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EG_11339257; APL-EG_11514599
APL-EG_11034910; APL-
EG_11516356
APL-EG_10730553; APL-
EG_11551603
APL-EG_10738073; APL-
EG_11554165
APL-EG_10951791; APL-
EG_11289775; APL-EG_11400784;
PRIV-APL-EG_00013683
APL-EG_10951792; APL-
EG_11289776; APL-EG_11400785;
PRIV-APL-EG_00013684
APL-EG_10699071; APL-
EG_11526366
APL-EG_11397748
APL-EG_11397749
APL-EG_11032212; APL-
EG_11397902
APL-EG_11008322; APL-
EG_11357627; PRIV-APL-
EG_00041652; APL-EG_11477701;
APL-EG_11639437
APL-EG_11008324; APL-
EG_11357629; PRIV-APL-
EG_00041654; APL-EG_11477703;
APL-EG_11639439
APL-EG_11174508; APL-
EG_11580529; PRIV-APL-
EG_00171092
APL-EG_11174509; APL-
EG_11580530; PRIV-APL-
EG_00171093
APL-EG_11337721; APL-
EG_11505760
APL-EG_11031968; APL-
EG_11338914; APL-EG_11513807
APL-EG_11394525
APL-EG_11394536
APL-EG_11394537
APL-EG_11394538
PRIV-APL-EG_00067019; APL-
EG_11290435; APL-EG_11403567
PRIV-APL-EG_00067030; APL-
EG_11290436; APL-EG_11403578
PRIV-APL-EG_00067032; APL-
EG_11290438; APL-EG_11403580
PRIV-APL-EG_00067736; APL-
EG_11290733; APL-EG_11404504
PRIV-APL-EG_00067747; APL-
EG_11290734; APL-EG_11404515
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EG_11290736; APL-EG_11404517
APL-EG_10967329; APL-
EG_11347784; APL-EG_11413531
APL-EG_10992300; APL-
EG_11354805; APL-EG_11457479
APL-EG_10992301; APL-
EG_11354806; APL-EG_11457490
APL-EG_11002156; PRIV-APL-
EG_00091818; APL-EG_11391885
APL-EG_11002167; PRIV-APL-
EG_00091829; APL-EG_11391896
APL-EG_11002168; PRIV-APL-
EG_00091830; APL-EG_11391897
APL-EG_11002169; PRIV-APL-
EG_00091831; APL-EG_11391898
APL-EG_11394831; PRIV-APL-
EG_00041928
APL-EG_11394833; PRIV-APL-
EG_00041930
APL-EG_11338250; APL-
EG_11510045
APL-EG_11338251; APL-
EG_11510056
APL-EG_11338253; APL-
EG_11510058
APL-EG_10959917; APL-
EG_11346774; PRIV-APL-
EG_00069744; APL-EG_11405558
APL-EG_10959918; APL-
EG_11346775; PRIV-APL-
EG_00069755; APL-EG_11405569
APL-EG_10959920; APL-
EG_11346777; PRIV-APL-
EG_00069757; APL-EG_11405571
APL-EG_10963410; PRIV-APL-
EG_00071325; APL-EG_11292292;
APL-EG_11411424
APL-EG_10963411; PRIV-APL-
EG_00071336; APL-EG_11292293;
APL-EG_11411435
APL-EG_10963413; PRIV-APL-
EG_00071338; APL-EG_11292295;
APL-EG_11411437
APL-EG_10984621; APL-
EG_11327685; APL-EG_11454275
APL-EG_10984622; APL-
EG_11327686; APL-EG_11454286
APL-EG_10984624; APL-
EG_11327688; APL-EG_11454288
APL-EG_11036929; APL-
EG_11340924; APL-EG_11518852
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EG_11340925; APL-EG_11518863
APL-EG_11036932; APL-
EG_11340927; APL-EG_11518865
APL-EG_10988222; APL-
EG_11354622; APL-EG_11456407;
PRIV-APL-EG_00194166
APL-EG_10988233; APL-
EG_11354623; APL-EG_11456418;
PRIV-APL-EG_00194177
APL-EG_10988235; APL-
EG_11354625; APL-EG_11456420;
PRIV-APL-EG_00194179
APL-EG_11045022; APL-
EG_11341140; APL-EG_11520170
APL-EG_11045033; APL-
EG_11341141; APL-EG_11520181
APL-EG_11045035; APL-
EG_11341143; APL-EG_11520183
APL-EG_11032584; APL-
EG_11339124; APL-EG_11514367
APL-EG_11032595; APL-
EG_11339125; APL-EG_11514378
APL-EG_11032597; APL-
EG_11339127; APL-EG_11514380
PRIV-APL-EG_00016926; APL-
EG_11633103; APL-EG_11577559
PRIV-APL-EG_00016928; APL-
EG_11633105; APL-EG_11577561
APL-EG_11181986; APL-
EG_11551467
APL-EG_11181997; APL-
EG_11551478
APL-EG_11181999; APL-
EG_11551480
APL-EG_11189746; APL-
EG_11566775
APL-EG_11189757; APL-
EG_11566786
APL-EG_11189759; APL-
EG_11566788
APL-EG_11137669; APL-
EG_11547217
APL-EG_11137680; APL-
EG_11547228
APL-EG_11137681; APL-
EG_11547229
APL-EG_11137682; APL-
EG_11547230
APL-EG_11337682; APL-
EG_11505722; PRIV-APL-
EG_00044340
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EG_11505723; PRIV-APL-
EG_00044341
APL-EG_11337684; APL-
EG_11505724; PRIV-APL-
EG_00044342
APL-EG_11337685; APL-
EG_11505725; PRIV-APL-
EG_00044343
APL-EG_10951725; APL-
EG_11384838
PRIV-APL-EG_00097550; APL-
EG_11338280; APL-EG_11510305
PRIV-APL-EG_00097562; APL-
EG_11338282; APL-EG_11510317
PRIV-APL-EG_00097563; APL-
EG_11338283; APL-EG_11510318
PRIV-APL-EG_00097564; APL-
EG_11338284; APL-EG_11510319
PRIV-APL-EG_00097565; APL-
EG_11338285; APL-EG_11510320
APL-EG_11034884; APL-
EG_11339825; APL-EG_11516330;
PRIV-APL-EG_00102381
APL-EG_11034896; APL-
EG_11339827; APL-EG_11516342;
PRIV-APL-EG_00102393
APL-EG_11034897; APL-
EG_11339828; APL-EG_11516343;
PRIV-APL-EG_00102394
APL-EG_11034898; APL-
EG_11339829; APL-EG_11516344;
PRIV-APL-EG_00102395
APL-EG_11034899; APL-
EG_11339830; APL-EG_11516345;
PRIV-APL-EG_00102396
APL-EG_11397040
APL-EG_11397045
APL-EG_11397046
APL-EG_11134954; APL-
EG_11389408
APL-EG_11134959; APL-
EG_11389413
APL-EG_11134960; APL-
EG_11389414
APL-EG_11011575; APL-
EG_11336769; APL-EG_11499275
APL-EG_11336223; APL-
EG_11477455
APL-EG_11398887
APL-EG_11398909
APL-EG_11398910
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EG_11385499
APL-EG_10954962; APL-
EG_11385521
APL-EG_10954963; APL-
EG_11385522
APL-EG_10958254; APL-
EG_11404518
APL-EG_10958256; APL-
EG_11404541
APL-EG_11174245; APL-
EG_11531275
APL-EG_10860744; APL-
EG_11394834
APL-EG_10959933; PRIV-APL-
EG_00069758; APL-EG_11386196
APL-EG_10959955; PRIV-APL-
EG_00069780; APL-EG_11386218
APL-EG_10959956; PRIV-APL-
EG_00069781; APL-EG_11386219
APL-EG_10963426; APL-
EG_11579412
APL-EG_11389256
APL-EG_11389279
APL-EG_11340928; APL-
EG_11518866
APL-EG_11340930; APL-
EG_11518889
APL-EG_11182012; APL-
EG_11551481
APL-EG_11182035; APL-
EG_11551504
APL-EG_11189772; APL-
EG_11566789
APL-EG_11189794; APL-
EG_11566811
APL-EG_11007759; APL-
EG_11394501
APL-EG_11174252; APL-
EG_11531338
APL-EG_11174254; APL-
EG_11531346
APL-EG_11174255; APL-
EG_11531347
APL-EG_11181761; APL-
EG_11551179
APL-EG_11181763; APL-
EG_11551187
APL-EG_11181764; APL-
EG_11551188
APL-EG_11181459; APL-
EG_11549976
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EG_11549978
APL-EG_11181462; APL-
EG_11549979
APL-EG_11181463; APL-
EG_11549980
APL-EG_10857892; APL-
EG_11394519
APL-EG_10857897; APL-
EG_11394524
APL-EG_11398816
APL-EG_11398822
APL-EG_11398823
APL-EG_11398824
APL-EG_11011079; APL-
EG_11394879
APL-EG_11393960
APL-EG_11393963
PRIV-APL-EG_00174816
APL-EG_11396353
APL-EG_11396357
APL-EG_10989692; APL-
EG_11389823
APL-EG_10989696; APL-
EG_11389827
APL-EG_11136709; APL-
EG_11462304
APL-EG_11011368; APL-
EG_11394905
APL-EG_11011373; APL-
EG_11394910
APL-EG_11011374; APL-
EG_11394911
APL-EG_11011375; APL-
EG_11394912
APL-EG_11011376; APL-
EG_11394913
APL-EG_11396343
APL-EG_11396348
APL-EG_11291137; APL-
EG_11405433
APL-EG_11032981; APL-
EG_11397980; PRIV-APL-
EG_00100930
APL-EG_11032984; APL-
EG_11397983; PRIV-APL-
EG_00100933
APL-EG_11473560
APL-EG_10989434; APL-
EG_11456792
APL-EG_11011363; APL-
EG_11394900
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EG_11394901
APL-EG_11011365; APL-
EG_11394902
APL-EG_11011366; APL-
EG_11394903
APL-EG_11011367; APL-
EG_11394904
APL-EG_11394933; PRIV-APL-
EG_00224066
APL-EG_11394936; PRIV-APL-
EG_00224069
APL-EG_11393941
APL-EG_11393947
APL-EG_11393948
APL-EG_11393952
APL-EG_11393956
APL-EG_11001279; APL-
EG_11391178
APL-EG_11387717
APL-EG_11387718
PRIV-APL-EG_00073383
APL-EG_11550071
APL-EG_10999104; PRIV-APL-
EG_00087460; APL-EG_11390854
APL-EG_10999110; PRIV-APL-
EG_00087466; APL-EG_11390860
APL-EG_11289770; APL-
EG_11400765
APL-EG_11289771; APL-
EG_11400771
APL-EG_11397731
APL-EG_11397737
APL-EG_11389290
APL-EG_11389293
APL-EG_11026791; PRIV-APL-
EG_00097566; APL-EG_11510342
APL-EG_11026797; PRIV-APL-
EG_00097572; APL-EG_11510348
APL-EG_11394687
APL-EG_11394693
APL-EG_11394694
APL-EG_11053822; APL-
EG_11629049; PRIV-APL-
EG_00104499
APL-EG_11053823; APL-
EG_11629055; PRIV-APL-
EG_00104505
APL-EG_11174493; PRIV-APL-
EG_00123096; APL-EG_11414248
APL-EG_10875186; APL-
EG_11337691; APL-EG_11505726
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EG_11337694; APL-EG_11505732
APL-EG_10875190; APL-
EG_11337695; APL-EG_11505733
APL-EG_10999096; APL-
EG_11547463; PRIV-APL-
EG_00203536
APL-EG_10999102; APL-
EG_11547469; PRIV-APL-
EG_00203542
APL-EG_10999103; APL-
EG_11547470; PRIV-APL-
EG_00203543
APL-EG_10951747; APL-
EG_11384855
APL-EG_11067181; PRIV-APL-
EG_00071900; APL-EG_11387052
APL-EG_11067189; PRIV-APL-
EG_00071908; APL-EG_11387060
APL-EG_11525873; PRIV-APL-
EG_00149435
APL-EG_11031953; APL-
EG_11562504; PRIV-APL-
EG_00247635
APL-EG_11031959; APL-
EG_11562510; PRIV-APL-
EG_00247641
APL-EG_11031960; APL-
EG_11562511; PRIV-APL-
EG_00247642
APL-EG_11396979
APL-EG_11396987
APL-EG_11026784; APL-
EG_11510334
APL-EG_11026788; APL-
EG_11510338
APL-EG_10990123; APL-
EG_11456893
APL-EG_11053814; APL-
EG_11399547; PRIV-APL-
EG_00104491
APL-EG_11053820; APL-
EG_11399553; PRIV-APL-
EG_00104497
APL-EG_11053821; APL-
EG_11399554; PRIV-APL-
EG_00104498
APL-EG_10985803; APL-
EG_11389400; PRIV-APL-
EG_00191719
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EG_11389406; PRIV-APL-
EG_00191725
APL-EG_10985810; APL-
EG_11389407; PRIV-APL-
EG_00191726
APL-EG_11174479; APL-
EG_11414239; PRIV-APL-
EG_00171075
APL-EG_11174485; APL-
EG_11414245; PRIV-APL-
EG_00171081
APL-EG_11174486; APL-
EG_11414246; PRIV-APL-
EG_00171082
APL-EG_11002448; APL-
EG_11391933; PRIV-APL-
EG_00221200
APL-EG_10988280; APL-
EG_11456421
APL-EG_11391573
APL-EG_11391577
APL-EG_10959337; APL-
EG_11385923
APL-EG_10959341; APL-
EG_11385927
APL-EG_10851569; APL-
EG_11391565
APL-EG_10851574; APL-
EG_11391570
APL-EG_10851575; APL-
EG_11391571
APL-EG_10851576; APL-
EG_11391572
APL-EG_11014053; APL-
EG_11378385; APL-EG_11501868
APL-EG_11384854
APL-EG_11182401; APL-
EG_11477681
APL-EG_11189556; APL-
EG_11520511
APL-EG_10875205; APL-
EG_11337729; APL-EG_11505768;
PRIV-APL-EG_00044380
APL-EG_10999121; APL-
EG_11390862
APL-EG_10999134; APL-
EG_11390875
APL-EG_10999135; APL-
EG_11390876
APL-EG_10999136; APL-
EG_11390877
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EG_11384876
APL-EG_11338939; APL-
EG_11513832
APL-EG_11338940; APL-
EG_11513833
PRIV-APL-EG_00045156; APL-
EG_11338288; APL-EG_11510366
APL-EG_11113605; PRIV-APL-
EG_00041736; APL-EG_11336551;
APL-EG_11498395
APL-EG_11188681; APL-
EG_11564260; PRIV-APL-
EG_00255238
APL-EG_11174495; APL-
EG_11531421
APL-EG_11174496; APL-
EG_11531422
APL-EG_11174497; APL-
EG_11531423
APL-EG_11174498; APL-
EG_11531424
APL-EG_10788676; APL-
EG_11386836; PRIV-APL-
EG_00166366
APL-EG_10788685; APL-
EG_11386845; PRIV-APL-
EG_00166375
APL-EG_11387030
APL-EG_11387039
APL-EG_10967145; APL-
EG_11293166; APL-EG_11413272
APL-EG_10967146; APL-
EG_11293167; APL-EG_11413273
APL-EG_10967147; APL-
EG_11293168; APL-EG_11413274
APL-EG_10967148; APL-
EG_11293169; APL-EG_11413275
APL-EG_10967149; APL-
EG_11293170; APL-EG_11413276
APL-EG_10967152; APL-
EG_11293173; APL-EG_11413279
APL-EG_10967153; APL-
EG_11293174; APL-EG_11413280
APL-EG_10967154; APL-
EG_11293175; APL-EG_11413281
APL-EG_10967155; APL-
EG_11293176; APL-EG_11413282
APL-EG_10967156; APL-
EG_11293177; APL-EG_11413283
APL-EG_10967157; APL-
EG_11293178; APL-EG_11413284
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EG_11293179; APL-EG_11413285
APL-EG_10967159; APL-
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APL-EG_10967161; APL-
EG_11293182; APL-EG_11413288
APL-EG_10967164; APL-
EG_11293185; APL-EG_11413291
APL-EG_10967166; APL-
EG_11293187; APL-EG_11413293
APL-EG_10967168; APL-
EG_11293189; APL-EG_11413295
APL-EG_10967169; APL-
EG_11293190; APL-EG_11413296
APL-EG_10967170; APL-
EG_11293191; APL-EG_11413297
APL-EG_10967172; APL-
EG_11293193; APL-EG_11413299
APL-EG_10967173; APL-
EG_11293194; APL-EG_11413300
APL-EG_10967174; APL-
EG_11293195; APL-EG_11413301
APL-EG_10967175; APL-
EG_11293196; APL-EG_11413302
APL-EG_10967176; APL-
EG_11293197; APL-EG_11413303
APL-EG_10967177; APL-
EG_11293198; APL-EG_11413304
APL-EG_10967180; APL-
EG_11293201; APL-EG_11413307
APL-EG_10967181; APL-
EG_11293202; APL-EG_11413308
APL-EG_10967182; APL-
EG_11293203; APL-EG_11413309
APL-EG_10967183; APL-
EG_11293204; APL-EG_11413310
APL-EG_10967184; APL-
EG_11293205; APL-EG_11413311
APL-EG_10967185; APL-
EG_11293206; APL-EG_11413312
APL-EG_10967186; APL-
EG_11293207; APL-EG_11413313
APL-EG_10967187; APL-
EG_11293208; APL-EG_11413314
APL-EG_10967188; APL-
EG_11293209; APL-EG_11413315
APL-EG_10967189; APL-
EG_11293210; APL-EG_11413316
APL-EG_10967190; APL-
EG_11293211; APL-EG_11413317
APL-EG_10967191; APL-
EG_11293212; APL-EG_11413318
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EG_11293213; APL-EG_11413319
APL-EG_10967194; APL-
EG_11293215; APL-EG_11413321
APL-EG_10967196; APL-
EG_11293217; APL-EG_11413323
APL-EG_10967197; APL-
EG_11293218; APL-EG_11413324
APL-EG_10967200; APL-
EG_11293221; APL-EG_11413327
APL-EG_10967201; APL-
EG_11293222; APL-EG_11413328
APL-EG_10967202; APL-
EG_11293223; APL-EG_11413329
APL-EG_10967203; APL-
EG_11293224; APL-EG_11413330
APL-EG_10967204; APL-
EG_11293225; APL-EG_11413331
APL-EG_10967206; APL-
EG_11293227; APL-EG_11413333
APL-EG_10967207; APL-
EG_11293228; APL-EG_11413334
APL-EG_10967209; APL-
EG_11293230; APL-EG_11413336
APL-EG_10967210; APL-
EG_11293231; APL-EG_11413337
APL-EG_10967211; APL-
EG_11293232; APL-EG_11413338
APL-EG_10967212; APL-
EG_11293233; APL-EG_11413339
APL-EG_10967214; APL-
EG_11293235; APL-EG_11413341
APL-EG_10967215; APL-
EG_11293236; APL-EG_11413342
APL-EG_10967220; APL-
EG_11293241; APL-EG_11413347
APL-EG_10967221; APL-
EG_11293242; APL-EG_11413348
APL-EG_10967222; APL-
EG_11293243; APL-EG_11413349
APL-EG_10967223; APL-
EG_11293244; APL-EG_11413350
APL-EG_10967224; APL-
EG_11293245; APL-EG_11413351
APL-EG_11332216; APL-
EG_11468735
APL-EG_11332217; APL-
EG_11468783
APL-EG_11332218; APL-
EG_11468784
APL-EG_11332219; APL-
EG_11468785
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EG_11468786
APL-EG_11332221; APL-
EG_11468787
APL-EG_11332224; APL-
EG_11468790
APL-EG_11332225; APL-
EG_11468791
APL-EG_11332226; APL-
EG_11468792
APL-EG_11332227; APL-
EG_11468793
APL-EG_11332228; APL-
EG_11468794
APL-EG_11332229; APL-
EG_11468795
APL-EG_11332230; APL-
EG_11468796
APL-EG_11332231; APL-
EG_11468797
APL-EG_11332233; APL-
EG_11468799
APL-EG_11332236; APL-
EG_11468802
APL-EG_11332238; APL-
EG_11468804
APL-EG_11332240; APL-
EG_11468806
APL-EG_11332241; APL-
EG_11468807
APL-EG_11332242; APL-
EG_11468808
APL-EG_11332244; APL-
EG_11468810
APL-EG_11332245; APL-
EG_11468811
APL-EG_11332246; APL-
EG_11468812
APL-EG_11332247; APL-
EG_11468813
APL-EG_11332248; APL-
EG_11468814
APL-EG_11332249; APL-
EG_11468815
APL-EG_11332252; APL-
EG_11468818
APL-EG_11332253; APL-
EG_11468819
APL-EG_11332254; APL-
EG_11468820
APL-EG_11332255; APL-
EG_11468821
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APL-EG_11332259; APL-
EG_11468825
APL-EG_11332260; APL-
EG_11468826
APL-EG_11332261; APL-
EG_11468827
APL-EG_11332262; APL-
EG_11468828
APL-EG_11332263; APL-
EG_11468829
APL-EG_11332264; APL-
EG_11468830
APL-EG_11332266; APL-
EG_11468832
APL-EG_11332268; APL-
EG_11468834
APL-EG_11332269; APL-
EG_11468835
APL-EG_11332273; APL-
EG_11468839
APL-EG_11332274; APL-
EG_11468840
APL-EG_11332275; APL-
EG_11468841
APL-EG_11332276; APL-
EG_11468842
APL-EG_11332278; APL-
EG_11468844
APL-EG_11332279; APL-
EG_11468845
APL-EG_11332281; APL-
EG_11468847
APL-EG_11332282; APL-
EG_11468848
APL-EG_11332283; APL-
EG_11468849
APL-EG_11332284; APL-
EG_11468850
APL-EG_11332286; APL-
EG_11468852
APL-EG_11332287; APL-
EG_11468853
APL-EG_11332292; APL-
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APL-EG_11291197; APL-
EG_11405673
APL-EG_11291198; APL-
EG_11405721
APL-EG_11291199; APL-
EG_11405722
APL-EG_11291200; APL-
EG_11405723
APL-EG_11291202; APL-
EG_11405725
APL-EG_11291205; APL-
EG_11405728
APL-EG_11291206; APL-
EG_11405729
APL-EG_11291207; APL-
EG_11405730
APL-EG_11291208; APL-
EG_11405731
APL-EG_11291209; APL-
EG_11405732
APL-EG_11291210; APL-
EG_11405733
APL-EG_11291211; APL-
EG_11405734
APL-EG_11291212; APL-
EG_11405735
APL-EG_11291214; APL-
EG_11405737
APL-EG_11291217; APL-
EG_11405740
APL-EG_11291219; APL-
EG_11405742
APL-EG_11291220; APL-
EG_11405743
APL-EG_11291221; APL-
EG_11405744
APL-EG_11291222; APL-
EG_11405745
APL-EG_11291223; APL-
EG_11405746
APL-EG_11291225; APL-
EG_11405748
APL-EG_11291227; APL-
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APL-EG_11291228; APL-
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APL-EG_11291230; APL-
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APL-EG_11291231; APL-
EG_11405754
APL-EG_11291232; APL-
EG_11405755
APL-EG_11291233; APL-
EG_11405756
APL-EG_11291234; APL-
EG_11405757
APL-EG_11291235; APL-
EG_11405758
APL-EG_11291237; APL-
EG_11405760
APL-EG_11291238; APL-
EG_11405761
APL-EG_11291239; APL-
EG_11405762
APL-EG_11291240; APL-
EG_11405763
APL-EG_11291241; APL-
EG_11405764
APL-EG_11291242; APL-
EG_11405765
APL-EG_11291243; APL-
EG_11405766
APL-EG_11291244; APL-
EG_11405767
APL-EG_11291245; APL-
EG_11405768
APL-EG_11291246; APL-
EG_11405769
APL-EG_11291247; APL-
EG_11405770
APL-EG_11291249; APL-
EG_11405772
APL-EG_11291250; APL-
EG_11405773
APL-EG_11291252; APL-
EG_11405775
APL-EG_11291253; APL-
EG_11405776
APL-EG_11291254; APL-
EG_11405777
APL-EG_11291255; APL-
EG_11405778
APL-EG_11291256; APL-
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APL-EG_11291262; APL-
EG_11405785
APL-EG_11291263; APL-
EG_11405786
APL-EG_11291264; APL-
EG_11405787
APL-EG_11291265; APL-
EG_11405788
APL-EG_11291267; APL-
EG_11405790
APL-EG_11291268; APL-
EG_11405791
APL-EG_11291269; APL-
EG_11405792
APL-EG_11291270; APL-
EG_11405793
APL-EG_11291271; APL-
EG_11405794
APL-EG_11291272; APL-
EG_11405795
APL-EG_11291273; APL-
EG_11405796
APL-EG_11291274; APL-
EG_11405797
APL-EG_11291276; APL-
EG_11405799
APL-EG_11291277; APL-
EG_11405800
APL-EG_11321750; APL-
EG_11445608
APL-EG_11321751; APL-
EG_11445656
APL-EG_11321752; APL-
EG_11445657
APL-EG_11321753; APL-
EG_11445658
APL-EG_11321754; APL-
EG_11445659
APL-EG_11321755; APL-
EG_11445660
APL-EG_11321758; APL-
EG_11445663
APL-EG_11321759; APL-
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APL-EG_11321764; APL-
EG_11445669
APL-EG_11321765; APL-
EG_11445670
APL-EG_11321767; APL-
EG_11445672
APL-EG_11321770; APL-
EG_11445675
APL-EG_11321772; APL-
EG_11445677
APL-EG_11321774; APL-
EG_11445679
APL-EG_11321775; APL-
EG_11445680
APL-EG_11321776; APL-
EG_11445681
APL-EG_11321778; APL-
EG_11445683
APL-EG_11321780; APL-
EG_11445685
APL-EG_11321781; APL-
EG_11445686
APL-EG_11321782; APL-
EG_11445687
APL-EG_11321783; APL-
EG_11445688
APL-EG_11321786; APL-
EG_11445691
APL-EG_11321787; APL-
EG_11445692
APL-EG_11321788; APL-
EG_11445693
APL-EG_11321789; APL-
EG_11445694
APL-EG_11321790; APL-
EG_11445695
APL-EG_11321792; APL-
EG_11445697
APL-EG_11321793; APL-
EG_11445698
APL-EG_11321794; APL-
EG_11445699
APL-EG_11321795; APL-
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APL-EG_11321802; APL-
EG_11445707
APL-EG_11321803; APL-
EG_11445708
APL-EG_11321806; APL-
EG_11445711
APL-EG_11321807; APL-
EG_11445712
APL-EG_11321808; APL-
EG_11445713
APL-EG_11321809; APL-
EG_11445714
APL-EG_11321810; APL-
EG_11445715
APL-EG_11321812; APL-
EG_11445717
APL-EG_11321813; APL-
EG_11445718
APL-EG_11321815; APL-
EG_11445720
APL-EG_11321816; APL-
EG_11445721
APL-EG_11321817; APL-
EG_11445722
APL-EG_11321818; APL-
EG_11445723
APL-EG_11321820; APL-
EG_11445725
APL-EG_11321821; APL-
EG_11445726
APL-EG_11321825; APL-
EG_11445730
APL-EG_11321826; APL-
EG_11445731
APL-EG_11321827; APL-
EG_11445732
APL-EG_11321828; APL-
EG_11445733
APL-EG_11321829; APL-
EG_11445734
APL-EG_11321830; APL-
EG_11445735
APL-EG_11529448
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APL-EG_11529500
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APL-EG_11529506
APL-EG_11529507
APL-EG_11529508
APL-EG_11529509
APL-EG_11529510
APL-EG_11529512
APL-EG_11529514
APL-EG_11529515
APL-EG_11529516
APL-EG_11529517
APL-EG_11529519
APL-EG_11529520
APL-EG_11529521
APL-EG_11529523
APL-EG_11529524
APL-EG_11529525
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APL-EG_11529530
APL-EG_11529531
APL-EG_11529532
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APL-EG_11529534
APL-EG_11529535
APL-EG_11529536
APL-EG_11529537
APL-EG_11529538
APL-EG_11529539
APL-EG_11529540
APL-EG_11529541
APL-EG_11529542
APL-EG_11529543
APL-EG_11529545
APL-EG_11529547
APL-EG_11529548
APL-EG_11529550
APL-EG_11529551
APL-EG_11529552
APL-EG_11529553
APL-EG_11529555
APL-EG_11529558
APL-EG_11529559
APL-EG_11529560
APL-EG_11529561
APL-EG_11529562
APL-EG_11529563
APL-EG_11529564
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APL-EG_11529568
APL-EG_11529570
APL-EG_11529571
APL-EG_11529572
APL-EG_11529573
APL-EG_11529574
APL-EG_11529575
APL-EG_11293443; APL-
EG_11414057
APL-EG_11293444; APL-
EG_11414105
APL-EG_11293445; APL-
EG_11414106
APL-EG_11293446; APL-
EG_11414107
APL-EG_11293447; APL-
EG_11414108
APL-EG_11293448; APL-
EG_11414109
APL-EG_11293450; APL-
EG_11414111
APL-EG_11293451; APL-
EG_11414112
APL-EG_11293452; APL-
EG_11414113
APL-EG_11293453; APL-
EG_11414114
APL-EG_11293454; APL-
EG_11414115
APL-EG_11293455; APL-
EG_11414116
APL-EG_11293456; APL-
EG_11414117
APL-EG_11293457; APL-
EG_11414118
APL-EG_11293458; APL-
EG_11414119
APL-EG_11293459; APL-
EG_11414120
APL-EG_11293460; APL-
EG_11414121
APL-EG_11293462; APL-
EG_11414123
APL-EG_11293463; APL-
EG_11414124
APL-EG_11293464; APL-
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APL-EG_11293469; APL-
EG_11414130
APL-EG_11293471; APL-
EG_11414132
APL-EG_11293472; APL-
EG_11414133
APL-EG_11293473; APL-
EG_11414134
APL-EG_11293474; APL-
EG_11414135
APL-EG_11293475; APL-
EG_11414136
APL-EG_11293476; APL-
EG_11414137
APL-EG_11293477; APL-
EG_11414138
APL-EG_11293478; APL-
EG_11414139
APL-EG_11293479; APL-
EG_11414140
APL-EG_11293481; APL-
EG_11414142
APL-EG_11293482; APL-
EG_11414143
APL-EG_11293483; APL-
EG_11414144
APL-EG_11293484; APL-
EG_11414145
APL-EG_11293485; APL-
EG_11414146
APL-EG_11293486; APL-
EG_11414147
APL-EG_11293487; APL-
EG_11414148
APL-EG_11293488; APL-
EG_11414149
APL-EG_11293489; APL-
EG_11414150
APL-EG_11293490; APL-
EG_11414151
APL-EG_11293491; APL-
EG_11414152
APL-EG_11293492; APL-
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APL-EG_11293499; APL-
EG_11414160
APL-EG_11293500; APL-
EG_11414161
APL-EG_11293501; APL-
EG_11414162
APL-EG_11293502; APL-
EG_11414163
APL-EG_11293505; APL-
EG_11414166
APL-EG_11293506; APL-
EG_11414167
APL-EG_11293507; APL-
EG_11414168
APL-EG_11293508; APL-
EG_11414169
APL-EG_11293509; APL-
EG_11414170
APL-EG_11293510; APL-
EG_11414171
APL-EG_11293511; APL-
EG_11414172
APL-EG_11293513; APL-
EG_11414174
APL-EG_11293519; APL-
EG_11414180
APL-EG_11293520; APL-
EG_11414181
APL-EG_11293521; APL-
EG_11414182
APL-EG_11293522; APL-
EG_11414183
APL-EG_11293523; APL-
EG_11414184
APL-EG_11580516
APL-EG_11554431
APL-EG_11554479
APL-EG_11554480
APL-EG_11554481
APL-EG_11554482
APL-EG_11554483
APL-EG_11554484
APL-EG_11554485
APL-EG_11554486
APL-EG_11554487
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APL-EG_11554492
APL-EG_11554493
APL-EG_11554494
APL-EG_11554495
APL-EG_11554496
APL-EG_11554497
APL-EG_11554498
APL-EG_11554499
APL-EG_11554500
APL-EG_11554501
APL-EG_11554502
APL-EG_11554503
APL-EG_11554504
APL-EG_11554506
APL-EG_11554507
APL-EG_11554508
APL-EG_11554509
APL-EG_11554510
APL-EG_11554511
APL-EG_11554512
APL-EG_11554513
APL-EG_11554514
APL-EG_11554515
APL-EG_11554516
APL-EG_11554517
APL-EG_11554518
APL-EG_11554519
APL-EG_11554520
APL-EG_11554521
APL-EG_11554522
APL-EG_11554523
APL-EG_11554524
APL-EG_11554525
APL-EG_11554526
APL-EG_11554527
APL-EG_11554528
APL-EG_11554529
APL-EG_11554530
APL-EG_11554531
APL-EG_11554533
APL-EG_11554534
APL-EG_11554535
APL-EG_11554536
APL-EG_11554537
APL-EG_11554538
APL-EG_11554539
APL-EG_11554540
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APL-EG_11554548
APL-EG_11554549
APL-EG_11554553
APL-EG_11554554
APL-EG_11554555
APL-EG_11554556
APL-EG_11554557
APL-EG_11554558
APL-EG_11180840; APL-
EG_11462584
APL-EG_11180881; APL-
EG_11462664
APL-EG_11180882; APL-
EG_11462665
APL-EG_11180883; APL-
EG_11462666
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EG_11462671
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EG_11462673
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EG_11385957
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EG_11385958
APL-EG_10985339; APL-
EG_11389294; PRIV-APL-
EG_00191628
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EG_00198372
APL-EG_11396484
APL-EG_11396485
APL-EG_11396486
APL-EG_11396487
APL-EG_11576543
APL-EG_11578879
APL-EG_11387061
APL-EG_11328586; APL-
EG_11457411
APL-EG_11328588; APL-
EG_11457413
APL-EG_11604254
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EG_11522899
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EG_11505019
APL-EG_11546655
APL-EG_11546657
APL-EG_11397138
APL-EG_11397140
APL-EG_10788136; APL-
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APL-EG_10788137; APL-
EG_11291978; APL-EG_11410407
APL-EG_10788138; APL-
EG_11291979; APL-EG_11410408
APL-EG_10788140; APL-
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APL-EG_11328561; APL-
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APL-EG_11328562; APL-
EG_11457319
APL-EG_11328563; APL-
EG_11457320
APL-EG_11328564; APL-
EG_11457321
APL-EG_11328861; APL-
EG_11458422
APL-EG_11328862; APL-
EG_11458423
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EG_11458424
APL-EG_11328864; APL-
EG_11458425
APL-EG_11339196; APL-
EG_11514481
APL-EG_11339197; APL-
EG_11514482
APL-EG_11339198; APL-
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APL-EG_11547197
APL-EG_11547198
APL-EG_11547199
APL-EG_11389280
APL-EG_11389286
APL-EG_11389287
APL-EG_11389288
APL-EG_11389289
APL-EG_10962277; APL-
EG_11386300; PRIV-APL-
EG_00017731
PRIV-APL-EG_00163155
APL-EG_10898728; APL-
EG_11397929; PRIV-APL-
EG_00100749
APL-EG_11386220
APL-EG_11386227
APL-EG_11398919
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EG_11397056
APL-EG_10971483; APL-
EG_11387694; PRIV-APL-
EG_00021303
APL-EG_10998297; PRIV-APL-
EG_00035808; APL-EG_11390764
APL-EG_10986197; APL-
EG_11389428; PRIV-APL-
EG_00032388
APL-EG_11012081; APL-
EG_11278407; APL-EG_11394946;
PRIV-APL-EG_00042209
APL-EG_11389911
PRIV-APL-EG_00044442; APL-
EG_11396331
PRIV-APL-EG_00045676; APL-
EG_11560105
APL-EG_11336151; APL-
EG_11477030
APL-EG_11336152; APL-
EG_11477038
APL-EG_11336153; APL-
EG_11477039
APL-EG_11336154; APL-
EG_11477040
APL-EG_11336155; APL-
EG_11477041
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EG_11385994
APL-EG_11389198
APL-EG_11389206
APL-EG_11387475
APL-EG_11387483
APL-EG_11387885
APL-EG_11387893
APL-EG_11387894
APL-EG_11387895
APL-EG_11387896
APL-EG_11387897
APL-EG_11387898
APL-EG_11399315
APL-EG_11399323
APL-EG_11404612
APL-EG_11404615
PRIV-APL-EG_00040772; APL-
EG_11550039
APL-EG_10972541; APL-
EG_11270362; APL-EG_11387719
APL-EG_11001289; APL-
EG_11391305
APL-EG_11001299; APL-
EG_11391315
APL-EG_11001300; APL-
EG_11391316
APL-EG_11001301; APL-
EG_11391317
APL-EG_11396332
APL-EG_11396342
APL-EG_10892405; PRIV-APL-
EG_00098350
APL-EG_11385995
APL-EG_11386005
APL-EG_11617235
APL-EG_11617245
APL-EG_11387691; PRIV-APL-
EG_00021292
PRIV-APL-EG_00083925; APL-
EG_11389415
PRIV-APL-EG_00083935; APL-
EG_11389425
APL-EG_11011987; APL-
EG_11394943; PRIV-APL-
EG_00042198
APL-EG_11174679; APL-
EG_11580549
PRIV-APL-EG_00093880; APL-
EG_11335794
APL-EG_10674454; APL-
EG_10677169; APL-EG_11395027
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APL-EG_11385778
APL-EG_11395679
APL-EG_11032193; APL-
EG_11397881
APL-EG_10840670; APL-
EG_11390198
APL-EG_10950636; APL-
EG_11572698
APL-EG_11559082
APL-EG_11533428
APL-EG_11003082; APL-
EG_11393934
APL-EG_10989032; APL-
EG_11389801
APL-EG_11038001; APL-
EG_11399031
APL-EG_10998774; APL-
EG_11390793
APL-EG_11020043; APL-
EG_11396125
APL-EG_10985529; APL-
EG_11389393
APL-EG_11012473; APL-
EG_11394953
APL-EG_11012478; APL-
EG_11394958
APL-EG_11386913
APL-EG_11035118; APL-
EG_11398449
APL-EG_11229111; APL-
EG_11293373; APL-EG_11414005
APL-EG_11229112; APL-
EG_11293374; APL-EG_11414028
APL-EG_11229114; APL-
EG_11293376; APL-EG_11414030
APL-EG_11229115; APL-
EG_11293377; APL-EG_11414031
APL-EG_11229116; APL-
EG_11293378; APL-EG_11414032
APL-EG_11570084
APL-EG_10674106; APL-
EG_10676818; APL-EG_11553444
APL-EG_10674407; APL-
EG_10677122; APL-EG_11553445
APL-EG_11569471
APL-EG_11560099
APL-EG_11551602
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APL-EG_10951888; APL-
EG_11526365
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EG_11529383
APL-EG_10995387; APL-
EG_11272491; APL-EG_11545355
APL-EG_11572697
APL-EG_11533427
APL-EG_11003052; APL-
EG_11551020
APL-EG_10830274; APL-
EG_11543008
APL-EG_11037949; APL-
EG_11566051
APL-EG_10998756; APL-
EG_11546551
APL-EG_11019994; APL-
EG_11555204
APL-EG_10985524; APL-
EG_11541487
APL-EG_10965438; APL-
EG_11530883
APL-EG_11035080; APL-
EG_11564264
APL-EG_11554405
APL-EG_11051671; APL-
EG_11569259
APL-EG_11403133
APL-EG_11178741; APL-
EG_11455186
APL-EG_11010230; APL-
EG_11278124; APL-EG_11498608
APL-EG_11457161
APL-EG_11138618; APL-
EG_11498543
APL-EG_11444169; APL-
EG_11633381
APL-EG_11045421; APL-
EG_11520322; APL-EG_11635928
APL-EG_10995325; APL-
EG_11459718; APL-EG_11634767
APL-EG_10995334; APL-
EG_11459727; APL-EG_11634776
APL-EG_10993655; APL-
EG_11458640; APL-EG_11634757
APL-EG_10993664; APL-
EG_11458649; APL-EG_11634766
APL-EG_11009872; APL-
EG_11498380
APL-EG_11530865
APL-EG_11530874
APL-EG_11529674
APL-EG_11127567; APL-
EG_11569243
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EG_11569252
APL-EG_11067619; APL-
EG_11580497
APL-EG_11126020; APL-
EG_11626866
APL-EG_11133124; APL-
EG_11533838
APL-EG_11133126; APL-
EG_11533840
APL-EG_11178875; APL-
EG_11455190; APL-EG_11634740
APL-EG_10883898; APL-
EG_11614413
APL-EG_11188597; APL-
EG_11515759; PRIV-APL-
EG_00254324
APL-EG_11188599; APL-
EG_11515838; PRIV-APL-
EG_00254403
APL-EG_11191746; APL-
EG_11522921; PRIV-APL-
EG_00270942
APL-EG_11191748; APL-
EG_11523000; PRIV-APL-
EG_00271021
APL-EG_11395192
APL-EG_11395271
APL-EG_11395272
PRIV-APL-EG_00096681; APL-
EG_11338074; APL-EG_11508335
PRIV-APL-EG_00096760; APL-
EG_11338076; APL-EG_11508414
PRIV-APL-EG_00096761; APL-
EG_11338077; APL-EG_11508415
APL-EG_11174256; APL-
EG_11413916; PRIV-APL-
EG_00170920
APL-EG_11174258; APL-
EG_11413995; PRIV-APL-
EG_00170999
APL-EG_11024376; APL-
EG_11282774; PRIV-APL-
EG_00096816; APL-EG_11338081;
APL-EG_11508449
APL-EG_11024378; APL-
EG_11282853; PRIV-APL-
EG_00096895; APL-EG_11338083;
APL-EG_11508528
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EG_11282854; PRIV-APL-
EG_00096896; APL-EG_11338084;
APL-EG_11508529
APL-EG_11137647; APL-
EG_11462426; PRIV-APL-
EG_00202905
APL-EG_11137649; APL-
EG_11462505; PRIV-APL-
EG_00202984
APL-EG_11387800
APL-EG_11387845
APL-EG_11387846
APL-EG_11387847
APL-EG_11387848
APL-EG_11290592; APL-
EG_11404090
APL-EG_11385784
APL-EG_11613485
APL-EG_10738067; APL-
EG_11501940
APL-EG_11459828
APL-EG_11398255
PRIV-APL-EG_00254914
APL-EG_11003092; APL-
EG_11473538
APL-EG_10998782; APL-
EG_11462248
APL-EG_11020050; APL-
EG_11504744
APL-EG_10985542; APL-
EG_11454781
APL-EG_11035125; APL-
EG_11516496
APL-EG_11593677
APL-EG_11575936
APL-EG_11576485
APL-EG_11593645
APL-EG_11579448
APL-EG_11389897
PRIV-APL-EG_00254137
APL-EG_10960869; APL-
EG_11406425
APL-EG_11384793
APL-EG_11575933
APL-EG_11576482
APL-EG_11009511; APL-
EG_11498288
APL-EG_11003367; APL-
EG_11473815
APL-EG_11011047; APL-
EG_11607192
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APL-EG_10962227; PRIV-APL-
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APL-EG_11407568
APL-EG_11022495; APL-
EG_11337867; APL-EG_11506110
APL-EG_11022497; APL-
EG_11337869; APL-EG_11506112
APL-EG_11022500; APL-
EG_11337872; APL-EG_11506115
APL-EG_11291112; APL-
EG_11405420
APL-EG_11291113; APL-
EG_11405421
APL-EG_11119613; APL-
EG_11339077; APL-EG_11514254
APL-EG_11118809; APL-
EG_11397050
APL-EG_11118810; APL-
EG_11397051
APL-EG_11387667
APL-EG_11387684
APL-EG_11387686
APL-EG_11387687
APL-EG_11387688
APL-EG_11387689
APL-EG_10989294; APL-
EG_11456717
APL-EG_11011842; APL-
EG_11499351
APL-EG_10674466; APL-
EG_10677181; APL-EG_11395028
APL-EG_11391478
APL-EG_11391485
APL-EG_11391486
APL-EG_11391487
APL-EG_11391488
APL-EG_11391489
APL-EG_10870278; APL-
EG_11395855
APL-EG_10870291; APL-
EG_11395868
APL-EG_10870292; APL-
EG_11395869
APL-EG_11575912
APL-EG_11576461
APL-EG_11097924; APL-
EG_11387695
APL-EG_11097937; APL-
EG_11387708
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EG_11387709
PRIV-APL-EG_00093868; APL-
EG_11393968
PRIV-APL-EG_00093875; APL-
EG_11393975
PRIV-APL-EG_00093876; APL-
EG_11393976
PRIV-APL-EG_00093877; APL-
EG_11393977
PRIV-APL-EG_00093878; APL-
EG_11393978
PRIV-APL-EG_00093879; APL-
EG_11393979
APL-EG_10986210; APL-
EG_11389429
APL-EG_10986223; APL-
EG_11389442
APL-EG_10986224; APL-
EG_11389443
APL-EG_11114805; PRIV-APL-
EG_00095834; APL-EG_11396049
APL-EG_11114812; PRIV-APL-
EG_00095841; APL-EG_11396056
APL-EG_11114813; PRIV-APL-
EG_00095842; APL-EG_11396057
APL-EG_11114814; PRIV-APL-
EG_00095843; APL-EG_11396058
APL-EG_11114815; PRIV-APL-
EG_00095844; APL-EG_11396059
APL-EG_11114816; PRIV-APL-
EG_00095845; APL-EG_11396060
PRIV-APL-EG_00091492; APL-
EG_11391318
PRIV-APL-EG_00091499; APL-
EG_11391325
PRIV-APL-EG_00156952
APL-EG_11575854
APL-EG_11019582; APL-
EG_11396045
APL-EG_11019585; APL-
EG_11396048
APL-EG_11396203
APL-EG_10988307; APL-
EG_11593254
APL-EG_11034618; APL-
EG_11564215
APL-EG_10997465; APL-
EG_11461806
APL-EG_11291083; APL-
EG_11405333
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EG_11391342
APL-EG_11396349
APL-EG_11396352
APL-EG_10892909; APL-
EG_11397325
APL-EG_10959569; APL-
EG_11386006
APL-EG_10959572; APL-
EG_11386009
APL-EG_11032542; APL-
EG_11397930
APL-EG_10971804; APL-
EG_11387710
APL-EG_10971807; APL-
EG_11387713
APL-EG_10998581; APL-
EG_11390789
APL-EG_10998584; APL-
EG_11390792
APL-EG_10804651; PRIV-APL-
EG_00073399
APL-EG_11032009; APL-
EG_11397765
APL-EG_10673977; APL-
EG_10676689; APL-EG_11499856;
PRIV-APL-EG_00226069
APL-EG_10673978; APL-
EG_10676690; APL-EG_11499857;
PRIV-APL-EG_00226070
APL-EG_10673979; APL-
EG_10676691; APL-EG_11499858;
PRIV-APL-EG_00226071
APL-EG_10673980; APL-
EG_10676692; APL-EG_11499859;
PRIV-APL-EG_00226072
APL-EG_10673981; APL-
EG_10676693; APL-EG_11499860;
PRIV-APL-EG_00226073
APL-EG_10673982; APL-
EG_10676694; APL-EG_11499861;
PRIV-APL-EG_00226074
APL-EG_10673988; APL-
EG_10676700; APL-EG_11499867;
PRIV-APL-EG_00226080
APL-EG_11331934; APL-
EG_11466482
APL-EG_11052431; APL-
EG_11341697; APL-EG_11522438
APL-EG_11052432; APL-
EG_11341698; APL-EG_11522439
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EG_11341699; APL-EG_11522440
APL-EG_11052434; APL-
EG_11341700; APL-EG_11522441
APL-EG_11052435; APL-
EG_11341701; APL-EG_11522442
APL-EG_11052436; APL-
EG_11341702; APL-EG_11522443
APL-EG_11052441; APL-
EG_11341707; APL-EG_11522448
APL-EG_11052442; APL-
EG_11341708; APL-EG_11522449
APL-EG_11052443; APL-
EG_11341709; APL-EG_11522450
APL-EG_11052444; APL-
EG_11341710; APL-EG_11522451
APL-EG_11341736; APL-
EG_11522477
APL-EG_11029928; PRIV-APL-
EG_00098131; APL-EG_11338483
APL-EG_11119436; APL-
EG_11511156
APL-EG_10957451; APL-
EG_11385699
APL-EG_10957462; APL-
EG_11385710
APL-EG_10957484; APL-
EG_11385732; PRIV-APL-
EG_00015950
APL-EG_10957488; APL-
EG_11385736; PRIV-APL-
EG_00015955
APL-EG_10957494; APL-
EG_11385742; PRIV-APL-
EG_00015961
APL-EG_11022667; APL-
EG_11337918; APL-EG_11506341
APL-EG_11022668; APL-
EG_11337919; APL-EG_11506342
APL-EG_11022669; APL-
EG_11337920; APL-EG_11506343
APL-EG_11022670; APL-
EG_11337921; APL-EG_11506344
APL-EG_11022671; APL-
EG_11337922; APL-EG_11506345
APL-EG_11022672; APL-
EG_11337923; APL-EG_11506346
APL-EG_11022673; APL-
EG_11337924; APL-EG_11506347
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EG_11337929; APL-EG_11506352
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EG_11337930; APL-EG_11506353
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EG_11337931; APL-EG_11506354
APL-EG_11022697; APL-
EG_11378740; APL-EG_11506361
APL-EG_10851689; PRIV-APL-
EG_00091803; APL-EG_11332079;
APL-EG_11467915
APL-EG_10851690; PRIV-APL-
EG_00091804; APL-EG_11332080;
APL-EG_11467916
APL-EG_10851691; PRIV-APL-
EG_00091805; APL-EG_11332081;
APL-EG_11467917
APL-EG_10851692; PRIV-APL-
EG_00091806; APL-EG_11332082;
APL-EG_11467918
APL-EG_10851693; PRIV-APL-
EG_00091807; APL-EG_11332083;
APL-EG_11467919
APL-EG_10851694; PRIV-APL-
EG_00091808; APL-EG_11332084;
APL-EG_11467920
APL-EG_10851699; PRIV-APL-
EG_00091813; APL-EG_11332089;
APL-EG_11467925
APL-EG_10851700; PRIV-APL-
EG_00091814; APL-EG_11332090;
APL-EG_11467926
APL-EG_10851701; PRIV-APL-
EG_00091815; APL-EG_11332091;
APL-EG_11467927
APL-EG_11106033; APL-
EG_11391613
APL-EG_11106035; APL-
EG_11391637
APL-EG_11106039; APL-
EG_11391641
APL-EG_11106044; APL-
EG_11391646
APL-EG_11106045; APL-
EG_11391647
APL-EG_11395102
APL-EG_11004124; PRIV-APL-
EG_00093934; APL-EG_11335982;
APL-EG_11474156
APL-EG_11004125; PRIV-APL-
EG_00093973; APL-EG_11335983;
APL-EG_11474195
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EG_00093974; APL-EG_11335984;
APL-EG_11474196
APL-EG_11004127; PRIV-APL-
EG_00093975; APL-EG_11335985;
APL-EG_11474197
APL-EG_11004128; PRIV-APL-
EG_00093976; APL-EG_11335986;
APL-EG_11474198
APL-EG_11004129; PRIV-APL-
EG_00093977; APL-EG_11335987;
APL-EG_11474199
APL-EG_11004130; PRIV-APL-
EG_00093978; APL-EG_11335988;
APL-EG_11474200
APL-EG_11004135; PRIV-APL-
EG_00093983; APL-EG_11335993;
APL-EG_11474205
APL-EG_11004136; PRIV-APL-
EG_00093984; APL-EG_11335994;
APL-EG_11474206
APL-EG_11004137; PRIV-APL-
EG_00093985; APL-EG_11335995;
APL-EG_11474207
APL-EG_11004183; APL-
EG_11474254
APL-EG_11004187; APL-
EG_11474258
APL-EG_10869496; APL-
EG_11395645
APL-EG_10869507; APL-
EG_11395656
APL-EG_11114327; APL-
EG_11378423; APL-EG_11501919
APL-EG_10951850; APL-
EG_11289777; APL-EG_11400790;
PRIV-APL-EG_00151906
APL-EG_10951851; APL-
EG_11289816; APL-EG_11400829;
PRIV-APL-EG_00151945
APL-EG_10951852; APL-
EG_11289817; APL-EG_11400830;
PRIV-APL-EG_00151946
APL-EG_10951854; APL-
EG_11289819; APL-EG_11400832;
PRIV-APL-EG_00151948
APL-EG_10951855; APL-
EG_11289820; APL-EG_11400833;
PRIV-APL-EG_00151949
APL-EG_10951856; APL-
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PRIV-APL-EG_00151950
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EG_11289827; APL-EG_11400840;
PRIV-APL-EG_00151956
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EG_11289828; APL-EG_11400841;
PRIV-APL-EG_00151957
APL-EG_10951872; APL-
EG_11345281; APL-EG_11400848
APL-EG_10951878; APL-
EG_11345287; APL-EG_11400854
APL-EG_10951883; APL-
EG_11345292; APL-EG_11400859
APL-EG_10951884; APL-
EG_11345293; APL-EG_11400860
APL-EG_10959596; PRIV-APL-
EG_00069668; APL-EG_11386042
APL-EG_10959597; PRIV-APL-
EG_00069707; APL-EG_11386081
APL-EG_10959598; PRIV-APL-
EG_00069708; APL-EG_11386082
APL-EG_10959599; PRIV-APL-
EG_00069709; APL-EG_11386083
APL-EG_10959600; PRIV-APL-
EG_00069710; APL-EG_11386084
APL-EG_10959601; PRIV-APL-
EG_00069711; APL-EG_11386085
APL-EG_10959607; PRIV-APL-
EG_00069717; APL-EG_11386091
APL-EG_10959608; PRIV-APL-
EG_00069718; APL-EG_11386092
APL-EG_10959621; APL-
EG_11386101
APL-EG_10959649; APL-
EG_11386129
APL-EG_10959654; APL-
EG_11386134
APL-EG_10959655; APL-
EG_11386135
APL-EG_11032005; APL-
EG_11338951; PRIV-APL-
EG_00100644
APL-EG_11032155; APL-
EG_11397837
APL-EG_11032166; APL-
EG_11397848
APL-EG_11119596; APL-
EG_11514045
APL-EG_11119600; APL-
EG_11514049
APL-EG_10840584; PRIV-APL-
EG_00085759; APL-EG_11328992;
APL-EG_11459741
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EG_00085798; APL-EG_11328993;
APL-EG_11459780
APL-EG_10840624; PRIV-APL-
EG_00085799; APL-EG_11328994;
APL-EG_11459781
APL-EG_10840626; PRIV-APL-
EG_00085801; APL-EG_11328996;
APL-EG_11459783
APL-EG_10840627; PRIV-APL-
EG_00085802; APL-EG_11328997;
APL-EG_11459784
APL-EG_10840628; PRIV-APL-
EG_00085803; APL-EG_11328998;
APL-EG_11459785
APL-EG_10840633; PRIV-APL-
EG_00085808; APL-EG_11329003;
APL-EG_11459790
APL-EG_10840634; PRIV-APL-
EG_00085809; APL-EG_11329004;
APL-EG_11459791
APL-EG_10840635; PRIV-APL-
EG_00085810; APL-EG_11329005;
APL-EG_11459792
APL-EG_11390161; PRIV-APL-
EG_00006707
PRIV-APL-EG_00006731; APL-
EG_11390163
PRIV-APL-EG_00006736; APL-
EG_11390167
APL-EG_11390172; PRIV-APL-
EG_00006741
APL-EG_11390173; PRIV-APL-
EG_00006742
APL-EG_11058229; APL-
EG_11400240; PRIV-APL-
EG_00300122
APL-EG_11058240; APL-
EG_11400251; PRIV-APL-
EG_00300171
APL-EG_11345018; APL-
EG_11526210
APL-EG_11345020; APL-
EG_11526234
APL-EG_11345024; APL-
EG_11526238
APL-EG_11345029; APL-
EG_11526243
APL-EG_11345030; APL-
EG_11526244
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EG_00097496; APL-EG_11338264;
APL-EG_11510116
APL-EG_11026654; PRIV-APL-
EG_00097535; APL-EG_11338265;
APL-EG_11510155
APL-EG_11026655; PRIV-APL-
EG_00097536; APL-EG_11338266;
APL-EG_11510156
APL-EG_11026657; PRIV-APL-
EG_00097538; APL-EG_11338268;
APL-EG_11510158
APL-EG_11026658; PRIV-APL-
EG_00097539; APL-EG_11338269;
APL-EG_11510159
APL-EG_11026664; PRIV-APL-
EG_00097545; APL-EG_11338275;
APL-EG_11510165
APL-EG_11026665; PRIV-APL-
EG_00097546; APL-EG_11338276;
APL-EG_11510166
APL-EG_11026666; PRIV-APL-
EG_00097547; APL-EG_11338277;
APL-EG_11510167
APL-EG_11026668; PRIV-APL-
EG_00097549; APL-EG_11338279;
APL-EG_11510169
APL-EG_11379570; APL-
EG_11510199
APL-EG_11379580; APL-
EG_11510209
APL-EG_11510371
APL-EG_10971227; APL-
EG_11533411
APL-EG_10971243; APL-
EG_11387651
APL-EG_10971245; APL-
EG_11387653
APL-EG_10971249; APL-
EG_11387657
APL-EG_10971254; APL-
EG_11387662
APL-EG_10971255; APL-
EG_11387663
APL-EG_11003003; APL-
EG_11550962
APL-EG_11110909; APL-
EG_11357571; APL-EG_11473500;
PRIV-APL-EG_00041503
APL-EG_11110915; APL-
EG_11357577; APL-EG_11473506;
PRIV-APL-EG_00041509
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APL-EG_10988988; APL-
EG_11389786
APL-EG_10988989; APL-
EG_11389787
APL-EG_10988991; APL-
EG_11389789
APL-EG_10988992; APL-
EG_11389790
APL-EG_10988993; APL-
EG_11389791
APL-EG_10988998; APL-
EG_11389796
APL-EG_10988999; APL-
EG_11389797
APL-EG_10989000; APL-
EG_11389798
APL-EG_11328424; APL-
EG_11456640
APL-EG_11328428; APL-
EG_11456644
APL-EG_11328433; APL-
EG_11456649
APL-EG_11328434; APL-
EG_11456650
APL-EG_11037914; APL-
EG_11519288
APL-EG_11037933; APL-
EG_11341012; APL-EG_11519306
APL-EG_11037935; APL-
EG_11341014; APL-EG_11519308
APL-EG_11037939; APL-
EG_11341018; APL-EG_11519312
APL-EG_11037945; APL-
EG_11341024; APL-EG_11519318
APL-EG_11329584; APL-
EG_11462227
APL-EG_11019962; PRIV-APL-
EG_00095929; APL-EG_11337583;
APL-EG_11504610
APL-EG_11019966; PRIV-APL-
EG_00095971; APL-EG_11337587;
APL-EG_11504652
APL-EG_11019967; PRIV-APL-
EG_00095972; APL-EG_11337588;
APL-EG_11504653
APL-EG_11019968; PRIV-APL-
EG_00095973; APL-EG_11337589;
APL-EG_11504654
APL-EG_11019974; PRIV-APL-
EG_00095979; APL-EG_11337595;
APL-EG_11504660
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EG_00095980; APL-EG_11337596;
APL-EG_11504661
APL-EG_11337603; APL-
EG_11504681
APL-EG_11337605; APL-
EG_11504705
APL-EG_11337609; APL-
EG_11504709
APL-EG_10985493; PRIV-APL-
EG_00083871; APL-EG_11389339
APL-EG_10985494; PRIV-APL-
EG_00083910; APL-EG_11389378
APL-EG_10985495; PRIV-APL-
EG_00083911; APL-EG_11389379
APL-EG_10985496; PRIV-APL-
EG_00083912; APL-EG_11389380
APL-EG_10985497; PRIV-APL-
EG_00083913; APL-EG_11389381
APL-EG_10985498; PRIV-APL-
EG_00083914; APL-EG_11389382
APL-EG_10985499; PRIV-APL-
EG_00083915; APL-EG_11389383
APL-EG_10985505; PRIV-APL-
EG_00083921; APL-EG_11389389
APL-EG_10985506; PRIV-APL-
EG_00083922; APL-EG_11389390
APL-EG_11327867; APL-
EG_11454756
APL-EG_10965418; APL-
EG_11412296
APL-EG_10965422; APL-
EG_11412300
APL-EG_11035035; APL-
EG_11381016; PRIV-APL-
EG_00050447; APL-EG_11516409
APL-EG_11035036; APL-
EG_11381017; PRIV-APL-
EG_00050448; APL-EG_11516410
APL-EG_11035039; APL-
EG_11381020; PRIV-APL-
EG_00050451; APL-EG_11516413
APL-EG_11035040; APL-
EG_11381021; PRIV-APL-
EG_00050452; APL-EG_11516414
APL-EG_11035046; APL-
EG_11381027; PRIV-APL-
EG_00050458; APL-EG_11516420
APL-EG_11035047; APL-
EG_11381028; PRIV-APL-
EG_00050459; APL-EG_11516421
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EG_11516430
APL-EG_11121512; APL-
EG_11516454
APL-EG_11121516; APL-
EG_11516458
APL-EG_11019637; PRIV-APL-
EG_00095846; APL-EG_11337550
APL-EG_11127596; APL-
EG_11522245; PRIV-APL-
EG_00268720
APL-EG_11174553; APL-
EG_11242204; PRIV-APL-
EG_00171095
APL-EG_11174569; APL-
EG_11282320; APL-EG_11414303
APL-EG_11174571; APL-
EG_11282322; APL-EG_11414305
APL-EG_11174575; APL-
EG_11282326; APL-EG_11414309
APL-EG_11069955; APL-
EG_11283260; PRIV-APL-
EG_00072238; APL-EG_11293719;
APL-EG_11415245
APL-EG_11069995; APL-
EG_11283300; PRIV-APL-
EG_00072278; APL-EG_11293721;
APL-EG_11415285
APL-EG_11069997; APL-
EG_11283302; PRIV-APL-
EG_00072280; APL-EG_11293723;
APL-EG_11415287
APL-EG_11069998; APL-
EG_11283303; PRIV-APL-
EG_00072281; APL-EG_11293724;
APL-EG_11415288
APL-EG_11069999; APL-
EG_11283304; PRIV-APL-
EG_00072282; APL-EG_11293725;
APL-EG_11415289
APL-EG_11070004; APL-
EG_11283309; PRIV-APL-
EG_00072287; APL-EG_11293730;
APL-EG_11415294
APL-EG_11070005; APL-
EG_11283310; PRIV-APL-
EG_00072288; APL-EG_11293731;
APL-EG_11415295
APL-EG_11070006; APL-
EG_11283311; PRIV-APL-
EG_00072289; APL-EG_11293732;
APL-EG_11415296
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EG_11283314; APL-EG_11415317
APL-EG_11070063; APL-
EG_11283338; APL-EG_11415341
APL-EG_11070067; APL-
EG_11283342; APL-EG_11415345
APL-EG_11125758; APL-
EG_11284614; APL-EG_11341629;
APL-EG_11521986; PRIV-APL-
EG_00104196
APL-EG_11125797; APL-
EG_11284653; APL-EG_11341630;
APL-EG_11522025; PRIV-APL-
EG_00104235
APL-EG_11125798; APL-
EG_11284654; APL-EG_11341631;
APL-EG_11522026; PRIV-APL-
EG_00104236
APL-EG_11125800; APL-
EG_11284656; APL-EG_11341633;
APL-EG_11522028; PRIV-APL-
EG_00104238
APL-EG_11125801; APL-
EG_11284657; APL-EG_11341634;
APL-EG_11522029; PRIV-APL-
EG_00104239
APL-EG_11125802; APL-
EG_11284658; APL-EG_11341635;
APL-EG_11522030; PRIV-APL-
EG_00104240
APL-EG_11125808; APL-
EG_11284664; APL-EG_11341641;
APL-EG_11522036; PRIV-APL-
EG_00104246
APL-EG_11125809; APL-
EG_11284665; APL-EG_11341642;
APL-EG_11522037; PRIV-APL-
EG_00104247
APL-EG_11125865; APL-
EG_11341669; APL-EG_11522079
APL-EG_11125869; APL-
EG_11341673; APL-EG_11522083
APL-EG_11125874; APL-
EG_11341678; APL-EG_11522088
APL-EG_11125875; APL-
EG_11341679; APL-EG_11522089
APL-EG_11229746; APL-
EG_11534004; PRIV-APL-
EG_00174040
APL-EG_11229787; APL-
EG_11534045; PRIV-APL-
EG_00174081
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EG_11534073
APL-EG_11337751; APL-
EG_11505811
APL-EG_11338502; APL-
EG_11511127
APL-EG_11331954; APL-
EG_11467148
PRIV-APL-EG_00047365; APL-
EG_11397764
APL-EG_11397853
APL-EG_11397856
APL-EG_11387647
APL-EG_11387650
APL-EG_11592451
APL-EG_11394918
APL-EG_11394927
APL-EG_11394928
APL-EG_11394931
APL-EG_11394932
PRIV-APL-EG_00094438; APL-
EG_11394951
PRIV-APL-EG_00094439; APL-
EG_11394952
PRIV-APL-EG_00102339; APL-
EG_11564210; APL-EG_11640188
PRIV-APL-EG_00102359; APL-
EG_11564211; APL-EG_11640208
APL-EG_11610688
PRIV-APL-EG_00255244
APL-EG_10962287; APL-
EG_11386301
APL-EG_10962288; APL-
EG_11386302
APL-EG_11576435
APL-EG_10783474; APL-
EG_11291163; APL-EG_11405457
APL-EG_10783477; APL-
EG_11291166; APL-EG_11405460
APL-EG_10998542; APL-
EG_11390785
APL-EG_10998545; APL-
EG_11390788
APL-EG_11000701; APL-
EG_11391152
APL-EG_11060242; APL-
EG_11385922
APL-EG_10850390; APL-
EG_11391334
APL-EG_10850391; APL-
EG_11391335
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EG_11391336
APL-EG_10850393; APL-
EG_11391337
APL-EG_11391356
APL-EG_11391361
APL-EG_11396358
APL-EG_11396360
APL-EG_11396361
APL-EG_11396362
APL-EG_11018984; PRIV-APL-
EG_00095755; APL-EG_11395911
APL-EG_11019062; PRIV-APL-
EG_00095833; APL-EG_11395989
APL-EG_11596760
PRIV-APL-EG_00254108
PRIV-APL-EG_00047417; APL-
EG_11562520
APL-EG_11002905; APL-
EG_11393880
APL-EG_11113338; PRIV-APL-
EG_00223165
APL-EG_11008144; PRIV-APL-
EG_00223173
APL-EG_11008768; PRIV-APL-
EG_00223350
APL-EG_11110924; PRIV-APL-
EG_00222461
APL-EG_10986452; APL-
EG_11327896; APL-EG_11455047
PRIV-APL-EG_00042271; APL-
EG_11394960
APL-EG_11018983; APL-
EG_11504028
APL-EG_11024686; APL-
EG_11396700
APL-EG_11024687; APL-
EG_11396706
APL-EG_11024688; APL-
EG_11396715
APL-EG_11614462
APL-EG_11032563; APL-
EG_11397934
APL-EG_11032565; APL-
EG_11397948
APL-EG_11032566; APL-
EG_11397949
APL-EG_11516283
APL-EG_11575818
APL-EG_11578701
APL-EG_11604229
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EG_11514188
PRIV-APL-EG_00100725; APL-
EG_11514197
PRIV-APL-EG_00100730; APL-
EG_11514202
PRIV-APL-EG_00094108
PRIV-APL-EG_00094124
PRIV-APL-EG_00094133
PRIV-APL-EG_00094138
APL-EG_10998664; APL-
EG_11462142
APL-EG_11341938; APL-
EG_11523501
APL-EG_11341949; APL-
EG_11523517
APL-EG_11341950; APL-
EG_11523526
APL-EG_11341951; APL-
EG_11523531
APL-EG_11397707
APL-EG_11339054; APL-
EG_11514100
APL-EG_11339064; APL-
EG_11514125
APL-EG_11239379; APL-
EG_11629057
APL-EG_11605736
APL-EG_11004070; APL-
EG_11277736; APL-EG_11605760
APL-EG_11032277; APL-
EG_11280053; APL-EG_11397903
APL-EG_11020150; APL-
EG_11504760
APL-EG_10985865; APL-
EG_11454935
APL-EG_11127666; APL-
EG_11522319
APL-EG_11388033
APL-EG_10850394; APL-
EG_11391338
APL-EG_10850397; APL-
EG_11391341
APL-EG_10875790; APL-
EG_11396312
APL-EG_11003323; APL-
EG_11277641; APL-EG_11473797
APL-EG_11596730
APL-EG_11387971
APL-EG_11400068
APL-EG_11026045; APL-
EG_11396912
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APL-EG_11406902
APL-EG_11543551
APL-EG_11575856
APL-EG_11228420; APL-
EG_11576401
APL-EG_11233215; APL-
EG_11593556
APL-EG_11579342
APL-EG_11578713
APL-EG_11533359
APL-EG_11542900
APL-EG_11239377; APL-
EG_11570092
APL-EG_10988327; PRIV-APL-
EG_00194184
APL-EG_11020051; APL-
EG_11555210
APL-EG_11570103
APL-EG_10988322; APL-
EG_11271938; APL-EG_11542907
APL-EG_11174775; APL-
EG_11531497
APL-EG_11174778; APL-
EG_11531500
APL-EG_11606747
APL-EG_11575792
APL-EG_11542906
APL-EG_11011447; APL-
EG_11607232
APL-EG_11400056
APL-EG_11578798
APL-EG_11542579
APL-EG_11551675
APL-EG_11044502; APL-
EG_11566378
APL-EG_11569898
APL-EG_10805968; APL-
EG_11387997
APL-EG_11576521
APL-EG_11391941
APL-EG_11394821
APL-EG_10704238; APL-
EG_11577860
APL-EG_10851558; APL-
EG_11391562
APL-EG_10702809; APL-
EG_11576388
APL-EG_11554253
APL-EG_11173584; APL-
EG_11529367
APL-EG_11531588
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EG_11553069
APL-EG_11003467; APL-
EG_11551089
APL-EG_10989504; APL-
EG_11543067
APL-EG_11235479; APL-
EG_11553326
APL-EG_11467878
APL-EG_11405354
APL-EG_11473422
APL-EG_11035232; APL-
EG_11516516
APL-EG_11476799
APL-EG_11476814
APL-EG_11476815
APL-EG_11476816
APL-EG_11476817
APL-EG_11476818
APL-EG_11476819
APL-EG_11476821
APL-EG_11036339; APL-
EG_11518656
APL-EG_11036354; APL-
EG_11518671
APL-EG_11036356; APL-
EG_11518673
APL-EG_11036357; APL-
EG_11518674
APL-EG_11036358; APL-
EG_11518675
APL-EG_11036359; APL-
EG_11518676
APL-EG_11036360; APL-
EG_11518677
APL-EG_11036361; APL-
EG_11518678
APL-EG_11403205
APL-EG_11403220
APL-EG_11403221
APL-EG_11403222
APL-EG_11403223
APL-EG_11403224
APL-EG_11403225
APL-EG_11403226
APL-EG_11403227
APL-EG_10958351; APL-
EG_11404706
APL-EG_10958353; APL-
EG_11404722
APL-EG_10958354; APL-
EG_11404723
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EG_11404724
APL-EG_10958356; APL-
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APL-EG_10958357; APL-
EG_11404726
APL-EG_10958358; APL-
EG_11404727
APL-EG_10958359; APL-
EG_11404728
APL-EG_10792801; APL-
EG_11413375
APL-EG_10792806; APL-
EG_11413394
APL-EG_10792809; APL-
EG_11413397
APL-EG_11457702
APL-EG_11457717
APL-EG_11457718
APL-EG_11457719
APL-EG_11457720
APL-EG_11457721
APL-EG_11457722
APL-EG_11457723
APL-EG_11457724
APL-EG_11002246; APL-
EG_11468511
APL-EG_11002247; APL-
EG_11468526
APL-EG_11002250; APL-
EG_11468529
APL-EG_11002251; APL-
EG_11468530
APL-EG_11002252; APL-
EG_11468531
APL-EG_11002253; APL-
EG_11468532
APL-EG_11002254; APL-
EG_11468533
APL-EG_11499027
APL-EG_11499042
APL-EG_11499043
APL-EG_11499044
APL-EG_11499045
APL-EG_11499046
APL-EG_11499047
APL-EG_11499048
APL-EG_11499049
APL-EG_11405346
APL-EG_11405351
APL-EG_11405352
APL-EG_11559040
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APL-EG_11559055
APL-EG_11559056
APL-EG_11559057
APL-EG_11559058
APL-EG_11559059
APL-EG_11559060
APL-EG_11559061
APL-EG_11559062
APL-EG_10963924; APL-
EG_11530771
APL-EG_10968835; APL-
EG_11580856
APL-EG_10968837; APL-
EG_11580872
APL-EG_10968838; APL-
EG_11580873
APL-EG_10968839; APL-
EG_11580874
APL-EG_10968843; APL-
EG_11580878
APL-EG_11032569; PRIV-APL-
EG_00247953
APL-EG_11002946; APL-
EG_11605670; PRIV-APL-
EG_00222451
APL-EG_11622627; PRIV-APL-
EG_00262213
APL-EG_11620590; PRIV-APL-
EG_00255180
APL-EG_10785819; APL-
EG_11577843
APL-EG_11001361; APL-
EG_11604018
APL-EG_10876301; APL-
EG_11613461
APL-EG_11576371
APL-EG_11576376
APL-EG_11576377
APL-EG_10971784; APL-
EG_11581679
APL-EG_10971789; APL-
EG_11581684
APL-EG_10971790; APL-
EG_11581685
APL-EG_10859281; APL-
EG_11606874
APL-EG_11606891
APL-EG_11606896
APL-EG_11606897
APL-EG_11003691; APL-
EG_11551099
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APL-EG_11003696; APL-
EG_11551104
APL-EG_10857092; APL-
EG_11606392
APL-EG_10851109; APL-
EG_11604036
APL-EG_10851117; APL-
EG_11604044
APL-EG_10826888; APL-
EG_11592159
APL-EG_11009843; APL-
EG_11498365; APL-EG_11635583
APL-EG_10988345; APL-
EG_11456455; APL-EG_11634746
APL-EG_10988348; APL-
EG_11456458; APL-EG_11634749
APL-EG_10989390; PRIV-APL-
EG_00128499; APL-EG_11456765
APL-EG_10989396; PRIV-APL-
EG_00128505; APL-EG_11456771
APL-EG_10989398; PRIV-APL-
EG_00128507; APL-EG_11456773
APL-EG_10989400; PRIV-APL-
EG_00128509; APL-EG_11456775
APL-EG_10971450; APL-
EG_11444232; APL-EG_11633446
APL-EG_11003393; APL-
EG_11473825; APL-EG_11635544
APL-EG_10998311; APL-
EG_11462108; APL-EG_11634796
APL-EG_11523296; APL-
EG_11636044
APL-EG_11446747; APL-
EG_11633624
APL-EG_10959418; PRIV-APL-
EG_00119341; APL-EG_11405435;
APL-EG_11632934
APL-EG_10971476; PRIV-APL-
EG_00173620
APL-EG_11102465; APL-
EG_11593258
APL-EG_11102467; APL-
EG_11593260
APL-EG_11102468; APL-
EG_11593261
APL-EG_11102469; APL-
EG_11593262
APL-EG_11534476
APL-EG_11546505
APL-EG_11570114
APL-EG_11550165
APL-EG_11550166
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APL-EG_11607134
APL-EG_11607162
APL-EG_11607163
APL-EG_11615258
APL-EG_11615286
APL-EG_11577237
APL-EG_11577238
APL-EG_11579337
APL-EG_11579338
APL-EG_11592410
APL-EG_11592411
APL-EG_11622408
APL-EG_11622409
APL-EG_11593245
APL-EG_11593246
APL-EG_11580939
APL-EG_11580940
APL-EG_11625111
APL-EG_11625112
APL-EG_11617297
APL-EG_11617298
APL-EG_11519561; APL-
EG_11635898
APL-EG_11508419; APL-
EG_11635621
APL-EG_11508447; APL-
EG_11635649
APL-EG_11508448; APL-
EG_11635650
APL-EG_11406499; APL-
EG_11632983
APL-EG_11406527; APL-
EG_11633011
APL-EG_11406528; APL-
EG_11633012
APL-EG_11098067; APL-
EG_11444513; APL-EG_11633447
APL-EG_11098069; APL-
EG_11444541; APL-EG_11633475
APL-EG_11117203; APL-
EG_11508533; APL-EG_11635651
APL-EG_11117205; APL-
EG_11508561; APL-EG_11635679
APL-EG_11520593; APL-
EG_11635944
APL-EG_11520621; APL-
EG_11635972
APL-EG_11520622; APL-
EG_11635973
APL-EG_11462316; APL-
EG_11634800
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EG_11634827
APL-EG_11462344; APL-
EG_11634828
APL-EG_10804635; APL-
EG_11446243; APL-EG_11633588
APL-EG_11446964; APL-
EG_11633781
PRIV-APL-EG_00045571; APL-
EG_11560082
APL-EG_11000705; APL-
EG_11391158
APL-EG_11000711; APL-
EG_11391164
APL-EG_11000712; APL-
EG_11391165
APL-EG_11000713; APL-
EG_11391166
APL-EG_11000715; APL-
EG_11391172
APL-EG_11000716; APL-
EG_11391173
APL-EG_11000717; APL-
EG_11391174
PRIV-APL-EG_00091739; APL-
EG_11332058; APL-EG_11467799
PRIV-APL-EG_00091750; APL-
EG_11332068; APL-EG_11467810
PRIV-APL-EG_00091753; APL-
EG_11332070; APL-EG_11467813
APL-EG_10958147; APL-
EG_11576391
APL-EG_10852764; APL-
EG_11604308
APL-EG_10959357; PRIV-APL-
EG_00016814; APL-EG_11385959
APL-EG_10959372; PRIV-APL-
EG_00016822; APL-EG_11385974
APL-EG_11338963; APL-
EG_11513915; PRIV-APL-
EG_00100662
APL-EG_11338971; APL-
EG_11513924; PRIV-APL-
EG_00100671
APL-EG_11338973; APL-
EG_11513926; PRIV-APL-
EG_00100673
APL-EG_11338975; APL-
EG_11513929; PRIV-APL-
EG_00100676
APL-EG_11397761
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APL-EG_11534713; APL-
EG_11633678
APL-EG_10778653; APL-
EG_11240645; APL-EG_11385650
APL-EG_10876496; APL-
EG_11279050; APL-EG_11396370
APL-EG_10778645; APL-
EG_11240641; APL-EG_11385646
APL-EG_10876488; APL-
EG_11279046; PRIV-APL-
EG_00234016
APL-EG_11576593
APL-EG_11578928
APL-EG_10778657; APL-
EG_11240649; APL-EG_11385654
APL-EG_10876500; APL-
EG_11279054; PRIV-APL-
EG_00234020
APL-EG_11396196
APL-EG_10962307; APL-
EG_11241432; APL-EG_11386308
APL-EG_10962314; APL-
EG_11241439; APL-EG_11386315
APL-EG_11001375; APL-
EG_11273731; APL-EG_11391346
APL-EG_11001382; APL-
EG_11273738; APL-EG_11391353
APL-EG_11022600; APL-
EG_11337915; APL-EG_11506246
APL-EG_10958018; APL-
EG_11240723; APL-EG_11290713;
APL-EG_11404495
APL-EG_11015185; APL-
EG_11337241; APL-EG_11502550
APL-EG_11228576; APL-
EG_11529381
APL-EG_11187977; APL-
EG_11279596; APL-EG_11559123;
PRIV-APL-EG_00238485
APL-EG_10971826; APL-
EG_11321506; APL-EG_11444348
PRIV-APL-EG_00094217; APL-
EG_11394677
PRIV-APL-EG_00094224; APL-
EG_11394684
PRIV-APL-EG_00094225; APL-
EG_11394685
PRIV-APL-EG_00094226; APL-
EG_11394686
APL-EG_10989715; PRIV-APL-
EG_00033306; APL-EG_11389829
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APL-EG_10989716; PRIV-APL-
EG_00033307; APL-EG_11389830
APL-EG_10986464; APL-
EG_11271837; APL-EG_11389445;
PRIV-APL-EG_00032426
APL-EG_10986465; APL-
EG_11271838; APL-EG_11389446;
PRIV-APL-EG_00032427
APL-EG_11235499; APL-
EG_11394948; PRIV-APL-
EG_00042246
APL-EG_11235500; APL-
EG_11394949; PRIV-APL-
EG_00042247
APL-EG_11575717
APL-EG_11032057; APL-
EG_11617220
APL-EG_11512389
APL-EG_11032038; APL-
EG_11617207
APL-EG_10971052; PRIV-APL-
EG_00072837; APL-EG_11581637
APL-EG_10805071; APL-
EG_11387915
APL-EG_10898134; APL-
EG_11397786; PRIV-APL-
EG_00247748
PRIV-APL-EG_00106314
APL-EG_11604047
APL-EG_10950208; APL-
EG_11400095
APL-EG_11131267; APL-
EG_11385952
APL-EG_11131268; APL-
EG_11385954
APL-EG_11131278; APL-
EG_11385987
APL-EG_11393980
APL-EG_11393983
APL-EG_11394259
APL-EG_11390207
APL-EG_11593101
APL-EG_11178598; APL-
EG_11541905
APL-EG_11178599; APL-
EG_11541906
APL-EG_11396749
APL-EG_11176819; APL-
EG_11446027
APL-EG_11176827; APL-
EG_11446035
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APL-EG_11176828; APL-
EG_11446036
APL-EG_11176829; APL-
EG_11446037
APL-EG_10885505; APL-
EG_11396861
APL-EG_10885506; APL-
EG_11396862
APL-EG_11176771; APL-
EG_11446005
APL-EG_11176780; APL-
EG_11446014
APL-EG_11176781; APL-
EG_11446015
APL-EG_11176782; APL-
EG_11446016
APL-EG_11176783; APL-
EG_11446017
APL-EG_11398260
APL-EG_11398267
APL-EG_11398268
APL-EG_11398269
APL-EG_11398270
APL-EG_11398271
APL-EG_11398272
APL-EG_11566376
APL-EG_11566377
APL-EG_10957359; APL-
EG_11282266; APL-EG_11282976;
APL-EG_11404046
APL-EG_10957361; APL-
EG_11282268; APL-EG_11282978;
APL-EG_11404048
APL-EG_10957362; APL-
EG_11282269; APL-EG_11282979;
APL-EG_11404049
APL-EG_10957363; APL-
EG_11282270; APL-EG_11282980;
APL-EG_11404050
APL-EG_10957365; APL-
EG_11282272; APL-EG_11282982;
APL-EG_11404052
APL-EG_10957368; APL-
EG_11282275; APL-EG_11282985;
APL-EG_11404055
APL-EG_10957370; APL-
EG_11282277; APL-EG_11282987;
APL-EG_11404057
APL-EG_10957371; APL-
EG_11282278; APL-EG_11282988;
APL-EG_11404058
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APL-EG_10957372; APL-
EG_11282279; APL-EG_11282989;
APL-EG_11404059
APL-EG_10957373; APL-
EG_11282280; APL-EG_11282990;
APL-EG_11404060
APL-EG_10957374; APL-
EG_11282281; APL-EG_11282991;
APL-EG_11404061
APL-EG_10957375; APL-
EG_11282282; APL-EG_11282992;
APL-EG_11404062
APL-EG_10957376; APL-
EG_11282283; APL-EG_11282993;
APL-EG_11404063
APL-EG_10957377; APL-
EG_11282284; APL-EG_11282994;
APL-EG_11404064
APL-EG_10957378; APL-
EG_11282285; APL-EG_11282995;
APL-EG_11404065
APL-EG_10957379; APL-
EG_11282286; APL-EG_11282996;
APL-EG_11404066
APL-EG_11022611; APL-
EG_11282753; APL-EG_11506279
APL-EG_11022613; APL-
EG_11282755; APL-EG_11506281
APL-EG_11022614; APL-
EG_11282756; APL-EG_11506282
APL-EG_11022615; APL-
EG_11282757; APL-EG_11506283
APL-EG_11022617; APL-
EG_11282759; APL-EG_11506285
APL-EG_11022620; APL-
EG_11282762; APL-EG_11506288
APL-EG_11022622; APL-
EG_11282764; APL-EG_11506290
APL-EG_11022623; APL-
EG_11282765; APL-EG_11506291
APL-EG_11022624; APL-
EG_11282766; APL-EG_11506292
APL-EG_11022625; APL-
EG_11282767; APL-EG_11506293
APL-EG_11022626; APL-
EG_11282768; APL-EG_11506294
APL-EG_11022627; APL-
EG_11282769; APL-EG_11506295
APL-EG_11022628; APL-
EG_11282770; APL-EG_11506296
APL-EG_11022629; APL-
EG_11282771; APL-EG_11506297
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EG_11282772; APL-EG_11506298
APL-EG_11022631; APL-
EG_11282773; APL-EG_11506299
APL-EG_10898236; APL-
EG_11513958
APL-EG_10898238; APL-
EG_11513960
APL-EG_10898239; APL-
EG_11513961
APL-EG_10898240; APL-
EG_11513962
APL-EG_10898242; APL-
EG_11513964
APL-EG_10898245; APL-
EG_11513967
APL-EG_10898247; APL-
EG_11513969
APL-EG_10898248; APL-
EG_11513970
APL-EG_10898249; APL-
EG_11513971
APL-EG_10898250; APL-
EG_11513972
APL-EG_10898251; APL-
EG_11513973
APL-EG_10898252; APL-
EG_11513974
APL-EG_10898253; APL-
EG_11513975
APL-EG_10898254; APL-
EG_11513976
APL-EG_10898255; APL-
EG_11513977
APL-EG_10898256; APL-
EG_11513978
APL-EG_10971174; APL-
EG_11282353; APL-EG_11444082
APL-EG_10971176; APL-
EG_11282355; APL-EG_11444084
APL-EG_10971177; APL-
EG_11282356; APL-EG_11444085
APL-EG_10971178; APL-
EG_11282357; APL-EG_11444086
APL-EG_10971180; APL-
EG_11282359; APL-EG_11444088
APL-EG_10971183; APL-
EG_11282362; APL-EG_11444091
APL-EG_10971185; APL-
EG_11282364; APL-EG_11444093
APL-EG_10971186; APL-
EG_11282365; APL-EG_11444094
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APL-EG_10971187; APL-
EG_11282366; APL-EG_11444095
APL-EG_10971188; APL-
EG_11282367; APL-EG_11444096
APL-EG_10971189; APL-
EG_11282368; APL-EG_11444097
APL-EG_10971190; APL-
EG_11282369; APL-EG_11444098
APL-EG_10971191; APL-
EG_11282370; APL-EG_11444099
APL-EG_10971192; APL-
EG_11282371; APL-EG_11444100
APL-EG_10971193; APL-
EG_11282372; APL-EG_11444101
APL-EG_10971194; APL-
EG_11282373; APL-EG_11444102
APL-EG_10859667; APL-
EG_11282680; APL-EG_11284212;
APL-EG_11498417
APL-EG_10859669; APL-
EG_11282682; APL-EG_11284214;
APL-EG_11498419
APL-EG_10859670; APL-
EG_11282683; APL-EG_11284215;
APL-EG_11498420
APL-EG_10859671; APL-
EG_11282684; APL-EG_11284216;
APL-EG_11498421
APL-EG_10859673; APL-
EG_11282686; APL-EG_11284218;
APL-EG_11498423
APL-EG_10859676; APL-
EG_11282689; APL-EG_11284221;
APL-EG_11498426
APL-EG_10859678; APL-
EG_11282691; APL-EG_11284223;
APL-EG_11498428
APL-EG_10859679; APL-
EG_11282692; APL-EG_11284224;
APL-EG_11498429
APL-EG_10859680; APL-
EG_11282693; APL-EG_11284225;
APL-EG_11498430
APL-EG_10859681; APL-
EG_11282694; APL-EG_11284226;
APL-EG_11498431
APL-EG_10859682; APL-
EG_11282695; APL-EG_11284227;
APL-EG_11498432
APL-EG_10859683; APL-
EG_11282696; APL-EG_11284228;
APL-EG_11498433
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EG_11282697; APL-EG_11284229;
APL-EG_11498434
APL-EG_10859685; APL-
EG_11282698; APL-EG_11284230;
APL-EG_11498435
APL-EG_10859686; APL-
EG_11282699; APL-EG_11284231;
APL-EG_11498436
APL-EG_10859687; APL-
EG_11282700; APL-EG_11284232;
APL-EG_11498437
APL-EG_10988693; APL-
EG_11282531; APL-EG_11456525
APL-EG_10988695; APL-
EG_11282533; APL-EG_11456527
APL-EG_10988696; APL-
EG_11282534; APL-EG_11456528
APL-EG_10988697; APL-
EG_11282535; APL-EG_11456529
APL-EG_10988699; APL-
EG_11282537; APL-EG_11456531
APL-EG_10988702; APL-
EG_11282540; APL-EG_11456534
APL-EG_10988704; APL-
EG_11282542; APL-EG_11456536
APL-EG_10988705; APL-
EG_11282543; APL-EG_11456537
APL-EG_10988706; APL-
EG_11282544; APL-EG_11456538
APL-EG_10988707; APL-
EG_11282545; APL-EG_11456539
APL-EG_10988708; APL-
EG_11282546; APL-EG_11456540
APL-EG_10988709; APL-
EG_11282547; APL-EG_11456541
APL-EG_10988710; APL-
EG_11282548; APL-EG_11456542
APL-EG_10988711; APL-
EG_11282549; APL-EG_11456543
APL-EG_10988712; APL-
EG_11282550; APL-EG_11456544
APL-EG_10988713; APL-
EG_11282551; APL-EG_11456545
APL-EG_11176743; APL-
EG_11445976
APL-EG_11176744; APL-
EG_11445977
APL-EG_11176745; APL-
EG_11445978
APL-EG_11176746; APL-
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EG_11445980
APL-EG_11176748; APL-
EG_11445981
APL-EG_11176749; APL-
EG_11445982
APL-EG_11176750; APL-
EG_11445983
APL-EG_11176751; APL-
EG_11445984
APL-EG_11176752; APL-
EG_11445985
APL-EG_11176753; APL-
EG_11445986
APL-EG_11176754; APL-
EG_11445987
APL-EG_11176755; APL-
EG_11445988
APL-EG_11176756; APL-
EG_11445989
APL-EG_11176757; APL-
EG_11445990
APL-EG_11176758; APL-
EG_11445991
APL-EG_11176759; APL-
EG_11445992
APL-EG_11176760; APL-
EG_11445993
APL-EG_11176761; APL-
EG_11445994
APL-EG_11176762; APL-
EG_11445995
APL-EG_11176763; APL-
EG_11445996
APL-EG_11176764; APL-
EG_11445997
APL-EG_11385639
APL-EG_11396363
APL-EG_11444103
APL-EG_11138616; APL-
EG_11498438
APL-EG_11456546
APL-EG_11132166; APL-
EG_11414215
APL-EG_11445998; APL-
EG_11633498
APL-EG_10778605; APL-
EG_11385641
APL-EG_10876443; APL-
EG_11396365
APL-EG_11176766; APL-
EG_11446000; APL-EG_11633500
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EG_11446004; APL-EG_11633504
APL-EG_11386750; PRIV-APL-
EG_00166308
APL-EG_11009963; APL-
EG_11498413
APL-EG_11098617; PRIV-APL-
EG_00021497; APL-EG_11321866
PRIV-APL-EG_00123087; APL-
EG_11414235; APL-EG_11633289
APL-EG_11022606; PRIV-APL-
EG_00234014
APL-EG_11138612; APL-
EG_11498411
APL-EG_11132424; APL-
EG_11414379
APL-EG_11176719; APL-
EG_11445972
APL-EG_11581744
PRIV-APL-EG_00085813; APL-
EG_11545358
APL-EG_11388029
APL-EG_11398057
APL-EG_11469033; APL-
EG_11635036
APL-EG_11469131; APL-
EG_11635134
APL-EG_11469162; APL-
EG_11635165
APL-EG_11057870; APL-
EG_11525999; APL-EG_11636086
APL-EG_11057871; APL-
EG_11526000; APL-EG_11636087
APL-EG_10989969; PRIV-APL-
EG_00084701; APL-EG_11389871
APL-EG_10989970; PRIV-APL-
EG_00084702; APL-EG_11389872
APL-EG_10989981; PRIV-APL-
EG_00084713; APL-EG_11389883
APL-EG_11068509; APL-
EG_11194379; APL-EG_11347811;
APL-EG_11414449
APL-EG_11068510; APL-
EG_11194380; APL-EG_11347812;
APL-EG_11414450
APL-EG_11068515; APL-
EG_11194385; APL-EG_11347817;
APL-EG_11414455
APL-EG_11068521; APL-
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APL-EG_11414461
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APL-EG_11633515
APL-EG_11177018; APL-
EG_11270683; APL-EG_11446070;
APL-EG_11633516
APL-EG_11177023; APL-
EG_11270688; APL-EG_11446075;
APL-EG_11633521
APL-EG_11177024; APL-
EG_11270689; APL-EG_11446076;
APL-EG_11633522
APL-EG_11177029; APL-
EG_11270694; APL-EG_11446081;
APL-EG_11633527
APL-EG_11022306; APL-
EG_11506065
APL-EG_11022311; APL-
EG_11506070
APL-EG_11022324; APL-
EG_11506083
APL-EG_11001825; APL-
EG_11391442
APL-EG_11001827; APL-
EG_11391444
APL-EG_11001828; APL-
EG_11391445
APL-EG_11001830; APL-
EG_11391447
APL-EG_11001837; APL-
EG_11391454
APL-EG_11001838; APL-
EG_11391455
APL-EG_11001840; APL-
EG_11391457
APL-EG_11001843; APL-
EG_11391460
APL-EG_11014991; APL-
EG_11337203; APL-EG_11502357
APL-EG_11129338; APL-
EG_11345001; APL-EG_11526172
APL-EG_11129339; APL-
EG_11345002; APL-EG_11526173
APL-EG_11129343; APL-
EG_11345006; APL-EG_11526177
APL-EG_11129345; APL-
EG_11345008; APL-EG_11526179
APL-EG_11129348; APL-
EG_11345011; APL-EG_11526182
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APL-EG_11113471; APL-
EG_11226352; APL-EG_11336462;
APL-EG_11498264; APL-
EG_11635564
APL-EG_11113476; APL-
EG_11226357; APL-EG_11336467;
APL-EG_11498269; APL-
EG_11635569
APL-EG_11113483; APL-
EG_11226364; APL-EG_11336474;
APL-EG_11498276; APL-
EG_11635576
APL-EG_11113484; APL-
EG_11226365; APL-EG_11336475;
APL-EG_11498277; APL-
EG_11635577
APL-EG_11113489; APL-
EG_11226370; APL-EG_11336480;
APL-EG_11498282; APL-
EG_11635582
APL-EG_11354647; APL-
EG_11456498
APL-EG_11354648; APL-
EG_11456499
APL-EG_11354657; APL-
EG_11456508
APL-EG_11354658; APL-
EG_11456509
APL-EG_11354660; APL-
EG_11456511
APL-EG_11066998; APL-
EG_11194212; APL-EG_11347679;
APL-EG_11412520
APL-EG_11066999; APL-
EG_11194213; APL-EG_11347680;
APL-EG_11412521
APL-EG_11067001; APL-
EG_11194215; APL-EG_11347682;
APL-EG_11412523
APL-EG_11068624; APL-
EG_11293554; APL-EG_11414509
APL-EG_11068626; APL-
EG_11293556; APL-EG_11414511
APL-EG_11068627; APL-
EG_11293557; APL-EG_11414512
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APL-EG_11068636; APL-
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APL-EG_11068637; APL-
EG_11293567; APL-EG_11414522
APL-EG_11068639; APL-
EG_11293569; APL-EG_11414524
APL-EG_11068642; APL-
EG_11293572; APL-EG_11414527
APL-EG_11069753; APL-
EG_11581050
APL-EG_11069754; APL-
EG_11581051
APL-EG_11069756; APL-
EG_11581053
APL-EG_11069758; APL-
EG_11581055
APL-EG_11069760; APL-
EG_11581057
APL-EG_11069763; APL-
EG_11581060
APL-EG_11069764; APL-
EG_11581061
APL-EG_11069766; APL-
EG_11581063
APL-EG_11069769; APL-
EG_11581066
APL-EG_11177351; APL-
EG_11446121; APL-EG_11633570
APL-EG_11177352; APL-
EG_11446122; APL-EG_11633571
APL-EG_11177354; APL-
EG_11446124; APL-EG_11633573
APL-EG_11177361; APL-
EG_11446131; APL-EG_11633580
APL-EG_11177362; APL-
EG_11446132; APL-EG_11633581
APL-EG_11177364; APL-
EG_11446134; APL-EG_11633583
APL-EG_11177367; APL-
EG_11446137; APL-EG_11633586
APL-EG_11060302; APL-
EG_11385936
APL-EG_11008685; APL-
EG_11394549
APL-EG_11008686; APL-
EG_11394550
APL-EG_11008687; APL-
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APL-EG_11008690; APL-
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APL-EG_11008691; APL-
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APL-EG_11008692; APL-
EG_11394556
APL-EG_11008693; APL-
EG_11394557
APL-EG_11008694; APL-
EG_11394558
APL-EG_11008695; APL-
EG_11394559
APL-EG_11008696; APL-
EG_11394560
APL-EG_11335702; APL-
EG_11473681
APL-EG_11335714; APL-
EG_11473693
APL-EG_11022514; APL-
EG_11337887; APL-EG_11506125
APL-EG_11022516; APL-
EG_11337889; APL-EG_11506127
APL-EG_11022518; APL-
EG_11337891; APL-EG_11506129
APL-EG_11022520; APL-
EG_11337893; APL-EG_11506131
APL-EG_11022521; APL-
EG_11337894; APL-EG_11506132
APL-EG_11022523; APL-
EG_11337896; APL-EG_11506134
APL-EG_11001894; APL-
EG_11391495
APL-EG_11001896; APL-
EG_11391497
APL-EG_11001898; APL-
EG_11391499
APL-EG_11001899; APL-
EG_11391500
APL-EG_11001901; APL-
EG_11391502
APL-EG_11001903; APL-
EG_11391504
APL-EG_11030371; APL-
EG_11560111
APL-EG_11030377; APL-
EG_11560117
APL-EG_11030378; APL-
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APL-EG_10957929; APL-
EG_11290669; APL-EG_11404298
APL-EG_10957930; APL-
EG_11290670; APL-EG_11404299
APL-EG_10957932; APL-
EG_11290672; APL-EG_11404301
APL-EG_11337229; APL-
EG_11502437
APL-EG_11337233; APL-
EG_11502441
APL-EG_11337234; APL-
EG_11502442
APL-EG_11337236; APL-
EG_11502444
APL-EG_11338297; APL-
EG_11510414
APL-EG_11338301; APL-
EG_11510418
APL-EG_11338302; APL-
EG_11510419
APL-EG_10989369; APL-
EG_11389813
APL-EG_10989371; APL-
EG_11389815
APL-EG_10989373; APL-
EG_11389817
APL-EG_10989376; APL-
EG_11389820
APL-EG_10989378; APL-
EG_11389822
APL-EG_11105199; APL-
EG_11329473; APL-EG_11462068
APL-EG_11105201; APL-
EG_11329475; APL-EG_11462070
APL-EG_11105206; APL-
EG_11329480; APL-EG_11462075
APL-EG_11105208; APL-
EG_11329482; APL-EG_11462077
APL-EG_10681743; APL-
EG_11473222; APL-EG_11635479
APL-EG_10681808; APL-
EG_11473287
APL-EG_10682368; APL-
EG_11473351
APL-EG_10681887; APL-
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APL-EG_11468011; APL-
EG_11634951
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APL-EG_11621906
APL-EG_11394411
APL-EG_11398143
APL-EG_11578255
APL-EG_11386318
APL-EG_10786463; APL-
EG_11386360
APL-EG_11591974
APL-EG_11398825
APL-EG_11622249
APL-EG_10681648; APL-
EG_11604979
APL-EG_10681917; APL-
EG_11605119
APL-EG_11386417
APL-EG_10682162; APL-
EG_11605246
APL-EG_10682111; APL-
EG_11605195
APL-EG_10682059; APL-
EG_11605143
APL-EG_10682316; APL-
EG_11605385
APL-EG_11394313
APL-EG_11391659
APL-EG_10682228; APL-
EG_11605297
PRIV-APL-EG_00226239
APL-EG_11112324; APL-
EG_11284084; PRIV-APL-
EG_00223100
APL-EG_11398868
APL-EG_11398911
APL-EG_11398882
APL-EG_10682431; APL-
EG_11284239; APL-EG_11500162
PRIV-APL-EG_00260654
APL-EG_11395118
APL-EG_11582321
APL-EG_11395152
APL-EG_11398125
APL-EG_11606943
APL-EG_11390614
APL-EG_11386518
APL-EG_11390714
PRIV-APL-EG_00195169
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APL-EG_11390043
APL-EG_11386549
APL-EG_11576159
APL-EG_10948606; APL-
EG_11284812; PRIV-APL-
EG_00275310
APL-EG_11575523
PRIV-APL-EG_00165984
APL-EG_11394081
PRIV-APL-EG_00234046
PRIV-APL-EG_00162374
APL-EG_11391678
APL-EG_11389964
PRIV-APL-EG_00165899
APL-EG_10681518; APL-
EG_11405103
APL-EG_11390020
PRIV-APL-EG_00223056
APL-EG_11396515
PRIV-APL-EG_00270583
APL-EG_11550099
APL-EG_10948633; APL-
EG_11284839; PRIV-APL-
EG_00275967
APL-EG_11394291
APL-EG_11578144
APL-EG_11545668
APL-EG_11608624
APL-EG_11575669
APL-EG_11593329
APL-EG_11578196
APL-EG_11386706
PRIV-APL-EG_00166084
APL-EG_11578291
APL-EG_11575612
APL-EG_11385411
APL-EG_11625012
PRIV-APL-EG_00162520
PRIV-APL-EG_00120646
APL-EG_10996812; APL-
EG_11283885; PRIV-APL-
EG_00198464
APL-EG_11578687
APL-EG_11389943
APL-EG_11389577
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APL-EG_11577871
APL-EG_11577966
APL-EG_11112921; APL-
EG_11284100; PRIV-APL-
EG_00223125
APL-EG_11385460
APL-EG_11620075
APL-EG_11563826
APL-EG_11546224
APL-EG_11571942
APL-EG_11571960
APL-EG_11543168
APL-EG_11534769
APL-EG_11530361
APL-EG_10807670; APL-
EG_11534761
APL-EG_11384808
APL-EG_11386474
APL-EG_11386502
APL-EG_11386500
PRIV-APL-EG_00174868
APL-EG_10682416; APL-
EG_11500159; PRIV-APL-
EG_00226114
APL-EG_11388073
PRIV-APL-EG_00151888
PRIV-APL-EG_00254179
PRIV-APL-EG_00151777
APL-EG_11388082
APL-EG_11386504
APL-EG_11386513
APL-EG_11398342
APL-EG_11398345
APL-EG_11398187
APL-EG_11385820
APL-EG_11396632
APL-EG_11398333
APL-EG_11398328
APL-EG_11398219
APL-EG_11398044
APL-EG_11398090
APL-EG_11398160
PRIV-APL-EG_00151718
PRIV-APL-EG_00201937
APL-EG_11385814
APL-EG_11395276
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APL-EG_11395278
PRIV-APL-EG_00276802
PRIV-APL-EG_00276842
APL-EG_11398349
PRIV-APL-EG_00085730
APL-EG_11384805
APL-EG_11390090
APL-EG_11390320
APL-EG_11395990
APL-EG_10852014; APL-
EG_11604206
APL-EG_11604395
APL-EG_11391983
APL-EG_11458688
APL-EG_11522225
APL-EG_11458685
APL-EG_11458686
APL-EG_11582354
APL-EG_11582391
APL-EG_11582392
APL-EG_11582393
APL-EG_11534807
APL-EG_11550201
APL-EG_11550200
APL-EG_11595971
APL-EG_11582419
APL-EG_11387015
APL-EG_11059152; APL-
EG_11142853; APL-EG_11403089
APL-EG_11059153; APL-
EG_11142854; APL-EG_11403090
APL-EG_11010420; PRIV-APL-
EG_00094293; APL-EG_11394699
APL-EG_11010529; PRIV-APL-
EG_00094402; APL-EG_11394808
APL-EG_11384803
APL-EG_11630810
APL-EG_11385010
APL-EG_11385074
APL-EG_11390989
APL-EG_11388445
APL-EG_11389186
APL-EG_10735811; APL-
EG_11607528
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APL-EG_11401053
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EG_11290160
APL-EG_10716424; APL-
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EG_00178371
PRIV-APL-EG_00187526; APL-
EG_11448468
APL-EG_11526885
PRIV-APL-EG_00155441
APL-EG_10719541; PRIV-APL-
EG_00189704
APL-EG_10701368; PRIV-APL-
EG_00156075
APL-EG_10700464
PRIV-APL-EG_00188177; APL-
EG_11583132
PRIV-APL-EG_00155873; APL-
EG_11583165
PRIV-APL-EG_00187569; APL-
EG_11448532
PRIV-APL-EG_00155484
PRIV-APL-EG_00154892
APL-EG_11573872
APL-EG_11573879
APL-EG_11599562
APL-EG_11590095
APL-EG_11590272
APL-EG_11590500
APL-EG_11587459
APL-EG_10975569; APL-
EG_11584322
APL-EG_11587462
APL-EG_11588969
PRIV-APL-EG_00221567; PRIV-APL-
EG_00204197
PRIV-APL-EG_00176144
PRIV-APL-EG_00075433; APL-
EG_11388162
PRIV-APL-EG_00155609
APL-EG_11398040
APL-EG_11398043
APL-EG_10718879; APL-
EG_11590080
APL-EG_11388180
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APL-EG_10710008; PRIV-APL-
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EG_11449478; APL-EG_11633357
PRIV-APL-EG_00245966
PRIV-APL-EG_00245967
PRIV-APL-EG_00204276
PRIV-APL-EG_00204131
PRIV-APL-EG_00204729
PRIV-APL-EG_00204701
PRIV-APL-EG_00204149
APL-EG_11616929; PRIV-APL-
EG_00173265
APL-EG_11616931; APL-
EG_11635717
APL-EG_11616948; APL-
EG_11635718
APL-EG_11616950; PRIV-APL-
EG_00097093
APL-EG_11616958; PRIV-APL-
EG_00097096
APL-EG_11616960; APL-
EG_11608934
APL-EG_11583763; PRIV-APL-
EG_00176734; APL-EG_11608935
APL-EG_11583766; PRIV-APL-
EG_00176737; APL-EG_11608959
APL-EG_11585127; PRIV-APL-
EG_00177975; APL-EG_11608960
APL-EG_11585131; PRIV-APL-
EG_00177979; APL-EG_11608961
APL-EG_11538214
APL-EG_11538216
APL-EG_11501222
APL-EG_11513460
PRIV-APL-EG_00205620
PRIV-APL-EG_00204906
APL-EG_11513480; APL-
EG_11553740
APL-EG_11513698; PRIV-APL-
EG_00230096
APL-EG_11513705; PRIV-APL-
EG_00230099
APL-EG_11513706; APL-
EG_10678643
PRIV-APL-EG_00182918; APL-
EG_10678644
PRIV-APL-EG_00181888; APL-
EG_11539182
PRIV-APL-EG_00175136; APL-
EG_11539187
PRIV-APL-EG_00185303; APL-
EG_11539188
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EG_00222094
PRIV-APL-EG_00181602; PRIV-APL-
EG_00222099
APL-EG_11450223; PRIV-APL-
EG_00222113
APL-EG_11513497; PRIV-APL-
EG_00222118
APL-EG_11513535; PRIV-APL-
EG_00222127
APL-EG_11513508; PRIV-APL-
EG_00222136
APL-EG_11513525; PRIV-APL-
EG_00222148
APL-EG_11451303
APL-EG_11450272
APL-EG_11450295
APL-EG_11451292
PRIV-APL-EG_00187492; PRIV-APL-
EG_00222153
APL-EG_11453425; PRIV-APL-
EG_00222155
APL-EG_11452567; APL-
EG_11469671
PRIV-APL-EG_00186206
APL-EG_11452217
APL-EG_11451281
APL-EG_11451235
APL-EG_11450236
APL-EG_10975571; APL-
EG_11449458
PRIV-APL-EG_00162751
PRIV-APL-EG_00162792
APL-EG_10823563; PRIV-APL-
EG_00189280
APL-EG_10718990; APL-
EG_11452682; PRIV-APL-
EG_00187601
APL-EG_11450345; APL-
EG_11469679
PRIV-APL-EG_00184373; APL-
EG_11460994
PRIV-APL-EG_00185251; APL-
EG_11461013
APL-EG_11540393
APL-EG_11540394
APL-EG_11573491
APL-EG_11547930; PRIV-APL-
EG_00205826
APL-EG_11547566; PRIV-APL-
EG_00203972
PRIV-APL-EG_00204283
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APL-EG_11547927
PRIV-APL-EG_00204818
PRIV-APL-EG_00205104
PRIV-APL-EG_00205703
PRIV-APL-EG_00205077
APL-EG_11137943; APL-
EG_11463769
APL-EG_11105583; APL-
EG_11463613
APL-EG_11137916; APL-
EG_11463154
APL-EG_11402629
APL-EG_11137922; APL-
EG_11463241
APL-EG_11137935; APL-
EG_11463593
APL-EG_11536316
APL-EG_11562404; APL-
EG_11524285
APL-EG_10718019; APL-
EG_11537933
APL-EG_11527163
PRIV-APL-EG_00188156
PRIV-APL-EG_00190013
APL-EG_11395285
APL-EG_11142283; APL-
EG_11569083
PRIV-APL-EG_00175740; PRIV-APL-
EG_00041099
APL-EG_11290045; APL-
EG_11401273
PRIV-APL-EG_00175712; APL-
EG_11635379
PRIV-APL-EG_00181020; PRIV-APL-
EG_00093245
PRIV-APL-EG_00184867; PRIV-APL-
EG_00093249
APL-EG_11580732
APL-EG_10766149; APL-
EG_11572755
APL-EG_10721951; APL-
EG_11543611
APL-EG_10722017; APL-
EG_11543624
APL-EG_10721988; APL-
EG_11543620
APL-EG_10722031; APL-
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APL-EG_10703215; APL-
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EG_11528837
APL-EG_10703338; APL-
EG_11528830
APL-EG_11547896
APL-EG_11547881
APL-EG_11544481
APL-EG_11544477
PRIV-APL-EG_00246659
APL-EG_10700134; APL-
EG_11527143
APL-EG_10699484; APL-
EG_11526626
APL-EG_10699600; APL-
EG_11526718
APL-EG_10699903; APL-
EG_11526971
APL-EG_10721975; APL-
EG_11594764
APL-EG_10721602; APL-
EG_11593307
APL-EG_10721573; APL-
EG_11593296
APL-EG_10721581; APL-
EG_11593300
APL-EG_10681300; APL-
EG_11283882; APL-EG_11543199
APL-EG_11539622
APL-EG_11293581; APL-
EG_11414598
APL-EG_11293582; APL-
EG_11414599
APL-EG_10812498; APL-
EG_11536451
APL-EG_11540036
APL-EG_11538811
APL-EG_11540885
APL-EG_11540173
PRIV-APL-EG_00072060; APL-
EG_11387178
PRIV-APL-EG_00072063; APL-
EG_11387181
PRIV-APL-EG_00072064; APL-
EG_11387182
PRIV-APL-EG_00034023; APL-
EG_11328929; APL-EG_11459244
APL-EG_11399963; PRIV-APL-
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APL-EG_11399979; PRIV-APL-
EG_00105842
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EG_00105780
APL-EG_10745747; APL-
EG_11558673
APL-EG_11599379
APL-EG_11620991
APL-EG_11543274
PRIV-APL-EG_00256595; PRIV-APL-
EG_00008783
PRIV-APL-EG_00259480; PRIV-APL-
EG_00008786
PRIV-APL-EG_00257636; APL-
EG_11635839
PRIV-APL-EG_00256799; APL-
EG_11635840
PRIV-APL-EG_00206188
PRIV-APL-EG_00256790; APL-
EG_11535559
PRIV-APL-EG_00258842; APL-
EG_11535560
PRIV-APL-EG_00256418; APL-
EG_11460829
PRIV-APL-EG_00258593; APL-
EG_11460847
PRIV-APL-EG_00257619; APL-
EG_11460855
APL-EG_11596116
PRIV-APL-EG_00102486; APL-
EG_11460875
APL-EG_11580802
APL-EG_11580804
APL-EG_11388799
APL-EG_11388807
APL-EG_11593321
APL-EG_11593327
APL-EG_11593319
APL-EG_11179374; APL-
EG_11593318
APL-EG_11390081
APL-EG_11593324
APL-EG_11593325
APL-EG_11385079
APL-EG_10808009; APL-
EG_11388098
PRIV-APL-EG_00186924
APL-EG_11392036; PRIV-APL-
EG_00040985
APL-EG_10809417; APL-
EG_11388216
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EG_11388346
APL-EG_11353886; APL-
EG_11452895
APL-EG_11590766
APL-EG_11388866
APL-EG_11388870
APL-EG_11388700
APL-EG_11388708
APL-EG_11388754
APL-EG_11392040; PRIV-APL-
EG_00041213
APL-EG_11387465
APL-EG_11387470
APL-EG_11608896
PRIV-APL-EG_00082823; APL-
EG_11388860
APL-EG_11328083; APL-
EG_11455599
APL-EG_11328085; APL-
EG_11455601
APL-EG_11328086; APL-
EG_11455602
APL-EG_11328088; APL-
EG_11455604
APL-EG_11389485
APL-EG_11389493
APL-EG_11389494
APL-EG_11389495
APL-EG_11389496
APL-EG_11389497
APL-EG_11389498
APL-EG_11389507
APL-EG_11623183; PRIV-APL-
EG_00263034
APL-EG_11623184; PRIV-APL-
EG_00263035
APL-EG_11623185; PRIV-APL-
EG_00263036
APL-EG_11623186; PRIV-APL-
EG_00263037
APL-EG_11354515; APL-
EG_11456037
APL-EG_11394076
APL-EG_11394079
APL-EG_11394080
APL-EG_11552745
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APL-EG_11394055
APL-EG_11394071
APL-EG_11394074
APL-EG_11394075
APL-EG_11398450
APL-EG_11398453
APL-EG_11398454
APL-EG_11398455
APL-EG_11398456
APL-EG_11398457
APL-EG_11398458
APL-EG_11328271; PRIV-APL-
EG_00006528; APL-EG_11456079
APL-EG_11328273; PRIV-APL-
EG_00006530; APL-EG_11456081
APL-EG_11328274; PRIV-APL-
EG_00006531; APL-EG_11456082
APL-EG_11328277; PRIV-APL-
EG_00006534; APL-EG_11456094
APL-EG_10721461; APL-
EG_11456063; APL-EG_11542459;
PRIV-APL-EG_00193985
APL-EG_10721463; APL-
EG_11456065; APL-EG_11542461;
PRIV-APL-EG_00193987
APL-EG_10721464; APL-
EG_11456066; APL-EG_11542462;
PRIV-APL-EG_00193988
APL-EG_10721465; APL-
EG_11456075; APL-EG_11542471;
PRIV-APL-EG_00193997
APL-EG_10721466; APL-
EG_11456076; APL-EG_11542472;
PRIV-APL-EG_00193998
APL-EG_10721467; APL-
EG_11456077; APL-EG_11542473;
PRIV-APL-EG_00193999
APL-EG_11328266; APL-
EG_11456058
APL-EG_11474909
APL-EG_11474910
PRIV-APL-EG_00036013; APL-
EG_11329592; APL-EG_11462777
APL-EG_11519682; PRIV-APL-
EG_00147491
APL-EG_11354452; PRIV-APL-
EG_00084115; APL-EG_11455728
APL-EG_11354453; PRIV-APL-
EG_00084116; APL-EG_11455729
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EG_00084127; APL-EG_11455740
APL-EG_11354455; PRIV-APL-
EG_00084128; APL-EG_11455741
APL-EG_11328063; PRIV-APL-
EG_00006516; APL-EG_11455496
APL-EG_11328065; PRIV-APL-
EG_00006518; APL-EG_11455498
APL-EG_11328066; PRIV-APL-
EG_00006519; APL-EG_11455499
APL-EG_11328069; PRIV-APL-
EG_00006522; APL-EG_11455511
APL-EG_11519662; PRIV-APL-
EG_00147461
APL-EG_11519663; PRIV-APL-
EG_00147462
APL-EG_11519664; PRIV-APL-
EG_00147463
APL-EG_11519665; PRIV-APL-
EG_00147464
APL-EG_11519666; PRIV-APL-
EG_00147465
APL-EG_11519677; PRIV-APL-
EG_00147476
APL-EG_11519678; PRIV-APL-
EG_00147477
APL-EG_11519679; PRIV-APL-
EG_00147478
APL-EG_11519645; PRIV-APL-
EG_00147437
APL-EG_11519646; PRIV-APL-
EG_00147438
APL-EG_11519647; PRIV-APL-
EG_00147439
APL-EG_11519648; PRIV-APL-
EG_00147440
APL-EG_11519658; PRIV-APL-
EG_00147450
APL-EG_11519659; PRIV-APL-
EG_00147451
APL-EG_11519660; PRIV-APL-
EG_00147452
APL-EG_11290125; PRIV-APL-
EG_00000128; APL-EG_11401846
APL-EG_11290127; PRIV-APL-
EG_00000130; APL-EG_11401848
APL-EG_11290128; PRIV-APL-
EG_00000131; APL-EG_11401849
APL-EG_11290131; PRIV-APL-
EG_00000134; APL-EG_11401861
PRIV-APL-EG_00035988; APL-
EG_11329589; APL-EG_11462774
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APL-EG_11340164; APL-
EG_11517243
APL-EG_11340166; APL-
EG_11517245
APL-EG_11340167; APL-
EG_11517246
APL-EG_11340168; APL-
EG_11517247
APL-EG_11340169; APL-
EG_11517248
APL-EG_11339922; APL-
EG_11516888
APL-EG_11339923; APL-
EG_11516889
APL-EG_11339924; APL-
EG_11516890
APL-EG_11339925; APL-
EG_11516891
APL-EG_11339926; APL-
EG_11516892
APL-EG_11339927; APL-
EG_11516893
APL-EG_11339928; APL-
EG_11516894
APL-EG_10902013; APL-
EG_11398797
APL-EG_10902015; APL-
EG_11398799
APL-EG_10715666; APL-
EG_11447985
APL-EG_10852900; APL-
EG_11357135; APL-EG_11469524
APL-EG_11519719; PRIV-APL-
EG_00263841
APL-EG_11519720; PRIV-APL-
EG_00263842
APL-EG_11519721; PRIV-APL-
EG_00263843
APL-EG_11519722; PRIV-APL-
EG_00263844
APL-EG_11519729; PRIV-APL-
EG_00147541
APL-EG_11519730; PRIV-APL-
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EG_00232438
APL-EG_10739026; APL-
EG_11284541; APL-EG_11504488;
PRIV-APL-EG_00232449
APL-EG_10739027; APL-
EG_11284542; APL-EG_11504489;
PRIV-APL-EG_00232450
APL-EG_10739028; APL-
EG_11284543; APL-EG_11504490;
PRIV-APL-EG_00232451
APL-EG_10739029; APL-
EG_11284544; APL-EG_11504491;
PRIV-APL-EG_00232452
PRIV-APL-EG_00044565; APL-
EG_11396504
PRIV-APL-EG_00044566; APL-
EG_11396505
PRIV-APL-EG_00044539; APL-
EG_11396498
PRIV-APL-EG_00044540; APL-
EG_11396499
PRIV-APL-EG_00044548; APL-
EG_11396501
PRIV-APL-EG_00044549; APL-
EG_11396502
PRIV-APL-EG_00044640; APL-
EG_11396507
PRIV-APL-EG_00044641; APL-
EG_11396508
APL-EG_10716553; APL-
EG_11585010; PRIV-APL-
EG_00177839
APL-EG_10716754; PRIV-APL-
EG_00178372
APL-EG_11231311; APL-
EG_11388200
APL-EG_11231314; APL-
EG_11388208
APL-EG_10742493; APL-
EG_11557853; PRIV-APL-
EG_00234817
APL-EG_11566243; PRIV-APL-
EG_00263405
APL-EG_11566244; PRIV-APL-
EG_00263406
PRIV-APL-EG_00087329; APL-
EG_11390800
PRIV-APL-EG_00087345; APL-
EG_11390816
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PRIV-APL-EG_00192330
APL-EG_11566302; PRIV-APL-
EG_00263786
APL-EG_11399038; PRIV-APL-
EG_00103340
PRIV-APL-EG_00087378; APL-
EG_11390840
PRIV-APL-EG_00087385; APL-
EG_11390847
APL-EG_11566240; PRIV-APL-
EG_00263393
APL-EG_11566241; PRIV-APL-
EG_00263394
PRIV-APL-EG_00083974; APL-
EG_11328037
PRIV-APL-EG_00052534; APL-
EG_11341063; APL-EG_11519724
PRIV-APL-EG_00052537; APL-
EG_11341066; APL-EG_11519727
APL-EG_10699655; APL-
EG_11401256; PRIV-APL-
EG_00152957
APL-EG_10699656; APL-
EG_11401257; PRIV-APL-
EG_00152958
APL-EG_10737782; APL-
EG_11553704; APL-EG_11285008
APL-EG_11524087
APL-EG_11616941
APL-EG_11589423
PRIV-APL-EG_00190903
PRIV-APL-EG_00188695
PRIV-APL-EG_00126826; APL-
EG_11540994
APL-EG_10845195; APL-
EG_11283927; PRIV-APL-
EG_00203435
APL-EG_10899339; APL-
EG_11284567; APL-EG_11397987;
PRIV-APL-EG_00101278
APL-EG_10899340; APL-
EG_11284568; APL-EG_11398009;
PRIV-APL-EG_00101300
APL-EG_10899341; APL-
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PRIV-APL-EG_00101301
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PRIV-APL-EG_00101303
APL-EG_10899344; APL-
EG_11284572; APL-EG_11398013;
PRIV-APL-EG_00101304
APL-EG_10899355; APL-
EG_11284583; APL-EG_11398024;
PRIV-APL-EG_00101315
APL-EG_10899356; APL-
EG_11284584; APL-EG_11398025;
PRIV-APL-EG_00101316
APL-EG_10899357; APL-
EG_11284585; APL-EG_11398026;
PRIV-APL-EG_00101317
APL-EG_10899358; APL-
EG_11284586; APL-EG_11398027;
PRIV-APL-EG_00101318
APL-EG_11412652
APL-EG_11449857
APL-EG_10710027; APL-
EG_11532972; PRIV-APL-
EG_00173020
APL-EG_10710028; APL-
EG_11532973; PRIV-APL-
EG_00173021
APL-EG_10710029; APL-
EG_11532974; PRIV-APL-
EG_00173022
APL-EG_10710030; APL-
EG_11532975; PRIV-APL-
EG_00173023
APL-EG_11455542
APL-EG_11455402
APL-EG_11455709
APL-EG_11412541
APL-EG_11452974
APL-EG_11452143
APL-EG_11514984
APL-EG_11514908
APL-EG_11412633
PRIV-APL-EG_00258811
APL-EG_11328058; APL-
EG_11455450
APL-EG_11328059; APL-
EG_11455475
APL-EG_11328061; APL-
EG_11455477
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APL-EG_11327969; APL-
EG_11455251
APL-EG_11455713
APL-EG_11455407
APL-EG_11455367
APL-EG_11455317
APL-EG_11455561
APL-EG_11455257
APL-EG_11455650
APL-EG_11455285
APL-EG_11455424
APL-EG_11455344
APL-EG_11516576
APL-EG_11514754
APL-EG_11401550
APL-EG_11515001
APL-EG_11508745
APL-EG_11508747
APL-EG_11455621
APL-EG_11542103
APL-EG_11592677
APL-EG_11617484
APL-EG_11547661
APL-EG_11538968
APL-EG_11021415; APL-
EG_11612259
PRIV-APL-EG_00072331; APL-
EG_11387464
APL-EG_11347983; APL-
EG_11442721; PRIV-APL-
EG_00173008
APL-EG_11581122
PRIV-APL-EG_00072317; APL-
EG_11387462
APL-EG_11527643
APL-EG_11527641
APL-EG_11528035
APL-EG_11546174
APL-EG_11562777
APL-EG_11542077
APL-EG_11542107
APL-EG_11592681
APL-EG_11592738
APL-EG_11526565
APL-EG_11550270
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EG_11550317
APL-EG_11550324
APL-EG_11357145; APL-
EG_11469536
APL-EG_11590310
APL-EG_11589785
APL-EG_10899429; APL-
EG_11563123
APL-EG_10768718; APL-
EG_11526741
PRIV-APL-EG_00041441; APL-
EG_11333068; APL-EG_11469757
PRIV-APL-EG_00041444; APL-
EG_11333071; APL-EG_11469760
APL-EG_11565203
APL-EG_11565045
APL-EG_11565083
APL-EG_11564928
APL-EG_11564376
APL-EG_11533076
APL-EG_11533080
APL-EG_11533065
APL-EG_11533062
APL-EG_11533052
APL-EG_11533068
APL-EG_11533059
APL-EG_11533072
APL-EG_11340250; APL-
EG_11517265
APL-EG_11035474; PRIV-APL-
EG_00051373; APL-EG_11340433;
APL-EG_11517445
APL-EG_11035477; PRIV-APL-
EG_00051376; APL-EG_11340436;
APL-EG_11517448
APL-EG_11541379
APL-EG_11380132; APL-
EG_11512735
APL-EG_11380133; APL-
EG_11512740
APL-EG_11540049
APL-EG_11553134
APL-EG_11553160
APL-EG_11553102
APL-EG_11527285
APL-EG_11526945
APL-EG_11289831; APL-
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APL-EG_11380326; APL-
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PRIV-APL-EG_00068872; APL-
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PRIV-APL-EG_00068885; APL-
EG_11385810
PRIV-APL-EG_00068886; APL-
EG_11385811
PRIV-APL-EG_00068887; APL-
EG_11385812
PRIV-APL-EG_00068888; APL-
EG_11385813
APL-EG_11392019
APL-EG_11392031
APL-EG_11392032
APL-EG_11392033
APL-EG_11392034
APL-EG_11328070; APL-
EG_11455517
APL-EG_11542096
APL-EG_11542079
PRIV-APL-EG_00083990
PRIV-APL-EG_00083998
PRIV-APL-EG_00084005
PRIV-APL-EG_00084012
PRIV-APL-EG_00084020
APL-EG_11547802
APL-EG_11547871
APL-EG_11547862
APL-EG_11547845
APL-EG_11547840
APL-EG_11547662
APL-EG_11548031
APL-EG_11547777
APL-EG_11547912
APL-EG_11547851
APL-EG_11599222
APL-EG_11599587
APL-EG_11548048
APL-EG_11541994
APL-EG_11542088
APL-EG_11542042
APL-EG_11541983
APL-EG_11541989
APL-EG_10768802; APL-
EG_11526840
APL-EG_11526599
APL-EG_11527020
APL-EG_11526519
APL-EG_11547969
APL-EG_11547892
APL-EG_11548055
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APL-EG_11562977
APL-EG_11562279
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EG_11563100
APL-EG_11553701
APL-EG_11553696
APL-EG_11347879; APL-
EG_11414575
APL-EG_11347880; APL-
EG_11414576
APL-EG_11347882; APL-
EG_11414578
APL-EG_11347899; APL-
EG_11414583
APL-EG_11347902; APL-
EG_11414586
APL-EG_11563182
APL-EG_11636712; PRIV-APL-
EG_00187511
APL-EG_11132557; PRIV-APL-
EG_00019461; APL-EG_11387184
APL-EG_11285010
APL-EG_11285866
APL-EG_11389075
APL-EG_11389077
APL-EG_11389125
APL-EG_11327165; APL-
EG_11451488
APL-EG_11327166; APL-
EG_11451536
APL-EG_11386858
APL-EG_11386864
APL-EG_11389170
APL-EG_11389184
PRIV-APL-EG_00079854; APL-
EG_11388538
PRIV-APL-EG_00079869; APL-
EG_11388553
APL-EG_11385050
APL-EG_11385057
APL-EG_11390891
APL-EG_11390892
APL-EG_11388378
APL-EG_11388399
APL-EG_11388772
APL-EG_11397686
APL-EG_11397675
APL-EG_11616730
APL-EG_11616522
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APL-EG_11397629
APL-EG_11536129
APL-EG_11563263
APL-EG_11563235
APL-EG_11549698
APL-EG_11542130
APL-EG_11541268
APL-EG_11538362
APL-EG_11541362
APL-EG_11538447
APL-EG_11526470
APL-EG_11527051
APL-EG_11527117
APL-EG_11526547
APL-EG_11538382
APL-EG_11541042
APL-EG_11538745
APL-EG_11541016
APL-EG_11528089
APL-EG_10821877; APL-
EG_11539881
APL-EG_11354557; APL-
EG_11456107
APL-EG_11354553; APL-
EG_11456098
APL-EG_11389570
APL-EG_11389571
APL-EG_11389572
APL-EG_11389573
APL-EG_11132671; APL-
EG_11321097; APL-EG_11443352
APL-EG_11132672; APL-
EG_11321098; APL-EG_11443353
APL-EG_11387204
APL-EG_11387208
APL-EG_11387199
APL-EG_11387203
APL-EG_11347944; APL-
EG_11414815
APL-EG_11541064
APL-EG_11538360
APL-EG_11541067
APL-EG_11528216
APL-EG_11527483
APL-EG_11540936
APL-EG_11552634
APL-EG_10742518; APL-
EG_11557868; PRIV-APL-
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EG_11563172
APL-EG_11378857; APL-
EG_11508135
APL-EG_11566246; PRIV-APL-
EG_00263418
APL-EG_11539782
APL-EG_11398660
APL-EG_11398661
APL-EG_11397513
APL-EG_11397521
APL-EG_11397529
APL-EG_11397531
APL-EG_11397539
APL-EG_11397547
APL-EG_11544870
APL-EG_11562083
APL-EG_11562052
APL-EG_11562048
APL-EG_11545969
APL-EG_11589576
APL-EG_11590544
APL-EG_11539098
APL-EG_11538906
APL-EG_11388370
APL-EG_11388376
APL-EG_11389508
APL-EG_11392000; PRIV-APL-
EG_00221337
APL-EG_11392004; PRIV-APL-
EG_00221341
APL-EG_11391996; PRIV-APL-
EG_00221333
APL-EG_11391999; PRIV-APL-
EG_00221336
APL-EG_11517644
APL-EG_10730227; APL-
EG_11550217
APL-EG_10852791; APL-
EG_11469386
APL-EG_11357148; APL-
EG_11469544
APL-EG_11390852
APL-EG_11390853
APL-EG_11562989; PRIV-APL-
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PRIV-APL-EG_00154882
PRIV-APL-EG_00036098; APL-
EG_11329602; APL-EG_11462811
PRIV-APL-EG_00036099; APL-
EG_11329603; APL-EG_11462812
PRIV-APL-EG_00036100; APL-
EG_11329604; APL-EG_11462813
APL-EG_11398481
APL-EG_11398484
APL-EG_11398495
APL-EG_11398498
APL-EG_11357065; APL-
EG_11469436
APL-EG_11513009
APL-EG_11513017
APL-EG_11512995
PRIV-APL-EG_00087108
PRIV-APL-EG_00087194
APL-EG_11327487; APL-
EG_11452408
APL-EG_11327488; APL-
EG_11452419
PRIV-APL-EG_00259834
APL-EG_10953763; APL-
EG_11528001
APL-EG_10953654; APL-
EG_11527832
APL-EG_11391991
APL-EG_11391994
APL-EG_11391995
APL-EG_11357086; APL-
EG_11469444
APL-EG_11357048; APL-
EG_11469354
APL-EG_11357045; APL-
EG_11469351
APL-EG_11328259; APL-
EG_11456033
APL-EG_11328260; APL-
EG_11456034
APL-EG_11328261; APL-
EG_11456035
APL-EG_11562946
APL-EG_11562927
APL-EG_11562908
APL-EG_11562978
APL-EG_11562774
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APL-EG_11391984
APL-EG_11391988
APL-EG_11357042; APL-
EG_11469348
APL-EG_11357053; APL-
EG_11469383
APL-EG_11332388; APL-
EG_11469440
APL-EG_11332389; APL-
EG_11469441
PRIV-APL-EG_00072146; APL-
EG_11293588; APL-EG_11414764
APL-EG_11398523
APL-EG_11398526
PRIV-APL-EG_00103129; APL-
EG_11398796; APL-EG_11640370
APL-EG_10728088; APL-
EG_11547462
APL-EG_11380471; APL-
EG_11515192
APL-EG_11548230
PRIV-APL-EG_00072117; APL-
EG_11293584; APL-EG_11414630
APL-EG_11398800
APL-EG_11398801
PRIV-APL-EG_00258568
PRIV-APL-EG_00256763
APL-EG_10953774; APL-
EG_11528004
APL-EG_11527516
PRIV-APL-EG_00084473; APL-
EG_11389557
APL-EG_11596545
PRIV-APL-EG_00201002
APL-EG_11596530
APL-EG_11596638
PRIV-APL-EG_00008036; APL-
EG_11397609
PRIV-APL-EG_00008052; APL-
EG_11397612
PRIV-APL-EG_00008053; APL-
EG_11397613
PRIV-APL-EG_00007990; APL-
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PRIV-APL-EG_00099402; APL-
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PRIV-APL-EG_00065836; APL-
EG_11385098
PRIV-APL-EG_00065712; APL-
EG_11385096
APL-EG_11398558
APL-EG_11398566
PRIV-APL-EG_00049312; APL-
EG_11339442; APL-EG_11515188
APL-EG_11517154
APL-EG_10847878; APL-
EG_11390879
APL-EG_10847879; APL-
EG_11390889
APL-EG_10899433; APL-
EG_11515147
APL-EG_11512987
APL-EG_11513028
APL-EG_11513220
APL-EG_11397561
APL-EG_11397580
APL-EG_11397581
APL-EG_11397549
APL-EG_11397559
APL-EG_11397560
APL-EG_11338732; APL-
EG_11512755
APL-EG_11514951
APL-EG_11514842
APL-EG_11514992
APL-EG_11514901
APL-EG_11397582
APL-EG_11397600
APL-EG_11397601
PRIV-APL-EG_00014746; APL-
EG_11290050; APL-EG_11401353
APL-EG_11401674
APL-EG_11400874
APL-EG_11401110
APL-EG_11401488
APL-EG_10702925; APL-
EG_11528682
APL-EG_10703102; APL-
EG_11528749
APL-EG_10703376; APL-
EG_11528845
APL-EG_10703174; APL-
EG_11528761
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EG_11528744
APL-EG_10703178; APL-
EG_11528763
PRIV-APL-EG_00102055; APL-
EG_11398039
PRIV-APL-EG_00244779
PRIV-APL-EG_00243869
PRIV-APL-EG_00243840
PRIV-APL-EG_00244933
PRIV-APL-EG_00244845
PRIV-APL-EG_00245435
PRIV-APL-EG_00245376
PRIV-APL-EG_00244830
PRIV-APL-EG_00245407
APL-EG_10848960; APL-
EG_11465949
PRIV-APL-EG_00245283
PRIV-APL-EG_00245212
APL-EG_11466199
APL-EG_11459415
APL-EG_11510780
APL-EG_11501800
APL-EG_11501229
APL-EG_11501853
APL-EG_11501803
APL-EG_11501839
APL-EG_11407446
APL-EG_11501847
APL-EG_11501823
APL-EG_11501787
APL-EG_11501830
PRIV-APL-EG_00162862
APL-EG_11407438
APL-EG_11624329
APL-EG_11399949
APL-EG_11399957
APL-EG_11399835
APL-EG_11399875
APL-EG_11508788
APL-EG_11466215
APL-EG_11397479
APL-EG_11397484
APL-EG_11397485
APL-EG_11330964; APL-
EG_11464561
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APL-EG_11516788
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APL-EG_11523595
APL-EG_11516600
APL-EG_11401060
APL-EG_11401536
APL-EG_11401076
APL-EG_11401704
APL-EG_11401590
APL-EG_11401610
APL-EG_11401532
APL-EG_11401667
APL-EG_11401974
APL-EG_11513074
APL-EG_11531945
APL-EG_11531910
PRIV-APL-EG_00084405; APL-
EG_11389512
APL-EG_10901962; APL-
EG_11280233; APL-EG_11565334
APL-EG_10901963; APL-
EG_11280234; APL-EG_11565335
APL-EG_11237926; APL-
EG_11565339
APL-EG_11237927; APL-
EG_11565340
APL-EG_11227721; APL-
EG_11526826
APL-EG_11227722; APL-
EG_11526827
PRIV-APL-EG_00019472; APL-
EG_11387194
PRIV-APL-EG_00019473; APL-
EG_11387195
PRIV-APL-EG_00019474; APL-
EG_11387196
APL-EG_11175283; APL-
EG_11531940; PRIV-APL-
EG_00172036
APL-EG_11175285; APL-
EG_11531942; PRIV-APL-
EG_00172038
APL-EG_11401722
APL-EG_11401398
APL-EG_11575425
PRIV-APL-EG_00036063; APL-
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EG_00212077
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EG_11523591
APL-EG_11401032
APL-EG_11402167
APL-EG_11512998
APL-EG_11512770
APL-EG_11513059
APL-EG_11513023
APL-EG_11402540
APL-EG_11402533
APL-EG_11401979
APL-EG_11401666
PRIV-APL-EG_00040932
PRIV-APL-EG_00040933
APL-EG_11402541
APL-EG_11459539
APL-EG_11516738
APL-EG_11517170
APL-EG_11517199
PRIV-APL-EG_00206678
PRIV-APL-EG_00206783
PRIV-APL-EG_00244226
PRIV-APL-EG_00244240
APL-EG_11463995
APL-EG_11516663
APL-EG_11524075
APL-EG_11524057
APL-EG_11524040
APL-EG_11544573
APL-EG_11570846
APL-EG_11524139
APL-EG_11398703
APL-EG_11398704
PRIV-APL-EG_00103104; APL-
EG_11398785
APL-EG_11564381
APL-EG_11565118
APL-EG_11564933
APL-EG_11527301
PRIV-APL-EG_00068572; APL-
EG_11385796
APL-EG_11380129; PRIV-APL-
EG_00098885; APL-EG_11512711
APL-EG_11398037; PRIV-APL-
EG_00101340
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PRIV-APL-EG_00048515; APL-
EG_11398032
PRIV-APL-EG_00048516; APL-
EG_11398033
APL-EG_11398468
APL-EG_11398479
APL-EG_11398480
APL-EG_11513205
APL-EG_11517200
APL-EG_10897472; PRIV-APL-
EG_00244458
APL-EG_11000041; APL-
EG_11549056; PRIV-APL-
EG_00213475
PRIV-APL-EG_00071547
APL-EG_10894931; APL-
EG_11616044
APL-EG_11397440
APL-EG_11397446
APL-EG_11397447
PRIV-APL-EG_00118192; APL-
EG_11400354
APL-EG_10901121; APL-
EG_11398459
APL-EG_10901122; APL-
EG_11398467
APL-EG_11564537; PRIV-APL-
EG_00257130
APL-EG_11357152; APL-
EG_11469553
APL-EG_11465583
APL-EG_11516880
APL-EG_11516884
APL-EG_11516885
APL-EG_11466382
APL-EG_11465647
APL-EG_11513067
APL-EG_11512762
APL-EG_11398613
APL-EG_11398614
APL-EG_11054156; APL-
EG_11399828; PRIV-APL-
EG_00105663
PRIV-APL-EG_00154082
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APL-EG_11391082
APL-EG_11391059
APL-EG_11391046
APL-EG_11390942
APL-EG_11391069
APL-EG_11234751; APL-
EG_11465303
PRIV-APL-EG_00219366
APL-EG_11356163; PRIV-APL-
EG_00038905; APL-EG_11634838
APL-EG_10782124; APL-
EG_11346555; APL-EG_11405037
APL-EG_11234576; APL-
EG_11464417
APL-EG_11234588; APL-
EG_11464436
APL-EG_11331104; APL-
EG_11464921
APL-EG_11331132; APL-
EG_11464949
APL-EG_11353517; APL-
EG_11452562
APL-EG_11452953
APL-EG_11452728
PRIV-APL-EG_00076529
PRIV-APL-EG_00076533
PRIV-APL-EG_00076548
APL-EG_11388131
APL-EG_11388134
APL-EG_11466298
APL-EG_11466371
APL-EG_11030966; APL-
EG_11279920; APL-EG_11511817
PRIV-APL-EG_00156161
PRIV-APL-EG_00216515
PRIV-APL-EG_00216572
APL-EG_11356637; APL-
EG_11465681
APL-EG_11549939
APL-EG_11545198
APL-EG_11569640
APL-EG_11569684
APL-EG_11569766
APL-EG_11569674
APL-EG_10897463; PRIV-APL-
EG_00099304; APL-EG_11635761;
APL-EG_11616382
APL-EG_11539129
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EG_11558857
APL-EG_11024497; APL-
EG_11279272; APL-EG_11508669
PRIV-APL-EG_00214013
PRIV-APL-EG_00218720
APL-EG_10849408; PRIV-APL-
EG_00218251
PRIV-APL-EG_00220536
PRIV-APL-EG_00215048
PRIV-APL-EG_00219188
PRIV-APL-EG_00187967
PRIV-APL-EG_00027392
APL-EG_11539787
APL-EG_11539189
APL-EG_11539012
APL-EG_11538726
APL-EG_11327206; APL-
EG_11451650
PRIV-APL-EG_00190656
APL-EG_11452162
APL-EG_11453678
PRIV-APL-EG_00190346
PRIV-APL-EG_00189890
APL-EG_11453571
APL-EG_11453364
PRIV-APL-EG_00218297
PRIV-APL-EG_00218382
APL-EG_11330929; PRIV-APL-
EG_00133586; APL-EG_11464526
APL-EG_10826143; PRIV-APL-
EG_00191113
APL-EG_11452144
APL-EG_10982176; APL-
EG_11452390
PRIV-APL-EG_00216729
PRIV-APL-EG_00215770
PRIV-APL-EG_00215390
PRIV-APL-EG_00218576
APL-EG_11388942
APL-EG_11388963
APL-EG_11388993
APL-EG_11327167; APL-
EG_11451602
PRIV-APL-EG_00190933
APL-EG_10818861; PRIV-APL-
EG_00186502
PRIV-APL-EG_00187894
PRIV-APL-EG_00189832
PRIV-APL-EG_00190079
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EG_11465494
APL-EG_11350478; PRIV-APL-
EG_00076564
PRIV-APL-EG_00244144
PRIV-APL-EG_00244151
APL-EG_11388308; PRIV-APL-
EG_00024083
PRIV-APL-EG_00231337
APL-EG_11453606
PRIV-APL-EG_00155683
PRIV-APL-EG_00231748
PRIV-APL-EG_00259849
PRIV-APL-EG_00259970
PRIV-APL-EG_00245081
PRIV-APL-EG_00244081
PRIV-APL-EG_00245388
PRIV-APL-EG_00028595
APL-EG_11322230; APL-
EG_11448195
APL-EG_11322231; APL-
EG_11448198
APL-EG_11322241; APL-
EG_11448209
APL-EG_11322246; APL-
EG_11448227
APL-EG_11388104; PRIV-APL-
EG_00022759
APL-EG_11349617; APL-
EG_11449492
APL-EG_11349618; APL-
EG_11449501
APL-EG_10809736; PRIV-APL-
EG_00076404; APL-EG_11323227;
APL-EG_11449748
APL-EG_10809737; PRIV-APL-
EG_00076413; APL-EG_11323228;
APL-EG_11449749
APL-EG_11465271
APL-EG_10812454; APL-
EG_11388457; PRIV-APL-
EG_00027625
APL-EG_10812455; APL-
EG_11388471; PRIV-APL-
EG_00027626
APL-EG_10812459; APL-
EG_11388475; PRIV-APL-
EG_00027627
PRIV-APL-EG_00186780
PRIV-APL-EG_00273693
APL-EG_11601206; PRIV-APL-
EG_00212155
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EG_00212160
PRIV-APL-EG_00005697; APL-
EG_11326550; APL-EG_11450702
APL-EG_11327245; APL-
EG_11451745
PRIV-APL-EG_00023960
APL-EG_11388313
APL-EG_11388319
APL-EG_11388778
APL-EG_11388797
APL-EG_11388798
PRIV-APL-EG_00023961
PRIV-APL-EG_00023977
PRIV-APL-EG_00075455; APL-
EG_11449525; APL-EG_10975655
PRIV-APL-EG_00075470; APL-
EG_11449540; APL-EG_10975670
PRIV-APL-EG_00075471; APL-
EG_11449541; APL-EG_10975671
APL-EG_11465481
PRIV-APL-EG_00068552; APL-
EG_11385791
PRIV-APL-EG_00105944; APL-
EG_11570908
APL-EG_11400024
APL-EG_11400029
APL-EG_11400031
APL-EG_10789305; APL-
EG_11347575; PRIV-APL-
EG_00121107; APL-EG_11411188
PRIV-APL-EG_00000015; APL-
EG_11289840; APL-EG_11401183
APL-EG_11401605
APL-EG_11400947
APL-EG_11400978
APL-EG_11401508
APL-EG_11400951
APL-EG_11400963
APL-EG_11401579
APL-EG_11401425
APL-EG_11451599
APL-EG_11453166
APL-EG_11465858
APL-EG_11465650
APL-EG_11465630
APL-EG_11465715
APL-EG_11466239
APL-EG_11465541
APL-EG_11531148
APL-EG_11412741
APL-EG_11388757
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APL-EG_11388770
APL-EG_11353071; APL-
EG_11452194
PRIV-APL-EG_00169936
PRIV-APL-EG_00170052
PRIV-APL-EG_00168595
APL-EG_11030915; APL-
EG_11279912; APL-EG_11511804
PRIV-APL-EG_00082942; APL-
EG_11389070
APL-EG_11563279
APL-EG_11531096
APL-EG_10849591; APL-
EG_11549930
APL-EG_11563205
APL-EG_11548940
PRIV-APL-EG_00089941; APL-
EG_11331333; APL-EG_11465454
PRIV-APL-EG_00089944; APL-
EG_11331336; APL-EG_11465457
APL-EG_11390941
APL-EG_11548524
APL-EG_11548518
APL-EG_11332383; APL-
EG_11469423
APL-EG_11332384; APL-
EG_11469432
APL-EG_11338645; APL-
EG_11511887
APL-EG_11338646; APL-
EG_11511889
PRIV-APL-EG_00036018; APL-
EG_11329596; APL-EG_11462781
APL-EG_10744994; APL-
EG_11558249; PRIV-APL-
EG_00235877
PRIV-APL-EG_00033168; APL-
EG_11389559
PRIV-APL-EG_00033169; APL-
EG_11389567
PRIV-APL-EG_00086478; APL-
EG_11545987
APL-EG_11394056
APL-EG_11394059
APL-EG_11512521; APL-
EG_11379934
APL-EG_11397486
APL-EG_11397491
APL-EG_11397495
PRIV-APL-EG_00184196
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PRIV-APL-EG_00181051
PRIV-APL-EG_00176589
PRIV-APL-EG_00185277
PRIV-APL-EG_00176148
PRIV-APL-EG_00182700
APL-EG_10685520; APL-
EG_11284987; APL-EG_11528904
PRIV-APL-EG_00176423
PRIV-APL-EG_00079413
PRIV-APL-EG_00079425
APL-EG_11595552
APL-EG_11595542
APL-EG_11590215
PRIV-APL-EG_00175447
PRIV-APL-EG_00176575
PRIV-APL-EG_00176670
PRIV-APL-EG_00175079
PRIV-APL-EG_00175153
PRIV-APL-EG_00175450
PRIV-APL-EG_00176253
PRIV-APL-EG_00184228
APL-EG_11379917; APL-
EG_11511868
APL-EG_11397476
APL-EG_11397478
APL-EG_11397499
APL-EG_11397501
APL-EG_11357151; APL-
EG_11469552
APL-EG_11397502
APL-EG_11397504
APL-EG_11397473
APL-EG_11397475
PRIV-APL-EG_00188688
PRIV-APL-EG_00186722
PRIV-APL-EG_00186243
APL-EG_11046498; APL-
EG_11520950
PRIV-APL-EG_00153423
PRIV-APL-EG_00153591
PRIV-APL-EG_00152707
PRIV-APL-EG_00152812
PRIV-APL-EG_00181013
PRIV-APL-EG_00220242
PRIV-APL-EG_00219300
PRIV-APL-EG_00220003
PRIV-APL-EG_00219199
PRIV-APL-EG_00214795
PRIV-APL-EG_00152681
PRIV-APL-EG_00185576
PRIV-APL-EG_00190992
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PRIV-APL-EG_00153912
PRIV-APL-EG_00152163
PRIV-APL-EG_00153582
PRIV-APL-EG_00152637
PRIV-APL-EG_00153482
PRIV-APL-EG_00153526
PRIV-APL-EG_00152580
PRIV-APL-EG_00152253
PRIV-APL-EG_00152625
PRIV-APL-EG_00153434
PRIV-APL-EG_00154186
PRIV-APL-EG_00154277
PRIV-APL-EG_00153927
PRIV-APL-EG_00185120
PRIV-APL-EG_00181202
PRIV-APL-EG_00170127
PRIV-APL-EG_00214044
APL-EG_10982494; APL-
EG_11452788
PRIV-APL-EG_00153920
PRIV-APL-EG_00153545
PRIV-APL-EG_00152324
PRIV-APL-EG_00152276
PRIV-APL-EG_00154307
PRIV-APL-EG_00153587
PRIV-APL-EG_00154379
PRIV-APL-EG_00152540
PRIV-APL-EG_00152228
PRIV-APL-EG_00185030
PRIV-APL-EG_00154403
APL-EG_10814097; PRIV-APL-
EG_00183424
APL-EG_11539584
APL-EG_11131113; APL-
EG_11526794
APL-EG_11526756
APL-EG_11526760
PRIV-APL-EG_00186659
APL-EG_11539139; PRIV-APL-
EG_00186957
PRIV-APL-EG_00190575
PRIV-APL-EG_00154729
APL-EG_10808004; PRIV-APL-
EG_00175663
APL-EG_11574106; PRIV-APL-
EG_00154656
PRIV-APL-EG_00188878
PRIV-APL-EG_00188894
PRIV-APL-EG_00176658
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PRIV-APL-EG_00179046
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PRIV-APL-EG_00181085
PRIV-APL-EG_00126152
PRIV-APL-EG_00126159
PRIV-APL-EG_00178808
PRIV-APL-EG_00178820
PRIV-APL-EG_00176325
PRIV-APL-EG_00182739
PRIV-APL-EG_00177184
APL-EG_11453546; APL-
EG_11634720
PRIV-APL-EG_00191025
PRIV-APL-EG_00152563
PRIV-APL-EG_00152176
PRIV-APL-EG_00154271
PRIV-APL-EG_00152544
PRIV-APL-EG_00184972
PRIV-APL-EG_00185383
PRIV-APL-EG_00176294
PRIV-APL-EG_00183852
PRIV-APL-EG_00177989
PRIV-APL-EG_00182200
PRIV-APL-EG_00244743
PRIV-APL-EG_00245268
PRIV-APL-EG_00255510
APL-EG_11402221
APL-EG_10821704; PRIV-APL-
EG_00187960
PRIV-APL-EG_00217768
PRIV-APL-EG_00214457
PRIV-APL-EG_00190501
PRIV-APL-EG_00188623
PRIV-APL-EG_00189076
PRIV-APL-EG_00189897
PRIV-APL-EG_00189033
APL-EG_11099403; APL-
EG_11588871
PRIV-APL-EG_00182685
PRIV-APL-EG_00181320
PRIV-APL-EG_00184986
PRIV-APL-EG_00185134
PRIV-APL-EG_00175236
APL-EG_10811682; PRIV-APL-
EG_00181415
PRIV-APL-EG_00222383
PRIV-APL-EG_00162919
APL-EG_11550934
PRIV-APL-EG_00187852
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PRIV-APL-EG_00190594
PRIV-APL-EG_00245051
PRIV-APL-EG_00222363
PRIV-APL-EG_00244212
PRIV-APL-EG_00197615
PRIV-APL-EG_00197886
PRIV-APL-EG_00162855
PRIV-APL-EG_00162988
APL-EG_11540109
APL-EG_11538556
APL-EG_11538742
PRIV-APL-EG_00175771
PRIV-APL-EG_00182425
PRIV-APL-EG_00188631
PRIV-APL-EG_00181544
PRIV-APL-EG_00181137
PRIV-APL-EG_00186618
PRIV-APL-EG_00185996
APL-EG_11540864
APL-EG_11539612
APL-EG_11539101
APL-EG_11538986
APL-EG_11540078
APL-EG_11539178
APL-EG_11527980
PRIV-APL-EG_00187882
PRIV-APL-EG_00191102
PRIV-APL-EG_00190405
PRIV-APL-EG_00187811
PRIV-APL-EG_00187813
PRIV-APL-EG_00190058
APL-EG_10825394; APL-
EG_11541053
APL-EG_10825038; APL-
EG_11540938
APL-EG_11528160
PRIV-APL-EG_00181887
APL-EG_11388535
APL-EG_11388537
PRIV-APL-EG_00082622
PRIV-APL-EG_00082639
PRIV-APL-EG_00187999
PRIV-APL-EG_00188013
APL-EG_10949836; APL-
EG_11632164
APL-EG_10952694; APL-
EG_11573900
APL-EG_11388126
APL-EG_11388129
APL-EG_11388130
APL-EG_11591278
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PRIV-APL-EG_00175718
PRIV-APL-EG_00191110
PRIV-APL-EG_00189560
APL-EG_11388118
APL-EG_11388120
PRIV-APL-EG_00178644
PRIV-APL-EG_00186407
APL-EG_11388109
APL-EG_11388111
APL-EG_11345829; APL-
EG_11402106
PRIV-APL-EG_00190423
PRIV-APL-EG_00190039
PRIV-APL-EG_00188393
PRIV-APL-EG_00190340
PRIV-APL-EG_00190975
PRIV-APL-EG_00190806
PRIV-APL-EG_00189607
PRIV-APL-EG_00189542
PRIV-APL-EG_00244776
PRIV-APL-EG_00245240
PRIV-APL-EG_00245382
PRIV-APL-EG_00187572
PRIV-APL-EG_00079336; APL-
EG_11388528
PRIV-APL-EG_00182483
PRIV-APL-EG_00176533
PRIV-APL-EG_00175702
APL-EG_11350479; PRIV-APL-
EG_00076571
PRIV-APL-EG_00190321
APL-EG_11388238; PRIV-APL-
EG_00023887
APL-EG_11388244; PRIV-APL-
EG_00023888
APL-EG_11388251; PRIV-APL-
EG_00023890
PRIV-APL-EG_00189012
PRIV-APL-EG_00186121
PRIV-APL-EG_00187784
PRIV-APL-EG_00185868
PRIV-APL-EG_00186808
PRIV-APL-EG_00187171
PRIV-APL-EG_00187978
PRIV-APL-EG_00187988
PRIV-APL-EG_00186232
APL-EG_11388112
APL-EG_11388117
PRIV-APL-EG_00190672
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EG_00176166
PRIV-APL-EG_00184943
PRIV-APL-EG_00175665
PRIV-APL-EG_00285743
APL-EG_11575125
APL-EG_11574221
PRIV-APL-EG_00188054
PRIV-APL-EG_00188063
APL-EG_11119499; APL-
EG_11226579; APL-EG_11560206
APL-EG_11030904; APL-
EG_11616118
APL-EG_11030981; APL-
EG_11397433
APL-EG_11030986; APL-
EG_11397438
APL-EG_11030969; APL-
EG_11397427
APL-EG_11030973; APL-
EG_11397431
PRIV-APL-EG_00237354
APL-EG_11615837
PRIV-APL-EG_00075440; APL-
EG_11388169
PRIV-APL-EG_00075447; APL-
EG_11388176
APL-EG_11388121
APL-EG_11388125
PRIV-APL-EG_00175063
PRIV-APL-EG_00185377
PRIV-APL-EG_00184301
PRIV-APL-EG_00156895
PRIV-APL-EG_00156818
PRIV-APL-EG_00156770
APL-EG_11390082
APL-EG_11390084
APL-EG_11390088
APL-EG_11545928
APL-EG_11449447; APL-
EG_11322919
APL-EG_11449454; APL-
EG_11322920
APL-EG_11574490
APL-EG_11575252
PRIV-APL-EG_00084345
APL-EG_11629764
APL-EG_11626221
APL-EG_11629467
APL-EG_11596364
APL-EG_11513312; APL-
EG_11380144
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EG_00080824
APL-EG_11382663; APL-
EG_11524024
PRIV-APL-EG_00249347
PRIV-APL-EG_00248966
PRIV-APL-EG_00248418
PRIV-APL-EG_00249938
PRIV-APL-EG_00248426
PRIV-APL-EG_00248844
PRIV-APL-EG_00250356
PRIV-APL-EG_00248836
APL-EG_10703595; PRIV-APL-
EG_00161238
PRIV-APL-EG_00161949
PRIV-APL-EG_00162072
PRIV-APL-EG_00161151
PRIV-APL-EG_00161107
APL-EG_11449773
APL-EG_11508859
APL-EG_11524035
APL-EG_11508889
APL-EG_11508904
APL-EG_11402455
APL-EG_11402457
APL-EG_11463811
APL-EG_11570862
APL-EG_11548748; PRIV-APL-
EG_00212321
APL-EG_11548749; PRIV-APL-
EG_00212322
PRIV-APL-EG_00154822
PRIV-APL-EG_00206496
APL-EG_10728376; PRIV-APL-
EG_00206557
APL-EG_11548948
APL-EG_11548383
APL-EG_11570853
APL-EG_11102898; APL-
EG_11593292
APL-EG_10831125; APL-
EG_11543206
APL-EG_10831109; APL-
EG_11543192
PRIV-APL-EG_00188778
APL-EG_11565398
APL-EG_11621882
APL-EG_11621668
APL-EG_11621786
APL-EG_11621837
PRIV-APL-EG_00183022
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EG_11620701
PRIV-APL-EG_00182525
PRIV-APL-EG_00184251
PRIV-APL-EG_00175350
PRIV-APL-EG_00184462
PRIV-APL-EG_00175720
PRIV-APL-EG_00181353
PRIV-APL-EG_00184472
PRIV-APL-EG_00178022; APL-
EG_11585151
PRIV-APL-EG_00178025; APL-
EG_11585152
PRIV-APL-EG_00178037; APL-
EG_11585153
APL-EG_11523934
APL-EG_11523854
APL-EG_11512891
APL-EG_11512896
APL-EG_11512897
APL-EG_11512898
APL-EG_11512899
APL-EG_11512900
APL-EG_11524241
APL-EG_11524295
APL-EG_11462715
APL-EG_11547335
APL-EG_11547338
APL-EG_11632189
APL-EG_11591569
APL-EG_11553973
APL-EG_11557850
APL-EG_11574957
APL-EG_11610390
APL-EG_11610391
APL-EG_11610392
APL-EG_11574839
APL-EG_11574861
APL-EG_11574741
APL-EG_11629992
APL-EG_11629999
APL-EG_11603362
APL-EG_11602785
APL-EG_11574337
APL-EG_11539721
APL-EG_11539742
APL-EG_11539748
APL-EG_11539752
APL-EG_11539775
APL-EG_11587575
APL-EG_11629958
APL-EG_11629966
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APL-EG_11630101
APL-EG_11574463
APL-EG_11574676
APL-EG_11574409
APL-EG_11629588
APL-EG_11629688
APL-EG_11629802
APL-EG_11629461
APL-EG_11630219
APL-EG_11629583
APL-EG_11629909
APL-EG_11629836
APL-EG_11629557
APL-EG_11629513
APL-EG_11629569
APL-EG_10948262; APL-
EG_11630027
APL-EG_11629939
APL-EG_11629947
APL-EG_11629935
APL-EG_11629954
APL-EG_11386234
APL-EG_11386237
APL-EG_10748489; APL-
EG_11616036
PRIV-APL-EG_00072113; APL-
EG_11387198
PRIV-APL-EG_00072051; APL-
EG_11387177
APL-EG_11400052
APL-EG_11400054
APL-EG_11385133
APL-EG_11385148
APL-EG_11385320
APL-EG_11385338
APL-EG_11616777
APL-EG_11398747
APL-EG_11398748
APL-EG_11346967; APL-
EG_11407381
PRIV-APL-EG_00066014; APL-
EG_11385184
APL-EG_11385375
APL-EG_11385379
PRIV-APL-EG_00051667
APL-EG_11527567
APL-EG_11527474
APL-EG_11541333
APL-EG_10771941; APL-
EG_11527782
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EG_11451350
PRIV-APL-EG_00097225; APL-
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PRIV-APL-EG_00175070
PRIV-APL-EG_00175753
APL-EG_11384241; APL-
EG_11525370
APL-EG_11049578; APL-
EG_11341553; APL-EG_11521676
PRIV-APL-EG_00099318
PRIV-APL-EG_00099325
PRIV-APL-EG_00187288
PRIV-APL-EG_00190664
PRIV-APL-EG_00182475
PRIV-APL-EG_00176286
PRIV-APL-EG_00181297
APL-EG_10674899; APL-
EG_10677852; APL-EG_11609213
APL-EG_11577649
APL-EG_11586970
APL-EG_11623324
PRIV-APL-EG_00181139
PRIV-APL-EG_00182124
PRIV-APL-EG_00184990
PRIV-APL-EG_00184276
PRIV-APL-EG_00181760
PRIV-APL-EG_00181930
PRIV-APL-EG_00175482
APL-EG_11379706; APL-
EG_11511048
APL-EG_11379752; APL-
EG_11511079
PRIV-APL-EG_00045535
PRIV-APL-EG_00045536
PRIV-APL-EG_00182951
PRIV-APL-EG_00175025
APL-EG_11535601
APL-EG_11536321
APL-EG_10814582; APL-
EG_11588180
APL-EG_11625884
APL-EG_11520717
APL-EG_11526403
APL-EG_11526929
APL-EG_11526630
APL-EG_11527141
APL-EG_11397411
APL-EG_11397413
APL-EG_11397414
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APL-EG_11397425
APL-EG_11397426
PRIV-APL-EG_00105285; APL-
EG_11399814
PRIV-APL-EG_00229051
PRIV-APL-EG_00209552
PRIV-APL-EG_00105322; APL-
EG_11399816
APL-EG_11379911; APL-
EG_11511789
APL-EG_11379897; APL-
EG_11511762
APL-EG_11397417
APL-EG_11397420
APL-EG_11379899; APL-
EG_11511764
PRIV-APL-EG_00091984; APL-
EG_11391990
APL-EG_11353040; APL-
EG_11452067
APL-EG_10674979; APL-
EG_10678059; APL-EG_11395301
APL-EG_10674980; APL-
EG_10678060; APL-EG_11395302
APL-EG_11399817; PRIV-APL-
EG_00105323
APL-EG_11399818; PRIV-APL-
EG_00105324
APL-EG_11501411
PRIV-APL-EG_00102536; APL-
EG_11564772
PRIV-APL-EG_00257402
PRIV-APL-EG_00257494
PRIV-APL-EG_00257492
PRIV-APL-EG_00256625
PRIV-APL-EG_00257400
PRIV-APL-EG_00185019
PRIV-APL-EG_00181730
PRIV-APL-EG_00182538
APL-EG_10819900; APL-
EG_11539170
APL-EG_11539550
APL-EG_11540771
APL-EG_10674711; APL-
EG_10677572; APL-EG_10680710;
PRIV-APL-EG_00228732
PRIV-APL-EG_00189848
APL-EG_11291403; APL-
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EG_11407379
PRIV-APL-EG_00053841; APL-
EG_11399826
PRIV-APL-EG_00053842; APL-
EG_11399827
PRIV-APL-EG_00152100
PRIV-APL-EG_00154237
PRIV-APL-EG_00154224
APL-EG_10769917; PRIV-APL-
EG_00154122
PRIV-APL-EG_00189238
PRIV-APL-EG_00189244
PRIV-APL-EG_00219492
PRIV-APL-EG_00219019
APL-EG_11543190
APL-EG_10877170; APL-
EG_11555578
APL-EG_10879167; APL-
EG_11557859
APL-EG_10877991; APL-
EG_11556996
APL-EG_10879170; APL-
EG_11557862
APL-EG_10877980; APL-
EG_11556987
APL-EG_10879173; APL-
EG_11557865
APL-EG_10878652; APL-
EG_11557013
APL-EG_10877994; APL-
EG_11556999
APL-EG_11543208
APL-EG_11543197
APL-EG_10831111; APL-
EG_11543196
APL-EG_10877988; APL-
EG_11556993
APL-EG_10877985; APL-
EG_11556990
APL-EG_10877842; APL-
EG_11555765
APL-EG_10877996; APL-
EG_11557001
APL-EG_10877840; APL-
EG_11555763
APL-EG_11564824
APL-EG_11527178
APL-EG_10947968; APL-
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APL-EG_11570834
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APL-EG_11399474
APL-EG_11399477
APL-EG_11394068
APL-EG_11394070
APL-EG_11552734
PRIV-APL-EG_00256819
PRIV-APL-EG_00258767
PRIV-APL-EG_00256685
APL-EG_11565009
APL-EG_11541092
APL-EG_11538372
PRIV-APL-EG_00197263
PRIV-APL-EG_00197304
PRIV-APL-EG_00152431
APL-EG_11558755
APL-EG_11558775
PRIV-APL-EG_00237028
APL-EG_11558764
APL-EG_11558766
PRIV-APL-EG_00237020
APL-EG_11589595
APL-EG_10770357; PRIV-APL-
EG_00065899; APL-EG_11385099
APL-EG_10770360; PRIV-APL-
EG_00065902; APL-EG_11385102
APL-EG_10770099; APL-
EG_11401664
APL-EG_10768768; PRIV-APL-
EG_00064816
APL-EG_10768771; PRIV-APL-
EG_00064819
APL-EG_10809356; PRIV-APL-
EG_00075314
APL-EG_10809359; PRIV-APL-
EG_00075317
APL-EG_10770361; PRIV-APL-
EG_00065908; APL-EG_11385108
APL-EG_10770364; PRIV-APL-
EG_00065911; APL-EG_11385111
APL-EG_11395288
APL-EG_11395289
APL-EG_11399823
APL-EG_11399824
PRIV-APL-EG_00095013
PRIV-APL-EG_00095016
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APL-EG_11507065
APL-EG_10677687; APL-
EG_11501250
APL-EG_10678718; APL-
EG_11395545
APL-EG_10678719; APL-
EG_11395546
APL-EG_11523562
APL-EG_11395297
APL-EG_11395300
APL-EG_11399819
APL-EG_11399822
APL-EG_10677680; APL-
EG_11501248
APL-EG_11507053
APL-EG_11501303
APL-EG_11523571
APL-EG_10675111; APL-
EG_10678387; APL-EG_11501300
APL-EG_11460755
APL-EG_10835381; APL-
EG_11594752
APL-EG_10877600; APL-
EG_11613600
APL-EG_10721934; APL-
EG_11594734
PRIV-APL-EG_00065985; APL-
EG_11385120
PRIV-APL-EG_00065991; APL-
EG_11385126
APL-EG_10809114; APL-
EG_11449465
APL-EG_10768227; PRIV-APL-
EG_00152000
PRIV-APL-EG_00065161; APL-
EG_11385060
PRIV-APL-EG_00065168; APL-
EG_11385067
PRIV-APL-EG_00075402; APL-
EG_11388149
APL-EG_10841378; APL-
EG_11596666
APL-EG_10884657; APL-
EG_11614772
APL-EG_10674815; APL-
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EG_10677729; PRIV-APL-
EG_00094959
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EG_00095088
APL-EG_10678274; PRIV-APL-
EG_00095091
APL-EG_11587559
PRIV-APL-EG_00176648
PRIV-APL-EG_00181920
APL-EG_11621070
APL-EG_10759690; APL-
EG_11621095
APL-EG_11620983
APL-EG_11621060
APL-EG_11621167
APL-EG_11620614
APL-EG_11616636
APL-EG_10678101; APL-
EG_11501282
APL-EG_10677934; PRIV-APL-
EG_00095047; APL-EG_11395291
APL-EG_10828333; APL-
EG_11455742
APL-EG_11455745
APL-EG_10828336; APL-
EG_11455748
APL-EG_11023400; APL-
EG_11507072
APL-EG_11450288
APL-EG_11451342
APL-EG_11325017; APL-
EG_11450376
APL-EG_11514964
APL-EG_11562241
APL-EG_11562158
APL-EG_11562263
APL-EG_11537736
APL-EG_11537938
APL-EG_11527008
APL-EG_11527152
APL-EG_11526495
APL-EG_11573775
PRIV-APL-EG_00098055; APL-
EG_11397063
PRIV-APL-EG_00098086; APL-
EG_11397094
PRIV-APL-EG_00098087; APL-
EG_11397095
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APL-EG_11562865
APL-EG_11526452
APL-EG_11536080
APL-EG_11537704
APL-EG_11537726
APL-EG_11536221
APL-EG_11539604
APL-EG_11540248
APL-EG_11535617
APL-EG_11537755
APL-EG_11537942
APL-EG_11536235
APL-EG_11537948
APL-EG_11539990
APL-EG_11538909
APL-EG_11538398
PRIV-APL-EG_00187575
PRIV-APL-EG_00190369
PRIV-APL-EG_00190402
PRIV-APL-EG_00190764
PRIV-APL-EG_00189681
APL-EG_11540138
APL-EG_11538962
APL-EG_11527554
APL-EG_11540767
PRIV-APL-EG_00015236; APL-
EG_11385216
PRIV-APL-EG_00015237; APL-
EG_11385226
APL-EG_11540710
APL-EG_11528254
APL-EG_11541377
APL-EG_11540040
APL-EG_11540920
APL-EG_11540577
PRIV-APL-EG_00189966
APL-EG_11589573
APL-EG_11539563
APL-EG_11539854
APL-EG_11538863
APL-EG_11540056
APL-EG_11539575
APL-EG_11540594
PRIV-APL-EG_00154143
PRIV-APL-EG_00152475
APL-EG_10699273; PRIV-APL-
EG_00152057
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APL-EG_11538815
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EG_11527965
APL-EG_11540998
APL-EG_11539627
APL-EG_11538504
APL-EG_11540194
APL-EG_11541070
APL-EG_11538400
APL-EG_11540067
APL-EG_11539165
PRIV-APL-EG_00187041
PRIV-APL-EG_00189663
PRIV-APL-EG_00185723
PRIV-APL-EG_00182703
APL-EG_11540399
APL-EG_11539063
PRIV-APL-EG_00086401
PRIV-APL-EG_00086224
PRIV-APL-EG_00155644
PRIV-APL-EG_00189572
PRIV-APL-EG_00181671
APL-EG_11351441; PRIV-APL-
EG_00078186
APL-EG_11527420
APL-EG_11395573
APL-EG_11395575
PRIV-APL-EG_00190343
APL-EG_11573538
APL-EG_11591657
APL-EG_11591408
APL-EG_11590354
APL-EG_11591499
APL-EG_11591472
APL-EG_11590551
APL-EG_11591585
APL-EG_11589830
APL-EG_11591419
APL-EG_11616701
APL-EG_11616630
APL-EG_10991770; APL-
EG_11543202; APL-EG_11634754
APL-EG_11400070
APL-EG_11400072
PRIV-APL-EG_00028587; APL-
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PRIV-APL-EG_00028592; APL-
EG_11388490
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EG_11395382
PRIV-APL-EG_00052697; APL-
EG_11399064
PRIV-APL-EG_00052698; APL-
EG_11399133
APL-EG_10678548; APL-
EG_11284268; APL-EG_11395443
APL-EG_10678553; APL-
EG_11284273; APL-EG_11395448
APL-EG_10678554; APL-
EG_11284274; APL-EG_11395517
APL-EG_11238835; APL-
EG_11626110; PRIV-APL-
EG_00266998
APL-EG_11238904; APL-
EG_11626179; PRIV-APL-
EG_00267067
APL-EG_10888279; APL-
EG_11615545
APL-EG_11189280; APL-
EG_11623281
APL-EG_11632070
APL-EG_11602550
APL-EG_11587298
APL-EG_11582957
APL-EG_11583047
APL-EG_10852795; APL-
EG_11357057; APL-EG_11469390
APL-EG_10852796; APL-
EG_11357058; APL-EG_11469418
APL-EG_11602423
APL-EG_10678009; PRIV-APL-
EG_00229254
APL-EG_10677949; PRIV-APL-
EG_00229185
APL-EG_10677961; APL-
EG_11553722
APL-EG_10677573; APL-
EG_11553708
APL-EG_10678072; APL-
EG_11553731
PRIV-APL-EG_00070342; APL-
EG_11386280
PRIV-APL-EG_00181412
APL-EG_11629711
PRIV-APL-EG_00185605
APL-EG_11385294
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APL-EG_11385297
PRIV-APL-EG_00066743; APL-
EG_11527817
APL-EG_11385370
APL-EG_11385371
APL-EG_11385372
APL-EG_11538661
APL-EG_11540688
PRIV-APL-EG_00186275
APL-EG_11570171
APL-EG_11570169
APL-EG_11570166
APL-EG_11545921
APL-EG_11545944
APL-EG_11548401
PRIV-APL-EG_00194505
PRIV-APL-EG_00194493
APL-EG_11571038
APL-EG_11562072
APL-EG_11562100
APL-EG_11587392
APL-EG_11582991
APL-EG_11588723
APL-EG_11587020
APL-EG_11501307
APL-EG_11501388
APL-EG_11501289
APL-EG_11501358
PRIV-APL-EG_00229328
PRIV-APL-EG_00230081
PRIV-APL-EG_00228865
PRIV-APL-EG_00230065
APL-EG_11537900
APL-EG_11565499
APL-EG_11501321
APL-EG_11501343
APL-EG_11501268
PRIV-APL-EG_00228962
PRIV-APL-EG_00230029
PRIV-APL-EG_00184290
APL-EG_10949131; PRIV-APL-
EG_00148981; APL-EG_11525333
PRIV-APL-EG_00189948
PRIV-APL-EG_00190581
APL-EG_10887745; APL-
EG_11615440
APL-EG_10888217; APL-
EG_11615525
APL-EG_11027720; APL-
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EG_11615431
APL-EG_11621396
PRIV-APL-EG_00239493
PRIV-APL-EG_00240195
PRIV-APL-EG_00241018
PRIV-APL-EG_00239502
PRIV-APL-EG_00239840
PRIV-APL-EG_00241527
PRIV-APL-EG_00239455
PRIV-APL-EG_00239160
PRIV-APL-EG_00238952
PRIV-APL-EG_00239311
APL-EG_11381840; PRIV-APL-
EG_00103711
APL-EG_11575206
APL-EG_11596368
APL-EG_11595547
APL-EG_11629794
APL-EG_11595538
APL-EG_11590123
APL-EG_11595686
APL-EG_11381479; APL-
EG_11517234
APL-EG_11400043
APL-EG_11400046
APL-EG_11575188
APL-EG_11575044
APL-EG_11575462
APL-EG_11574350
PRIV-APL-EG_00297196
APL-EG_11629409
APL-EG_11629810
APL-EG_11629676
APL-EG_11630136
APL-EG_11628520
APL-EG_11629723
APL-EG_11629492
APL-EG_11629760
APL-EG_11629420
APL-EG_11590315
APL-EG_11591754
PRIV-APL-EG_00229023
PRIV-APL-EG_00230007
PRIV-APL-EG_00229992
PRIV-APL-EG_00229562
PRIV-APL-EG_00229890
PRIV-APL-EG_00230045
APL-EG_11575327
PRIV-APL-EG_00181955
PRIV-APL-EG_00184249
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APL-EG_11596338
APL-EG_11596336
APL-EG_11616783
APL-EG_11616386
APL-EG_11616742
APL-EG_11616652
APL-EG_11570222
APL-EG_11553419
APL-EG_11570219
APL-EG_11553421
APL-EG_11596542
APL-EG_11596517
APL-EG_11596344
APL-EG_11596354
APL-EG_11596459
APL-EG_11596451
APL-EG_11596535
APL-EG_11596360
APL-EG_11629465
APL-EG_11574204
APL-EG_11631802
APL-EG_11575106
PRIV-APL-EG_00154453
APL-EG_11603045
APL-EG_11575431
APL-EG_11610418
APL-EG_11602451
PRIV-APL-EG_00152142
PRIV-APL-EG_00181634
PRIV-APL-EG_00216109
APL-EG_11565477
APL-EG_11527630
APL-EG_11528106
APL-EG_11527946
APL-EG_11528116
APL-EG_11528016
APL-EG_11528057
APL-EG_11528031
APL-EG_11540720
APL-EG_11540980
APL-EG_11528193
APL-EG_11591297
APL-EG_11621394
APL-EG_11237866; APL-
EG_11620788
APL-EG_11390965
APL-EG_11390970
APL-EG_11390972
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PRIV-APL-EG_00215843
APL-EG_10955243; APL-
EG_11528398
APL-EG_11549820
APL-EG_11549883
APL-EG_11570770
APL-EG_11570557
APL-EG_11563314
PRIV-APL-EG_00070046; APL-
EG_11529876
PRIV-APL-EG_00234762
PRIV-APL-EG_00164084
PRIV-APL-EG_00164049
PRIV-APL-EG_00234239
PRIV-APL-EG_00163976
APL-EG_11529857
APL-EG_11529863
APL-EG_11529853
APL-EG_11577655
APL-EG_11536356
PRIV-APL-EG_00250417
PRIV-APL-EG_00249364
PRIV-APL-EG_00213059
PRIV-APL-EG_00248732
PRIV-APL-EG_00248431
PRIV-APL-EG_00251225
PRIV-APL-EG_00248725
PRIV-APL-EG_00248791
PRIV-APL-EG_00249380
APL-EG_10899485; PRIV-APL-
EG_00251441
PRIV-APL-EG_00251165
PRIV-APL-EG_00249389
PRIV-APL-EG_00249464
PRIV-APL-EG_00258165
PRIV-APL-EG_00017121; APL-
EG_11529873
PRIV-APL-EG_00017122; APL-
EG_11529874
PRIV-APL-EG_00163933
PRIV-APL-EG_00234787
PRIV-APL-EG_00234772
PRIV-APL-EG_00154217
PRIV-APL-EG_00175627
PRIV-APL-EG_00184880
PRIV-APL-EG_00175625
PRIV-APL-EG_00209488
APL-EG_11395542
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APL-EG_11395303
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EG_11328930; APL-EG_11459384
PRIV-APL-EG_00035391; APL-
EG_11546073
APL-EG_11575029
APL-EG_11629222
APL-EG_11629248
APL-EG_11629277
APL-EG_11629283
APL-EG_11629257
APL-EG_11629263
APL-EG_11620975
APL-EG_10678436; APL-
EG_11609263
APL-EG_11469739; APL-
EG_11332693
APL-EG_11469741; APL-
EG_11332694
PRIV-APL-EG_00255345
PRIV-APL-EG_00258589
PRIV-APL-EG_00257752
PRIV-APL-EG_00229905
PRIV-APL-EG_00198797
PRIV-APL-EG_00229466
PRIV-APL-EG_00199990
PRIV-APL-EG_00218283
APL-EG_11570160
APL-EG_11570231
APL-EG_11239461; APL-
EG_11570263
PRIV-APL-EG_00271612
PRIV-APL-EG_00272105
APL-EG_11570191
APL-EG_11399694
APL-EG_11399696
APL-EG_11399709
APL-EG_11399715
PRIV-APL-EG_00162993
APL-EG_11395407
APL-EG_11395429
APL-EG_11395547
APL-EG_11395569
APL-EG_11535054
APL-EG_11535124
APL-EG_11570534
PRIV-APL-EG_00257434
PRIV-APL-EG_00257387
APL-EG_11620688
APL-EG_11564466
APL-EG_11385086
APL-EG_11385093
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PRIV-APL-EG_00094257; APL-
EG_11394695
PRIV-APL-EG_00194485
PRIV-APL-EG_00181225
PRIV-APL-EG_00176512
PRIV-APL-EG_00181105
PRIV-APL-EG_00185173
PRIV-APL-EG_00184285
APL-EG_11617852
PRIV-APL-EG_00101319
PRIV-APL-EG_00101328
APL-EG_11572009
APL-EG_11527987
PRIV-APL-EG_00156907
PRIV-APL-EG_00237594
PRIV-APL-EG_00237560
PRIV-APL-EG_00237582
PRIV-APL-EG_00230455
PRIV-APL-EG_00230439
PRIV-APL-EG_00152113
PRIV-APL-EG_00152062
PRIV-APL-EG_00153370
PRIV-APL-EG_00153608
PRIV-APL-EG_00182691
PRIV-APL-EG_00230187
PRIV-APL-EG_00230452
APL-EG_11582805
APL-EG_11536200
APL-EG_11534922
APL-EG_11537897
APL-EG_11535151
APL-EG_11537867
APL-EG_11536258
PRIV-APL-EG_00103132
PRIV-APL-EG_00103147
PRIV-APL-EG_00103157
PRIV-APL-EG_00103163
APL-EG_11527134
PRIV-APL-EG_00182472
PRIV-APL-EG_00177180
APL-EG_11351651; APL-
EG_11450645
PRIV-APL-EG_00176373
PRIV-APL-EG_00176490
APL-EG_11388282
APL-EG_11388303
APL-EG_10974441; PRIV-APL-
EG_00176208
PRIV-APL-EG_00181664
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APL-EG_11589627
APL-EG_11589515
PRIV-APL-EG_00222099; APL-
EG_11604743
PRIV-APL-EG_00222113; APL-
EG_11604757
PRIV-APL-EG_00222118; APL-
EG_11604762
PRIV-APL-EG_00222127; APL-
EG_11604771
PRIV-APL-EG_00222136; APL-
EG_11604780
PRIV-APL-EG_00222148; APL-
EG_11604792
PRIV-APL-EG_00222153; APL-
EG_11604797
PRIV-APL-EG_00222155; APL-
EG_11604799
APL-EG_11398527
APL-EG_11398530
APL-EG_11398535
APL-EG_11398544
APL-EG_11398556
APL-EG_11399767
APL-EG_11399784
APL-EG_11399790
APL-EG_11399799
APL-EG_11399561
APL-EG_11399585
APL-EG_11399591
APL-EG_11399600
APL-EG_11381396; PRIV-APL-
EG_00102568
APL-EG_11621799
APL-EG_11382677; APL-
EG_11524242
APL-EG_11588628
APL-EG_11588782
PRIV-APL-EG_00181583
APL-EG_11587523
APL-EG_11589122
APL-EG_11588789
APL-EG_11587582
APL-EG_11582677
APL-EG_11587484
APL-EG_11585118
APL-EG_11631722
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EG_00221880; APL-EG_11332668
APL-EG_11469672; PRIV-APL-
EG_00221892; APL-EG_11332680
APL-EG_11469674; PRIV-APL-
EG_00221894; APL-EG_11332681
APL-EG_11469679; PRIV-APL-
EG_00221899; APL-EG_11332682
APL-EG_11469681; PRIV-APL-
EG_00221901; APL-EG_11332683
APL-EG_11469686; PRIV-APL-
EG_00221906; APL-EG_11332684
APL-EG_11469698; PRIV-APL-
EG_00221918; APL-EG_11332685
APL-EG_11469707; PRIV-APL-
EG_00221927; APL-EG_11332686
APL-EG_11469712; PRIV-APL-
EG_00221932; APL-EG_11332687
APL-EG_11469721; PRIV-APL-
EG_00221941; APL-EG_11332688
APL-EG_11469723; PRIV-APL-
EG_00221943; APL-EG_11332689
APL-EG_11469735; PRIV-APL-
EG_00221955; APL-EG_11332690
PRIV-APL-EG_00214580
APL-EG_11340096; PRIV-APL-
EG_00102761
PRIV-APL-EG_00053670
PRIV-APL-EG_00053671
APL-EG_11341962; APL-
EG_11523826
APL-EG_11341963; APL-
EG_11523835
PRIV-APL-EG_00104934; APL-
EG_11640731
PRIV-APL-EG_00104939; APL-
EG_11640732
PRIV-APL-EG_00104948; APL-
EG_11640741
PRIV-APL-EG_00104953; APL-
EG_11640746
PRIV-APL-EG_00104965; APL-
EG_11640758
PRIV-APL-EG_00104831
PRIV-APL-EG_00104836
PRIV-APL-EG_00104845
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PRIV-APL-EG_00104681
PRIV-APL-EG_00104687
PRIV-APL-EG_00104696
PRIV-APL-EG_00104701
APL-EG_11398499
APL-EG_11398505
APL-EG_11398514
APL-EG_11398519
APL-EG_11291400; APL-
EG_11407375
APL-EG_11291401; APL-
EG_11407376
APL-EG_11291407; APL-
EG_11407426
APL-EG_11291408; APL-
EG_11407427
APL-EG_11386231
APL-EG_11386233
PRIV-APL-EG_00053880; APL-
EG_11399833
PRIV-APL-EG_00053881; APL-
EG_11399834
APL-EG_11386228
APL-EG_11386230
APL-EG_11535141
APL-EG_11534916
APL-EG_11537798
PRIV-APL-EG_00181398
APL-EG_11535146
APL-EG_11536252
APL-EG_11535048
APL-EG_11388852
APL-EG_11388857
APL-EG_11392005; APL-
EG_11635328; PRIV-APL-
EG_00040953
APL-EG_11392014; APL-
EG_11635346; PRIV-APL-
EG_00040965
APL-EG_11345157; APL-
EG_11526323
APL-EG_11345158; APL-
EG_11526324
APL-EG_11399619
APL-EG_11399622
APL-EG_11399631
APL-EG_11399636
PRIV-APL-EG_00105108; APL-
EG_11570275; APL-EG_11640786
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EG_11399556
APL-EG_11390952
APL-EG_11390963
APL-EG_11390964
PRIV-APL-EG_00231896
PRIV-APL-EG_00151985
PRIV-APL-EG_00154103
PRIV-APL-EG_00152064
APL-EG_11573617
APL-EG_11573353
APL-EG_11573704
APL-EG_11526587
APL-EG_11527075
APL-EG_11526483
APL-EG_11526979
APL-EG_11526415
APL-EG_11536121
APL-EG_11535133
APL-EG_11534984
APL-EG_11535159
APL-EG_11540931
APL-EG_11539093
APL-EG_11538899
APL-EG_11539201
APL-EG_11541345
APL-EG_11538515
APL-EG_11388354
APL-EG_11388364
APL-EG_11527504
APL-EG_11355289; APL-
EG_11462794
APL-EG_11355293; APL-
EG_11462798
APL-EG_11355294; APL-
EG_11462808
APL-EG_11566254; PRIV-APL-
EG_00263429
APL-EG_11397505
APL-EG_11397507
APL-EG_11400032
APL-EG_11400034
APL-EG_11400041
PRIV-APL-EG_00271870
PRIV-APL-EG_00272115
APL-EG_11385280
APL-EG_11385290
PRIV-APL-EG_00156289
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APL-EG_11399653; PRIV-APL-
EG_00272329
APL-EG_11399658; PRIV-APL-
EG_00272334
APL-EG_11399660; PRIV-APL-
EG_00272336
APL-EG_11399664; PRIV-APL-
EG_00272340
APL-EG_11399670; PRIV-APL-
EG_00272346
APL-EG_11399672; PRIV-APL-
EG_00272348
APL-EG_11399677; PRIV-APL-
EG_00272353
APL-EG_11399683; PRIV-APL-
EG_00272359
PRIV-APL-EG_00105196; APL-
EG_11640796
PRIV-APL-EG_00105203; APL-
EG_11640803
PRIV-APL-EG_00105209; APL-
EG_11640809
APL-EG_11399749
APL-EG_11399752
APL-EG_11399757
APL-EG_11399761
APL-EG_11399614
APL-EG_11399617
APL-EG_11399725
APL-EG_11399729
PRIV-APL-EG_00105044; APL-
EG_11640764
PRIV-APL-EG_00105048; APL-
EG_11640768
PRIV-APL-EG_00105053; APL-
EG_11640773
PRIV-APL-EG_00256641
PRIV-APL-EG_00055738
APL-EG_11398485
APL-EG_11398493
APL-EG_11527384
APL-EG_11527399
APL-EG_10980113; APL-
EG_11537600
APL-EG_11585018; PRIV-APL-
EG_00177854
APL-EG_11537749
APL-EG_11536417
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PRIV-APL-EG_00162710
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APL-EG_11385015
APL-EG_11385021
APL-EG_11385042
APL-EG_11385044
PRIV-APL-EG_00175528
PRIV-APL-EG_00181279
APL-EG_11575136
APL-EG_11574311
APL-EG_11621728
APL-EG_11035594; APL-
EG_11621652
APL-EG_11035565; APL-
EG_11621410
APL-EG_11621864
PRIV-APL-EG_00071785; APL-
EG_11387003
APL-EG_10822467; APL-
EG_11327552; APL-EG_11453028
APL-EG_10768764; APL-
EG_11289907; APL-EG_11401251
APL-EG_11589531
APL-EG_11562124
APL-EG_11562115
APL-EG_11395584
APL-EG_11395591
APL-EG_11539511
APL-EG_10771800; APL-
EG_11527724
APL-EG_11539455
APL-EG_10953264; APL-
EG_11527679
APL-EG_11395592
APL-EG_11395599
APL-EG_11564342
APL-EG_11565061
APL-EG_11564773
APL-EG_11564780
APL-EG_10953728; APL-
EG_11527913
APL-EG_10768440; APL-
EG_11526633
APL-EG_10808980; APL-
EG_11535237
APL-EG_11537913
APL-EG_11537715
PRIV-APL-EG_00184137
PRIV-APL-EG_00184111
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PRIV-APL-EG_00175763
PRIV-APL-EG_00176271
PRIV-APL-EG_00184238
PRIV-APL-EG_00175698
PRIV-APL-EG_00182990
PRIV-APL-EG_00181960
PRIV-APL-EG_00184459
PRIV-APL-EG_00175651
PRIV-APL-EG_00184158
PRIV-APL-EG_00184125
PRIV-APL-EG_00184113
PRIV-APL-EG_00154407
PRIV-APL-EG_00184140
PRIV-APL-EG_00176636
PRIV-APL-EG_00184174
APL-EG_11398521
APL-EG_11398522
APL-EG_11590170
APL-EG_11590139
APL-EG_11590150
APL-EG_11597346
APL-EG_11587009
APL-EG_11582854
APL-EG_11587006
APL-EG_11582978
APL-EG_11588608
APL-EG_11589001
APL-EG_11588993
APL-EG_11587241
APL-EG_11574262
APL-EG_11574146
APL-EG_11575223
APL-EG_11574445
APL-EG_11575210
APL-EG_11388922
APL-EG_11388924
APL-EG_11591428
PRIV-APL-EG_00197423
PRIV-APL-EG_00198097
PRIV-APL-EG_00198064
PRIV-APL-EG_00197353
APL-EG_11398569
APL-EG_11398570
APL-EG_11396513
APL-EG_11396514
APL-EG_11385117
APL-EG_11385119
APL-EG_11353031; APL-
EG_11451999
APL-EG_11027543; PRIV-APL-
EG_00097590; APL-EG_11397057
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APL-EG_11388515
APL-EG_11388516
APL-EG_11388526
APL-EG_11390994
APL-EG_11391000
APL-EG_11391027
PRIV-APL-EG_00231279
PRIV-APL-EG_00155036
PRIV-APL-EG_00155143
PRIV-APL-EG_00281000
PRIV-APL-EG_00286938
APL-EG_11399557
APL-EG_11399559
PRIV-APL-EG_00231346
PRIV-APL-EG_00231447
APL-EG_11114283; PRIV-APL-
EG_00231805
PRIV-APL-EG_00154885
PRIV-APL-EG_00231796
PRIV-APL-EG_00155079
PRIV-APL-EG_00216183
PRIV-APL-EG_00218615
PRIV-APL-EG_00220049
PRIV-APL-EG_00214352
PRIV-APL-EG_00214168
PRIV-APL-EG_00217749
APL-EG_11602408
APL-EG_11603310
APL-EG_11602355
PRIV-APL-EG_00219138
PRIV-APL-EG_00215012
PRIV-APL-EG_00218548
PRIV-APL-EG_00219760
PRIV-APL-EG_00218579
PRIV-APL-EG_00219648
APL-EG_11399032
APL-EG_11399033
APL-EG_11399035
APL-EG_11577086
APL-EG_11527441
APL-EG_11562187
PRIV-APL-EG_00214132
APL-EG_11549448
PRIV-APL-EG_00040093; APL-
EG_11391080
PRIV-APL-EG_00040094; APL-
EG_11391081
APL-EG_11391053
APL-EG_11391057
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APL-EG_11564899
APL-EG_11565079
APL-EG_11591602
PRIV-APL-EG_00083374
PRIV-APL-EG_00083376
APL-EG_11591315
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EG_00083365
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EG_11591431
APL-EG_11524286; APL-
EG_11342363
APL-EG_11395581
APL-EG_11395583
APL-EG_11565379
APL-EG_11565404
APL-EG_11352997; APL-
EG_11451957
PRIV-APL-EG_00244361
PRIV-APL-EG_00271727
PRIV-APL-EG_00271733
PRIV-APL-EG_00271703
PRIV-APL-EG_00271699
PRIV-APL-EG_00271684
APL-EG_11609374
APL-EG_11609338
APL-EG_11609362
APL-EG_11610081
PRIV-APL-EG_00236990
APL-EG_11575314
APL-EG_11574641
APL-EG_11602806
APL-EG_11603330
APL-EG_11588497
APL-EG_10717389; APL-
EG_11587451
APL-EG_11585146
PRIV-APL-EG_00215805
APL-EG_11590425
PRIV-APL-EG_00155846
APL-EG_11574274
PRIV-APL-EG_00260357
PRIV-APL-EG_00187649
PRIV-APL-EG_00186216
PRIV-APL-EG_00191054
PRIV-APL-EG_00185697
PRIV-APL-EG_00190849
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APL-EG_11591319
APL-EG_11621745
APL-EG_11621681
APL-EG_11631901
PRIV-APL-EG_00258633
PRIV-APL-EG_00259262
APL-EG_11573766
PRIV-APL-EG_00259599
PRIV-APL-EG_00259258
PRIV-APL-EG_00257032
PRIV-APL-EG_00257770
PRIV-APL-EG_00259646
PRIV-APL-EG_00175490
APL-EG_10977832; PRIV-APL-
EG_00181987
APL-EG_10974317; PRIV-APL-
EG_00175518
APL-EG_10980529; PRIV-APL-
EG_00184270
APL-EG_10980574; PRIV-APL-
EG_00185042
APL-EG_10974364; PRIV-APL-
EG_00175747
APL-EG_10980581; PRIV-APL-
EG_00185111
APL-EG_10982072; PRIV-APL-
EG_00031229; APL-EG_11639287
APL-EG_11588047; PRIV-APL-
EG_00029539
APL-EG_11588072; PRIV-APL-
EG_00029540
APL-EG_11588097; PRIV-APL-
EG_00029541
APL-EG_11623223; PRIV-APL-
EG_00263246
APL-EG_11574179
PRIV-APL-EG_00031729
PRIV-APL-EG_00031730
PRIV-APL-EG_00031731
APL-EG_11389001
APL-EG_11389003
PRIV-APL-EG_00083580
PRIV-APL-EG_00083607
PRIV-APL-EG_00083620
PRIV-APL-EG_00083627
APL-EG_11537895
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APL-EG_11537740
APL-EG_11351460; PRIV-APL-
EG_00078367
APL-EG_11528245
APL-EG_11540536
APL-EG_11540098; PRIV-APL-
EG_00188719
APL-EG_11549926
APL-EG_10888226; APL-
EG_11559657
APL-EG_11527530
APL-EG_11193167; APL-
EG_11388928
APL-EG_11193168; APL-
EG_11388929
PRIV-APL-EG_00000135
PRIV-APL-EG_00000136
PRIV-APL-EG_00000137
PRIV-APL-EG_00000154
PRIV-APL-EG_00000155
APL-EG_11388252
APL-EG_11388265
APL-EG_11526401
APL-EG_11526440
APL-EG_11534908
APL-EG_11534979
APL-EG_11469612; APL-
EG_11332552
PRIV-APL-EG_00083464
PRIV-APL-EG_00083466
APL-EG_11385272
APL-EG_11385276
APL-EG_11388916
APL-EG_11388918
PRIV-APL-EG_00190972
PRIV-APL-EG_00031487
PRIV-APL-EG_00031488
PRIV-APL-EG_00031489
PRIV-APL-EG_00189088
APL-EG_10824250; APL-
EG_11591260
APL-EG_10899488; PRIV-APL-
EG_00251450
APL-EG_10899490; PRIV-APL-
EG_00251452
APL-EG_10899491; PRIV-APL-
EG_00251453
APL-EG_10899492; PRIV-APL-
EG_00251454
APL-EG_11573284
APL-EG_11574107
APL-EG_11574114
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APL-EG_11574119
APL-EG_11574136
APL-EG_10952126; APL-
EG_11573448
APL-EG_10952132; APL-
EG_11573460
APL-EG_10952133; APL-
EG_11573477
APL-EG_11629390
APL-EG_11576745; PRIV-APL-
EG_00158072
APL-EG_11610216
APL-EG_11610137
APL-EG_11579119
APL-EG_11579103
APL-EG_11579061
APL-EG_11579073
PRIV-APL-EG_00188326
PRIV-APL-EG_00190461
PRIV-APL-EG_00186683
PRIV-APL-EG_00187024
PRIV-APL-EG_00190951
PRIV-APL-EG_00190568
PRIV-APL-EG_00190603
APL-EG_11535502; PRIV-APL-
EG_00178530
APL-EG_11535520; PRIV-APL-
EG_00178629
APL-EG_11535565; PRIV-APL-
EG_00178767
APL-EG_11537668; PRIV-APL-
EG_00183922
APL-EG_11540094
PRIV-APL-EG_00190947
PRIV-APL-EG_00155133
APL-EG_11562453
APL-EG_11540699
APL-EG_11554046
APL-EG_11553873
APL-EG_11381830; APL-
EG_11520848
PRIV-APL-EG_00190628
APL-EG_11589614
PRIV-APL-EG_00186420
APL-EG_11553905
APL-EG_11553987
APL-EG_11553919
APL-EG_11554133
APL-EG_11554086
APL-EG_11553883
APL-EG_11554033
APL-EG_11553991
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APL-EG_11554021
APL-EG_11554101
APL-EG_11553912
APL-EG_11554128
PRIV-APL-EG_00187953
PRIV-APL-EG_00015252; APL-
EG_11385240
PRIV-APL-EG_00015253; APL-
EG_11385255
APL-EG_10772263; APL-
EG_11385312
APL-EG_10772264; APL-
EG_11385316
APL-EG_11396778
APL-EG_11396785
APL-EG_11558770
APL-EG_11055998; APL-
EG_11383627; PRIV-APL-
EG_00056963; APL-EG_11525288
PRIV-APL-EG_00056008; APL-
EG_11343556
APL-EG_11575075
PRIV-APL-EG_00201284
APL-EG_11399159; PRIV-APL-
EG_00104061
APL-EG_11602381
APL-EG_11603597
APL-EG_11603693
APL-EG_11603239
APL-EG_11610294
APL-EG_11575414
APL-EG_11399186
APL-EG_11399187
PRIV-APL-EG_00247519
APL-EG_11575390
PRIV-APL-EG_00053854
APL-EG_11629470
APL-EG_11629496
APL-EG_11629451
PRIV-APL-EG_00272525
PRIV-APL-EG_00231358
APL-EG_11460847; APL-
EG_11329223
APL-EG_11460855; APL-
EG_11329224
APL-EG_11460875; APL-
EG_11329226
APL-EG_11460883; APL-
EG_11329227
APL-EG_11460886; APL-
EG_11329228
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APL-EG_11460906; APL-
EG_11329229
APL-EG_11460909; APL-
EG_11329230
APL-EG_11460910; APL-
EG_11329231
PRIV-APL-EG_00231475
APL-EG_11575386
APL-EG_11574372
APL-EG_11574233
APL-EG_11574692
APL-EG_11575470
APL-EG_11635806; APL-
EG_11616972; PRIV-APL-
EG_00100375
APL-EG_11635809; APL-
EG_11616975; PRIV-APL-
EG_00100378
APL-EG_11635828; APL-
EG_11616994; PRIV-APL-
EG_00100397
APL-EG_11635836; APL-
EG_11617002; PRIV-APL-
EG_00100405
APL-EG_11635838; APL-
EG_11617004; PRIV-APL-
EG_00100407
APL-EG_11460798; APL-
EG_11329202
APL-EG_11460818; APL-
EG_11329203
APL-EG_11460826; APL-
EG_11329204
APL-EG_10774389; APL-
EG_11632858; APL-EG_11575495
PRIV-APL-EG_00034955; APL-
EG_11546029
PRIV-APL-EG_00034956; APL-
EG_11546049
APL-EG_11400047
APL-EG_11400049
APL-EG_11400050
PRIV-APL-EG_00071080; APL-
EG_11292224; APL-EG_11411140
PRIV-APL-EG_00071081; APL-
EG_11292225; APL-EG_11411141
PRIV-APL-EG_00071082; APL-
EG_11292226; APL-EG_11411142
PRIV-APL-EG_00071083; APL-
EG_11292227; APL-EG_11411143
PRIV-APL-EG_00071084; APL-
EG_11292228; APL-EG_11411144
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PRIV-APL-EG_00071085; APL-
EG_11292229; APL-EG_11411145
PRIV-APL-EG_00071086; APL-
EG_11292230; APL-EG_11411146
PRIV-APL-EG_00071087; APL-
EG_11292231; APL-EG_11411147
PRIV-APL-EG_00071088; APL-
EG_11292232; APL-EG_11411148
PRIV-APL-EG_00071089; APL-
EG_11292233; APL-EG_11411149
PRIV-APL-EG_00071090; APL-
EG_11292234; APL-EG_11411150
PRIV-APL-EG_00071091; APL-
EG_11292235; APL-EG_11411151
PRIV-APL-EG_00071092; APL-
EG_11292236; APL-EG_11411152
PRIV-APL-EG_00071093; APL-
EG_11292237; APL-EG_11411153
APL-EG_10797598; APL-
EG_11270184; PRIV-APL-
EG_00020364
APL-EG_10797616; APL-
EG_11270212; PRIV-APL-
EG_00020378
APL-EG_11229646; PRIV-APL-
EG_00020827
APL-EG_11382077; APL-
EG_11521686
PRIV-APL-EG_00103467; APL-
EG_11568043
APL-EG_11589843
APL-EG_11591688
APL-EG_11591389
APL-EG_11621637
APL-EG_11621818
APL-EG_11621770
APL-EG_11621737
APL-EG_11621840
APL-EG_10953812; PRIV-APL-
EG_00156292
PRIV-APL-EG_00154806
APL-EG_11621699
APL-EG_11596052
APL-EG_11596060
PRIV-APL-EG_00234494
PRIV-APL-EG_00234749
PRIV-APL-EG_00234727
APL-EG_11617836
APL-EG_11346513; PRIV-APL-
EG_00068442; APL-EG_11404883
APL-EG_11346515; PRIV-APL-
EG_00068444; APL-EG_11404885
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APL-EG_11629290
APL-EG_11573663
APL-EG_11602170
PRIV-APL-EG_00215504
PRIV-APL-EG_00214656
PRIV-APL-EG_00214641
APL-EG_11626015
APL-EG_11614662
APL-EG_11617896
PRIV-APL-EG_00048445; APL-
EG_11339414
PRIV-APL-EG_00101610; APL-
EG_11617910; APL-EG_11640067
APL-EG_11574152
APL-EG_11575402
APL-EG_11591484
APL-EG_11618054
PRIV-APL-EG_00185729
PRIV-APL-EG_00241903
PRIV-APL-EG_00241605
APL-EG_11346249; APL-
EG_11403706
APL-EG_10849359; PRIV-APL-
EG_00091107; APL-EG_11331527;
APL-EG_11466186
APL-EG_10977990; PRIV-APL-
EG_00182489
PRIV-APL-EG_00188371
PRIV-APL-EG_00185681
PRIV-APL-EG_00189696
PRIV-APL-EG_00189577
PRIV-APL-EG_00189098
PRIV-APL-EG_00186890
PRIV-APL-EG_00189684
PRIV-APL-EG_00190556
PRIV-APL-EG_00190359
PRIV-APL-EG_00186245
PRIV-APL-EG_00189534
PRIV-APL-EG_00190454
PRIV-APL-EG_00188029
PRIV-APL-EG_00186783
PRIV-APL-EG_00186150
PRIV-APL-EG_00188768
APL-EG_11390976
APL-EG_11331501; APL-
EG_11466098
PRIV-APL-EG_00186183
PRIV-APL-EG_00049934; APL-
EG_11339529; APL-EG_11515338
PRIV-APL-EG_00006911; APL-
EG_11356057; APL-EG_11464401
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PRIV-APL-EG_00006923; APL-
EG_11356069; APL-EG_11464413
APL-EG_11107350; APL-
EG_11223561; APL-EG_11274810;
APL-EG_11392044
APL-EG_11107313; APL-
EG_11222673; APL-EG_11170904;
APL-EG_11273922; APL-
EG_11333075; APL-EG_11470695
APL-EG_11107392; APL-
EG_11333976; APL-EG_11471596
APL-EG_11108102; APL-
EG_11223651; APL-EG_11171853;
APL-EG_11274900; APL-
EG_11334686; APL-EG_11472306
APL-EG_11109041; APL-
EG_11224590; APL-EG_11275839;
APL-EG_11392096
